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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
KETURAH MIXON,

         Plaintiff,                                Case No. 1:18-cv-499
                                                   Hon. Janet T. Neff
v.                                                 Magistrate Judge Ellen S. Carmody

DAVID TROTT, TROTT LAW P.C.
(f/k/a Trott and Trott P.C.), CARRINGTON
MORTGAGE SERVICES, LLC, (a/k/a
Carrington Mortgage Holdings LLC), and
BANK OF AMERICA, (a/k/a Bank of
America N.A.),

          Defendants.
______________________________________________________________________________
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           DEFENDANT CARRINGTON MORTGAGE SERVICES, LLC’S
                         MOTION TO DISMISS

                          ORAL ARGUMENT REQUESTED
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       Defendant Carrington Mortgage Services, LLC, (“CMS”), by and through its counsel,

Lipson Neilson P.C., request that the Court enter an order dismissing this action with prejudice

under Rule 12(b)(6) of the Federal Rules of Civil Procedure. The facts and authority supporting

this motion are set forth in the accompanying brief.

       In accordance with W.D. Mich. LR 7.2(a) and this Honorable Judge’s Information and

Guidelines, the pre-motion conference is not required, as this case was referred to Magistrate Judge

Ellen S. Carmody on June 5, 2018.

       Pursuant to Local Civil Rule 7.l(d), on July 11, 2018, a formal email correspondence was

sent to the Plaintiff, Keturah Mixon, requesting concurrence with the relief requested in this motion

and to inquire if this motion will be opposed. Concurrence was not obtained and Plaintiff indicated

that the motion would be opposed.

                                                       Respectfully submitted,

                                                       Lipson Neilson P.C.

                                                       /s/ Thomas G. Costello
                                                       Thomas G. Costello (P42973)
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Dated: August 6, 2018                                  Attorneys for Defendant Carrington
                                                       Mortgage Services, LLC
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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
KETURAH MIXON,

         Plaintiff,                                Case No. 1:18-cv-499
                                                   Hon. Janet T. Neff
v.                                                 Magistrate Judge Ellen S. Carmody

DAVID TROTT, TROTT LAW P.C.
(f/k/a Trott and Trott P.C.), CARRINGTON
MORTGAGE SERVICES, LLC, (a/k/a
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         BRIEF IN SUPORT OF DEFENDANT CARRINGTON MORTGAGE
                    SERVICES, LLC’S MOTION TO DISMISS

                          ORAL ARGUMENT REQUESTED
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                                            Introduction

        On May 8, 2015, Plaintiff filed a lawsuit against Bank of America (“BANA”) and twenty

 (20) unidentified John Does alleging various claims concerning the allegedly fraudulent and/or

 invalid transfer of her mortgage and subsequent foreclosure of the property in question. Mixon v.

 Bank of America, 1:15-cv-486, ECF No. 1 (W.D. Mich.). On June 26, 2015, a Report and

 Recommendation was issued recommending Plaintiff’s claims be dismissed for failure to state a

 claim on which relief may be granted. Mixon v. Bank of America, 1:15-cv-486, ECF No. 16 (W.D.

 Mich.). That recommendation was adopted by the Honorable Janet T. Neff on July 17, 2015, and

 judgment entered in favor of BANA. Mixon v. Bank of America, 1:15-cv-486, ECF No. 17-18

 (W.D. Mich.).

        Undeterred by the judgment dismissing her first action Plaintiff is back. On May 3, 2018,

 Plaintiff initiated her second action against BANA, but this time adding Carrington Mortgage

 Services, LLC, David Trott, and Trott Law P.C. as defendants. Once again, Plaintiff alleges her

 mortgage loan was paid in full and has thrown the proverbial “kitchen sink” of claims against the

 Defendants via a 97 page, 28 count, 291+ paragraph Complaint. Despite the volume of her latest

 effort, both of Plaintiff’s lawsuits are based on the same factual allegations and theories. As such,

 the claims in her second action are barred by res judicata and collateral estoppel. Furthermore,

 each of her claims fails independently as well.

                                         Statement of Facts

        Plaintiff purchased property located at 243 Devon Road, Battle Creek, Michigan 49015

 (the "Property") in 2010. To finance her purchase, she took out an $118,808.00 loan (the "Loan")

 from Top Flite Financial, Inc. ("Top Flite"), as evidenced by the Promissory Note attached as Ex.

 A. The Loan was secured by a mortgage in favor of Mortgage Electronic Registration Systems,


                                                   1
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 Inc. ("MERS") as Top Flite’s nominee, recorded on February 12, 2010 at Liber 3522, Page 41 (the

 "Mortgage"). (Ex. B).

           In July 2011, the Mortgage was assigned to BAC Home Loan Servicing, LP f/k/a

 Countrywide Home Loan Servicing, LP ("BAC"). (Ex. C). BAC subsequently merged into Bank

 of America, N.A. (“BANA”), and the Loan transferred by operation of law. A Loan Modification

 Agreement was supposedly executed by Plaintiff and BANA on February 17, 2012. (Ex. D). Per

 that agreement, the debt balance owed at that time was agreed to be $138,231.31. The maturity

 date was also extended from Feb 1, 2040, to March 1, 20421. Id.

           BANA subsequently assigned the Mortgage to the Secretary of Housing & Urban

 Development ("HUD"). (Ex. E). HUD then assigned the Loan to Wilmington Savings Fund

 Society, FSB as Trustee for Stanwich Mortgage Loan Trust A ("Stanwich"). (Ex. F). By May 4,

 2017, Stanwich had assigned the Loan back to BANA. (Complaint, Ex. 14).

           Defendant Carrington Mortgage Services, LLC’s (“CMS”) involvement with Plaintiff and

 the Loan lasted for just over eight (8) months. CMS began servicing the Loan on behalf of

 Stanwich on August 16, 2016. (Ex. G & H).2 CMS’s role as servicer on the Loan terminated on

 April 30, 2017. (Ex. I)3. CMS was never an owner of the Note or Mortgage. CMS never collected

 any payments from Plaintiff on the Loan as she contended it had supposedly been paid-in-full

 twice to BANA, once on an unspecified date prior to July 29, 2011 (Complaint, ¶17), and then

 again on July 1, 2014 (Complaint, ¶ 21).

           During the brief time period it was servicing the Loan information provided to CMS

 indicated Plaintiff had never repaid the Loan. (CMS Letter, Nov. 21, 2016, Ex. K). CMS’s



 1
     Plaintiff asserts in her Complaint her signature was forged on this document. Complaint, ¶ 21.
 2
     Prior to that BANA was the servicer on the Loan. (Ex. H).
 3
     BANA resumed servicing on the Loan after that date. (Ex. J).

                                                           2
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 information was that Plaintiff not made a payment due on August 1, 2012, or on any date thereafter.

 Id. Plaintiff never cured her default during the time-period CMS was servicing the Loan.

          In 2014, two years before CMS had anything to do with servicing the Loan, BANA - who

 then held the Loan - retained Trott Law P.C. t/k/a Trott and Trott P.C. ("Trott") to enforce the Loan

 and foreclose the Mortgage. In October 2014, the Trott Firm appears to have commenced a

 foreclosure by advertisement and sent related notices to Plaintiff. (Complaint Ex. J – L). Upon in

 formation and belief that process was not completed. CMS never initiated foreclosure proceedings

 against Plaintiff or the Property.

          The claims in Plaintiff’s current case boil down to her allegation that on or about July 1,

 2014, she paid BANA $212,986.78 – the balance she alleges was owed on her Loan at that time4.

 (Complaint, ¶ 21, Ex. I). Plaintiff further alleges that BANA then prepared and recorded a

 “Satisfaction of Mortgage” and recorded it with the county Register of Deeds. Id.

          After CMS took over servicing the Loan, Plaintiff forwarded it a copy of the “Satisfaction

 of Mortgage” asserting she had paid-off the loan. CMS investigated and was advised he loan had

 never been paid-off and that “Satisfaction of Mortgage” was invalid5. On November 21, 2016,

 CMS advised Plaintiff of that finding. (Ex. K).

          Plaintiff subsequently continued to insist she had paid-off the Loan with BANA before

 CMS began servicing it. CMS again restated what it had been told. CMS further suggested “If

 you are trying to prove you have satisfied this mortgage, a more effective approach would be to


 4
   Plaintiff has failed to present any evidence, such as a pay-off statement, evidencing the basis for the above referenced
 payment. It is difficult to appreciate why Plaintiff would have paid such a sum in July 2014 when a pay-off statement
 she requested from CMS in November 2016, more than two years later, indicated she owe only $187,564.76.
 (Complaint, Ex. 3).
 5
     A review of the notary block on the “Satisfaction of Mortgage” (Complaint, Ex. I) reveals that it appears
 suspiciously identical to a notary block contained on the Assignment of Mortgage attached as Ex. C. The only
 differences are that (a) the assignment is dated “7-21-2011” and the “Satisfaction of Mortgage” is dated “7-21-2014”,
 and (b) the margins on the notary block contained in the “Satisfaction” are reduced, as if it was “copied and pasted”
 onto that document.

                                                             3
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 go to the financial institution which orchestrated the Transfer of Funds or issued the Certified

 Check and provide such evidence of an actual payment or monetary transaction.” (Complaint, Ex.

 7). Plaintiff never provided any such documentation or evidence to CMS, or in support of the

 claims asserted in this case.

        The present action represents Plaintiff’s second attempt to litigate the same or similar

 claims arising out of identical facts in a prior lawsuit filed in 2015 (the “2015 Litigation”). In

 Mixon v. Bank of America, U.S. District Court for the Western District of Michigan, Case No.

 1:15-cv-486, this Court described Plaintiff’s claims in a Report and Recommendation as follows:

                Plaintiff initiated the present action in state court, on or about December
                16, 2014, against Bank of America and 20 unidentified John Does, none
                of whom have been identified or served. This action concerns real
                property located at 243 Devon Road, Battle Creek, Michigan. On or
                about January 28, 2010, Plaintiff obtained a loan in the amount of one
                hundred eighteen thousand, eight hundred eight dollars ($118,808.00).
                As security for this loan, Plaintiff executed a mortgage on the property
                in question. On or about July 21, 2011, Plaintiff’s mortgage was
                reassigned from her original lender to BAC Home Loans Servicing.
                BAC Home Loans Servicing later merged into Bank of America.

                Plaintiff alleges that this mortgage assignment was fraudulent because
                the underlying debt had, by the date of reassignment, already been paid
                in full. Plaintiff further alleges that the mortgage assignment was invalid
                because: (1) her name was not included on the relevant documents; (2)
                the transaction was accomplished through fraudulent “robo-signatures”;
                and (3) Bank of America has no legitimate interest in the property in
                question. (Report and Recommendation, pp 1-2, Ex. L. (Citations
                omitted).

 Plaintiff’s contention that she paid in full the debt for which the subject mortgage was security was

 rejected by this Court in the 2015 Litigation:

                The basis of Plaintiff’s claim is her unsubstantiated allegation that she
                paid in full the debt for which the subject mortgage was security. On the
                other hand, Defendant has submitted documentation in the course of this
                action demonstrating that not only has Plaintiff not paid off the debt in
                question, but instead has failed to regularly make her scheduled mortgage
                payments. As a result, the balance of the loan in question, as of March 5,

                                                  4
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                2015, was in excess of one hundred thirty-seven thousand dollars
                ($137,000.00). Plaintiff’s other arguments in support of her quiet title
                action are frivolous for the reasons articulated in Defendant’s motion. In
                sum, Plaintiff’s complaint does not articulate a plausible claim for relief.
                Accordingly, the undersigned recommends that Defendant’s motion to
                dismiss be granted. (Ex. L, p. 5) (Citations omitted).

 This recommendation was adopted by the Honorable Janet T. Neff on July 17, 2015, and judgment

 entered in favor of BANA. Mixon v. Bank of America, 1:15-cv-486, ECF No. 17-18 (W.D. Mich.)

 (“Judgment”). (Ex. M).

                                        Standard of Review

        To survive a motion under Rule 12(b)(6) of the Federal Rules of Civil Procedure, the

 complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is

 plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662 (2009). A claim is plausible on its face when

 the plaintiff pleads factual content that allows the court to make the reasonable inference that the

 defendant is liable for the misconduct alleged. Id. The plausibility standard requires more than a

 sheer possibility that a defendant has acted unlawfully. Id. For the purposes of a motion to dismiss,

 a court must take all of the factual allegations in the complaint as true, but the court is not bound

 to accept as true a legal conclusion couched as a factual allegation. Id. A court also need not accept

 as true “legal conclusions or unwarranted factual inferences.” In Re Packaged Ice Antitrust Litig.,

 723 F. Supp. 2d 987, 1002 (E.D. Mich. 2010). Instead, Rule 12(b)(6) requires that a complaint

 “contain something more … than … a statement of facts that merely creates a suspicion [of] a

 legally cognizable right of action.” Bell Atlantic Corp. v. Twombly, 550 US 544 (2007) (internal

 citation omitted).

        When deciding a motion under Rule 12(b)(6), the court primarily considers the allegations

 in the complaint, but may also take into account matters of public record, orders, items appearing

 in the record of the case and exhibits attached to the complaint. Amini v. Oberlin College, 259 F.3d

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 493, 502 (6th Cir. 2001). Because Rule 9(f) of the Federal Rules of Civil Procedure makes

 allegations of time material, an action may be dismissed under Rule 12(b)(6) when it is apparent

 from the face of the complaint that the time limit for bringing the claim has passed. Hoover v.

 Langston Equipment Associates, Inc., 958 F.2d 742, 744 (6th Cir. 1992)(quoting 5 Wright &

 Miller, Federal Practice And Procedure, § 1308, p. 695)(West 1990)).

                                        Argument

    I.      PLAINTIFF’S CLAIMS ARE BARRED BY RES JUDICATA AND
            COLLATERAL ESTOPPEL BASED ON THE 2015 LAWSUIT

            a. Res Judicata

         The doctrine of res judicata, also known as claim preclusion, provides that “a final

 judgment on the merits of an action precludes the parties or their privies from relitigating issues

 that were or could have been raised in [a prior] action.” Allied Erecting and Dismantling Co., Inc.

 v. Genesis Equipment, 805 F.3d 701, 708 (6th Cir. 2015) (quoting Federated Dept Stores, Inc. v.

 Moitie, 452 U.S. 394, 398 (1981). Res judicata applies if the following elements are satisfied: (1)

 a final decision on the merits by a court of competent jurisdiction; (2) a subsequent action between

 the same parties or their privies; (3) an issue in the subsequent action which was litigated or which

 should have been litigated in the prior action; and (4) an identity of the causes of action. Allied

 Erecting, 805 F.3d at 708-09.

         Plaintiff’s 2015 Litigation was resolved on the merits thus satisfying the first element. The

 third element is satisfied as the claims asserted in the present action could have been (or were)

 asserted in Plaintiff’s previous action. The fourth element is satisfied as both suits are for or are

 based on substantially the same operative facts. The Sixth Circuit has observed:

                Causes of action share an identity where the facts and events creating
                the right of action and the evidence necessary to sustain each claim are
                the same. In the words of the Supreme Court, “the now-accepted test in

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                  preclusion law for determining whether two suits involve the same
                  claim or cause of action depends on factual overlap. Two suits are for
                  or [are] in respect to the same claim . . . if they are based on substantially
                  the same operative facts, regardless of the relief sought in each suit.”
                  Heike v. Central Michigan University Board of Trustees, 573 Fed.
                  Appx. 476, 482-83 (6th Cir., July 22, 2014) (citation omitted).

           With regard to the second element, CMS is in privity with BANA. In Adair v. State, 470

 Mich 105, 122-123 (2004), the Michigan Supreme Court defined “privity” in the context of res

 judicata as follows: “To be in privity is to be so identified in interest with another party that the

 first litigant represents the same legal right that the later litigant is trying to assert.” Baraga Co. v.

 State Tax Comm., 466 Mich. 264, 269–270, 645 N.W.2d 13 (2002). The court found that for the

 purposes of the “privity” requirement for res judicata a perfect identity of the parties is not

 required, only a “substantial identity of interests” that are adequately presented and protected by

 the first litigant. Id. A privy also includes one who, after rendition of the judgment, has acquired

 an interest in the subject matter affected by the judgment through one of the parties, as by

 inheritance, succession, or purchase. Wildfong v. Fireman's Fund Ins. Co., 181 Mich App 110, 115

 (1989).

           For purposes of res judicata, in this case CMS should be found to be in privity with BANA.

 BANA, the defendant/litigant in the first case, represented the same legal right that CMS, as the

 defendant/litigant in the latter case, must assert – the validity of the Loan. Further, CMS succeeded

 BANA as the servicer of the Loan after rendition of the Judgment and is affected by the Judgment.

              b. Collateral Estoppel

           Collateral estoppel, or issue preclusion, prevents parties from “raising an argument that

 they already fully litigated in an earlier legal proceeding.” Anderson v. City of Blue Ash, 798 F.3d

 338, 350 (6th Cir. 2015). More specifically, “issue preclusion, bars ‘successive litigation of an

 issue of fact or law actually litigated and resolved in a valid court determination essential to the

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 prior judgment, even if the issue recurs in the context of a different claim.’ ” Arkansas Coals, Inc.

 v. Lawson, 739 F.3d 309, 320 (6th Cir. 2014) (quoting Taylor v. Sturgell, 553 U.S. 880, 891 (2008).

 Issue preclusion “bars the relitigation of issues, regardless of the nature of the legal claims.” W.J.

 O'Neil Co. v. Shepley, Bulfinch, Richardson & Abbott, Inc., 700 Fed. Appx. 484, 490 (6th Cir.

 2017).

          The Sixth Circuit has identified four requirements for the application of collateral estoppel:

 (1) the precise issue raised in the present case must have been raised and actually litigated in the

 prior proceeding; (2) determination of the issue must have been necessary to the outcome of the

 prior proceeding; (3) the prior proceeding must have resulted in a final judgment on the merits;

 and (4) the party against whom estoppel is sought must have had a full and fair opportunity to

 litigate the issue in the prior proceeding. Hamilton's Bogarts, Inc. v. Michigan, 501 F.3d 644, 650

 (6th Cir. 2007).

          The fact that CMS was not a named party to the 2015 Litigation does not restrict the

 application of issue preclusion. The Sixth Circuit dispensed with any mutuality requirement in

 cases where a party invokes preclusion defensively rather than offensively6. Georgia-Pac.

 Consumer Prod. LP v. Four-U-Packaging, Inc., 701 F.3d 1093, 1098–99 (6th Cir. 2012)

 (“Mutuality between the parties is not required in defensive collateral estoppel cases so long as

 ‘the plaintiff has had a full and fair opportunity to litigate the contested issue previously.’”) Where

 a litigant brings repeated actions based upon the same operative facts, issue preclusion may still




 6
    As noted by the Court in Blonder–Tongue v. University Foundation, 402 US 313, 329 (1971), “[p]ermitting repeated
 litigation of the same issue as long as the supply of unrelated defendants holds out reflects either the aura of the gaming
 table or ‘a lack of discipline and of disinterestedness on the part of the lower courts, hardly a worthy or wise basis for
 fashioning rules of procedure.’ Kerotest Mfg. Co. v. C–O–Two Co., 342 U.S. 180, 185, 72 S.Ct. 219, 222, 96 L.Ed.
 200 (1952). Although neither judges, the parties, nor the adversary system performs perfectly in all cases, the
 requirement of determining whether the party against whom an estoppel is asserted had a full and fair opportunity to
 litigate is a most significant safeguard.”

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 properly apply despite a change in legal theory or the “cast of characters-defendants.” Randles v.

 Gregart, 965 F.2d 90, 93 (6th Cir.1992).

           Each of the requirements for the application of collateral estoppel are satisfied here. The

 basis for each of the claims asserted by Plaintiff in this action is her assertion she paid in full the

 debt for which the subject mortgage was security. That was the precise issue raised and rejected

 by this Court in the 2015 Litigation. (Ex. L, p. 5; Judgment, Ex. M) (Citations omitted).

           There also can be no doubt the remaining requirements for collateral estoppel have been

 satisfied: the above determination by the Court was necessary to the outcome of the 2015

 Litigation; that proceeding resulted in a final judgment on the merits (Ex. M); and, Plaintiff had a

 full and fair opportunity to litigate issues in the 2015 Litigation.

     II.       PLAINTIFF’S RICO CLAIM (COUNT I) FAILS AS A MATTER OF LAW

           To state a valid civil RICO claim, Plaintiff must plead the following elements: “(1) conduct

 (2) of an enterprise (3) through a pattern (4) of racketeering activity7.” Sedima, S.P.R.L. v. Imrex

 Co., Inc., 472 US 479, 496 (1985); Reves v. Ernst & Young, 507 US 170, 183 (1993); 18 U.S.C.

 §1962(a), (b), (c). A RICO enterprise is defined as “any individual, partnership, corporation,

 association, or other legal entity, and any union or group of individuals associated in fact although

 not a legal entity.” 18 U.S.C. § 1961(4). “To satisfy the enterprise requirement, an association-in-

 fact must be an ongoing organization, its members must function as a continuing unit, and it must

 be separate from the pattern of racketeering activity in which it engages.” Frank v. D’Ambrosi, 4

 F.3d 1378, 1386 (6th Cir. 1993). “A properly pled RICO claim must cogently allege activity ‘that




 7
    A “pattern of racketeering activity” requires at least two racketeering acts. Sedima, supra; 18 U.S.C. § 1961(5). A
 plaintiff “must plead sufficient facts to establish the existence of a ‘pattern’ of racketeering activity . . . . A pattern is
 not automatically established, however, by a large number of unrelated acts; the acts must be ordered and arranged so
 as to exhibit ‘relatedness' and ‘continuity.’ ” Vemco, Inc. v. Camardella, 23 F.3d 129, 133 (6th Cir. 1994).

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 would show on-going8, coordinated behavior among the defendants that would constitute an

 association-in-fact.’” Begala v. PNC Bank, Ohio, N.A., 214 F.3d 776, 781 (6th Cir. 2000), quoting

 Frank, supra. To be found liable under RICO, “a defendant must have not only participated in the

 scheme, but must have also participated in the operation of management of the enterprise itself.”

 800537 Ontario Inc. v. Auto Enterprises, Inc., 113 F.Supp.2d 1116, 1121 (E.D. Mich. 2000).

         Plaintiff is also required to plead and show that a RICO predicate offense not only was a

 ‘but for’ cause of his injury, but was the proximate cause as well.” Hemi Group, LLC v. City of

 New York, NY, 559 U.S. 1, 8 (2010). “Proximate cause for RICO purposes, we make clear, should

 be evaluated in light of its common-law foundations; proximate cause thus requires some direct

 relationship between the injury asserted and the injurious conduct alleged.” Id. “A link that is ‘too

 remote’, ‘purely contingent’, or ‘indirec[t]’ is insufficient.” Id.

         Plaintiff has failed to allege any facts establishing (1) conduct (2) of an enterprise (3)

 through a pattern (4) of racketeering activity. Plaintiff has also failed to allege any facts

 establishing an ongoing organization or control of the purported enterprise by CMS or the other

 Defendants. A bald assertion that the Defendants are an “enterprise” followed by a string of alleged

 activities independently conducted by the Defendants is not sufficient to state a claim. (Complaint,

 ¶¶ 78, 80).

         Plaintiff has also failed to plead, and cannot establish, that any predicate offense was the

 proximate cause of any injury. As reflected by this Court’s finding in the 2015 Litigation, there

 was no Loan “pay-off” and Plaintiff failed to regularly make her scheduled mortgage payments.

 The proximate cause of her alleged injuries is her own conduct. Finally, because CMS only


 8
    A party alleging a RICO violation may demonstrate continuity over a closed period by proving a series of related
 predicates extending over a substantial period of time. H.J., Inc. v. Northwestern Bell Telephone Co., 492 US 229,
 242 (1989). Predicate acts extending over just weeks or months, or threatening no future criminal conduct do not
 satisfy this requirement. Id. (Emphases added).

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 serviced the Loan for Stanwich, a non-party, for approximately 8 months, Plaintiff cannot establish

 any on-going, coordinated behavior between CMS and the Defendants, let alone one “over a

 substantial period of time”.

     III.      PLAINTIFF’S FRAUD CLAIMS (COUNTS II, IV, VI, XXVII AND XXVIII)
               FAIL AS A MATTER OF LAW

            Counts II (“Common Law Fraud”), IV (“Fraudulent Misrepresentations”), VI (“Violations

 of 10(b) and 10B-5 of the Securities and Exchange Act of 1934”), XXVII (“Mortgage Fraud”) and

 XXVIII (“Negligent Misrepresentation”) each share a common theme that CMS and the other

 Defendants made false statement of fact to her which they profited from and Plaintiff was damaged

 by. (Complaint, ¶¶ 108, 118, 131, 269, and 275). Due to the “high risk of abusive litigation,”

 Twombly, 550 US at 569 n. 14, a party alleging fraud “must state with particularity the

 circumstances constituting fraud or mistake.” Rule 12(b)(6) of the Federal Rules of Civil

 Procedure. To comply with that rule a plaintiff must specify (1) what the fraudulent statements

 were, (2) who made them, (3) when and where the statements were made, and (4) why the

 statements were fraudulent. Republic Bank & Trust Co. v. Bear Stearns & Co., 683 F.3d 239, 247

 (6th Cir. 2012). “[A] plaintiff's obligation to provide the ‘grounds' of his ‘entitlement to relief’

 requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

 action will not do.” Twombly, 550 US at 555.

            To state a claim for fraud9 a Plaintiff must plead each of the following elements, consistent

 with the requirements set forth above: (1) that a defendant made a material misrepresentation; (2)


 9
    The tort of negligent misrepresentation requires proof that: (1) the party justifiably relied to his detriment; (2) on
 information provided without reasonable care; and (3) by one who owed relying party duty of care. See Law Offices
 of Lawrence J. Stockler v. Rose, 174 Mich App 14 (1989). In a typical 10(b) private action a plaintiff must prove (1)
 a material misrepresentation or omission by the defendant; (2) scienter; (3) a connection between the misrepresentation
 or omission and the purchase or sale of a security; (4) reliance upon the misrepresentation or omission; (5) economic
 loss; and (6) loss causation. See Dura Pharmaceuticals, Inc. v. Broudo, 544 US 336, 341–342 (2005). At the pleading
 stage, a complaint stating claims under section 10(b) and Rule 10b–5 must satisfy the dual pleading requirements of
 Federal Rule of Civil Procedure 9(b).

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 that it was false; (3) that when the defendant made it, they knew it was false or made it recklessly,

 without any knowledge of its truth, and as a positive assertion; (4) that the defendant made it with

 the intention that it should be acted upon; (5) that a plaintiff acted in reliance upon it; and (6) that

 the plaintiff thereby suffered injury. Hi-Way Motor Co. v. Int’l Harvester Co., 398 Mich 330, 336

 (1976). The absence of any one of these elements is fatal to recovery. Id.

            Plaintiff has failed to comply with the pleading requirements outlined above. Other than

 a partial “formulaic recitation” of the elements of various causes of action Plaintiff has failed

 identify any specific representations made by CMS, or any other Defendant10. To the extent

 Plaintiff contends the “representations” related to her obligation to repay a Loan she did not owe,

 the 2015 Litigation has already established her position is meritless. As such, each of Plaintiff’s

 fraud-based claims must be dismissed.

      IV.      PLAINTIFF’S FIDUCIARY DUTY CLAIM (COUNT III) FAILS AS A
               MATTER OF LAW

            Count III vaguely asserts “all Defendants” placed themselves “in a position of trust by

 virtue of their expertise represented by and through their employees” (Complaint, ¶ 111) although

 she then excludes CMS from wrongful conduct in the following paragraph (Complaint, ¶ 112). In

 In re Sallee, 286 F.3d 878, 892 (6th Cir. 2002), the court held as follows: “To make out a claim

 that a fiduciary relationship existed, the party claiming the fiduciary relationship must first show

 the relationship existed before the transaction that is the subject of the action. Second, the party

 claiming a fiduciary relationship must show that reliance was not merely subjective. Third, the

 party claiming a fiduciary relationship must show that the nature of the relationship imposed a

 duty upon the fiduciary to act in the principal's interest, even if such action were to the detriment



 10
   CMS is not even referenced by name in Count XXVII (Mortgage Fraud) or XXVIII (Negligent Misrepresentation),
 demonstrating Plaintiff’s absolute failure to comply with the applicable pleading requirements.

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 of the fiduciary.” (Citations omitted). There is generally no fiduciary relationship between a

 mortgagor and a mortgagee. In re Sallee, 286 F.3d at 893. Courts uniformly hold that “the

 relationship between a lending institution and its borrower-client is not fiduciary in nature.”

 Nymark v. Heart Fed. Savings & Loan Ass'n, 231 Cal. App. 3d 1089, 1093 n. 1 (1991) (claim for

 breach of fiduciary duty by lender to borrower fails as a matter of law because no such duty exists);

 Coyer v. HSBC Mortg. Svcs., Inc., 701 F.3d 1104, 1108 (6th Cir. 2012) (affirming dismissal of

 breach of fiduciary duty claim by borrower against mortgage owner and servicer because “there is

 generally no fiduciary relationship between a mortgagor and a mortgagee”).

         The authorities cited above establish that as a general rule, lenders, mortgagees, and

 mortgage servicers do not have an independent legal duty to exercise reasonable care in relation

 to a borrower. There is no basis in law under which Plaintiff can assert a breach of fiduciary duty

 claim against CMS and it must be dismissed.

    V.      PLAINTIFF’S EXTORTION AND BLACKMAIL CLAIM (COUNT V) FAILS
            AS A MATTER OF LAW

         Plaintiff vaguely asserts CMS and the Defendants “orally and maliciously” threatened to

 “steal Plaintiff’s home” if she did not “pay them money that she does not owe”. (Complaint, ¶

 125). In short, according to Plaintiff, any effort to collect on the Loan constitutes “blackmail and

 extortion”, citing 18 U.S.C. §§ 873, 875(b), and 880.

         Violations of federal criminal law do not give rise to a cause of action by a private plaintiff.

 It is a “firmly established principle that criminal statutes can only be enforced by the proper

 authorities of the United States Government and a private party has no right to enforce these

 sanctions.” Am. Postal Workers Union v. Indep. Postal Sys. Of Am., Inc., 481 F.2d 90, 93 (6th Cir.

 1973); “[A] private citizen lacks a judicially cognizable interest in the prosecution or

 nonprosecution of another.” Diamond v. Charles, 476 U.S. 54, 64 (1986) (no private right of action

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 under 18 U.S.C. § 880). Plaintiff’s claims are factually as well as legally meritless and must be

 dismissed.

    VI.       PLAINTIFF’S NEGLIGENT (COUNT VII) AND INTENTIONAL (COUNT
              XIII) INFLICTION OF EMOTIONAL DISTRESS CLAIMS FAIL AS A
              MATTER OF LAW

          In Count VII Plaintiff vaguely asserts CMS and the Defendants “have negligently inflicted

 emotional distress on Plaintiff” by the “violation of her rights”. (Complaint, ¶¶ 139-140). In Count

 XIII Plaintiff vaguely asserts that CMS and the Defendants “have violated Plaintiff’s rights

 through intentionally inflicting emotional distress on Plaintiff” by seeking to collect payments she

 never owed. (Complaint, ¶¶ 165 – 166).

          In Gillespie v. Battle Creek, 100 F Supp. 3d 623 (WD Mich, 2015), this Court dismissed a

 negligent infliction of emotional distress claim when, just as in this case, Plaintiffs’ complaint only

 alleged direct injury to themselves. “Although Michigan recognizes claims for negligent infliction

 of emotional distress, such claims are limited to “situations involving the plaintiff’s witnessing

 negligent injury to an immediate family member and suffering severe mental distress causing

 actual physical harm.” Id. at 634. Duran v. Detroit News, Inc., 200 Mich App 622 (1993)

 (Declining to apply the tort of negligent infliction of emotional distress beyond the situation where

 a plaintiff witnesses negligent injury to a third person and suffers mental disturbance as a result).

          In order to state a claim of intentional infliction of emotional distress, a plaintiff must show

 (1) extreme and outrageous conduct, (2) intent or recklessness, (3) causation, and (4) severe

 emotional distress. Teadt v. Lutheran Church Mo. Synod, 237 Mich App 567 (1999). Liability for

 such a claim has been found only where the conduct complained of has been so outrageous in

 character, and so extreme in degree, as to go beyond all possible bounds of decency and to be

 regarded as atrocious and utterly intolerable in a civilized community. Id. “[T]he case is generally



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 one in which the recitation of facts to an average member of the community would arouse

 resentment against the actor, and lead the average member of the community to exclaim

 ‘Outrageous!’ ” Id. It is generally the duty of the trial court to determine whether a defendant's

 alleged conduct may reasonably be regarded as so ‘outrageous.’ ” Garretson v. City of Madison

 Heights, 407 F.3d 789, 799 (6th Cir. 2005).

        Plaintiffs’ complaint only alleged direct injury to herself, not to a situation involving her

 witnessing negligent injury to an immediate family member. Furthermore, Plaintiff failed to plead,

 and cannot establish, the elements of an intentional infliction of emotional distress claim. The

 only thing “outrageous” is Plaintiff’s continued assertion her Loan was paid-in-full. Both counts

 must be dismissed.

    VII.    PLAINTIFF’S CLAIM FOR VIOLATION OF MCL 600.3204 (COUNT VIII)
            FAILS AS A MATTER OF LAW

        Count VIII vaguely asserts “Defendants have violated Plaintiff’s rights under MCL

 600.3204” (Complaint, ¶ 141) although she then excludes CMS from wrongful conduct in the

 following paragraph (Complaint, ¶ 142). The basis for her claim is, apparently, her continued

 assertion that she has “paid for her home in full”. (Complaint, ¶ 143).

        As previously noted, Plaintiff’s assertion she previously paid her loan in full has been

 established as meritless by the 2015 Litigation. Furthermore, Michigan law permits a foreclosure

 by advertisement under MCL 600.3204. A property owner may challenge a foreclosure

 proceeding—rendering the foreclosure voidable—by demonstrating defects or irregularities in the

 proceeding and that that they were prejudiced by a defendant's failure to comply with MCL

 600.3204. Kim v. JP Morgan Chase Bank, N.A., 493 Mich. 98 (2012). To demonstrate such

 prejudice, they must show that they would have been in a better position to preserve their interest

 in the property absent defendant's noncompliance with the statute.” Id.

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          Plaintiff has not alleged that CMS foreclosed on the Loan. A party not involved in a

 foreclosure cannot been found to violate MCL 600.3204. Goss v. CitiMortgage, Inc., No. 16-

 14391, 2017 WL 5499400, at *6 (E.D. Mich. Nov. 16, 2017) (Ex. N). This claim must be

 dismissed.

    VIII. PLAINTIFF’S CLAIM FOR BREACH OF CONTRACT (COUNT X) FAILS AS
          A MATTER OF LAW

          Count X vaguely asserts “Defendants have violated Plaintiff’s rights under the Breach of

 Contract Tort Laws.” (Complaint, ¶ 144). However, CMS is not specifically referred to anywhere

 in the count.

          To state a claim for breach of contract in Michigan, a plaintiff is required to allege: (1) the

 existence of a valid contract; (2) the terms of the contract; (3) breach of the contract; and (4) an

 injury caused by the breach. Webster v. Edward D. Jones & Co., L.P., 197 F.3d 815, 819 (6th Cir.

 1999). Plaintiff has not alleged or identified any contract between herself and CMS, and none

 exists, let alone a breach of same. Therefore, this claim must be dismissed.

    IX.       PLAINTIFF’S BREACH OF COVENANT AND FAIR DEALING (COUNT XI)
              AND TORTIOUS BREACH OF IMPLIED COVENANTS (COUNT XX)
              CLAIMS FAIL AS A MATTER OF LAW

          Count XI vaguely asserts “Defendants have violated Plaintiff’s rights under the Breach of

 Covenant and Fair Dealing Laws.” (Complaint, ¶ 154). However, CMS is not specifically referred

 to anywhere in the count, and no specific contract with CMS is identified. Count XX vaguely

 asserts that “Defendants have violated Plaintiff’s rights under the Tortious Breach of Implied

 Covenants.” (Complaint, ¶ 210). Again, no specific contract with CMS is identified. In fact,

 Plaintiff contends no contracts even exist as she insists the loan and loan modification agreements

 were fraudulent. (Complaint, ¶¶ 5, 19, 211, 212).




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           In addition to the significant factual and pleading deficiencies noted above, the Sixth

 Circuit has held that no such independent causes of action are recognized under Michigan law11.

 For example, in Coyer v. HSBC Mortg. Svcs., Inc., 701 F.3d 1104, 1108 (6th Cir. 2012), the court

 affirmed the district court’s dismissal of a claim for breach of an implied covenant of good faith

 and fair dealing in a similar case because “Michigan does not recognize a claim for breach of an

 implied covenant of good faith and fair dealing....”, citing Belle Isle Grill Corp. v. City of Detroit,

 256 Mich App 463 (2003). See also Fodale v. Waste Management of Michigan, Inc., 271 Mich

 App 11, 35 (2006) (Michigan law simply “does not recognize a cause of action for breach of the

 implied covenant of good faith and fair dealing). Therefore, these claims must be dismissed.

      X.      PLAINTIFF’S NEGLIGENCE CLAIM (COUNT XII) FAILS AS A MATTER
              OF LAW

           Count XII vaguely asserts “Defendants have violated Plaintiff’s rights through

 negligence.” (Complaint, ¶ 159). Other than a general statement CMS somehow caused Plaintiff

 “damages”, CMS is not specifically referred to anywhere in the count, nor is any “duty” or “breach

 of duty” attributed to CMS. Again, the focus of Plaintiff’s claim is her contention that her

 supposed “pay-off” of the Loan was not recognized, a contention this Court already determined to

 be invalid in the 2015 Litigation.

           In Coyer, supra, the Sixth Circuit affirmed the district court’s dismissal of a negligence

 claim. The court noted that under Michigan law, a plaintiff alleging a claim of negligence must

 demonstrate the following four elements: 1) a duty owed to the plaintiff by the defendant, 2) breach

 of that duty, 3) causation, and 4) damages.” Coyer, 701 F.3d at 1108, citing Brown v. United




 11
     The case law cited by Plaintiff in ¶ 211 of her Complaint are each based on Nevada law, not Michigan law and
 therefore not applicable to this action.

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 States, 583 F.3d 916, 920 (6th Cir. 2009) and Case v. Consumers Power Co., 463 Mich 1, 6 (2000).

 Plaintiff’s vague allegations fail to identify any of the above prima facie pleading requirements12.

            Lenders, mortgagees, and mortgage servicers generally do not owe any independent legal

 duty to a borrower. Elson v. Deutsche Bank Nat. Tr. Co., No. 11-14100, 2012 WL 1902916, at *11

 (E.D. Mich. May 25, 2012) (citing Ulrich v. Federal Land Bank of St. Paul, 192 Mich App 194

 (1991) (Ex. O). Furthermore, any negligence claim relating to her supposed 2012 “pay-off” would

 be time barred by the applicable three-year statute of limitation. See MCL 600.5805.

      XI.      PLAINTIFF’S FDCPA CLAIM (COUNT XIV) FAILS AS A MATTER OF LAW

            Count XIV vaguely asserts “Defendants have violated Plaintiff’s rights under the Fair Debt

 Collection Practices Act” (“FDCPA”). (Complaint, ¶ 174). CMS is not specifically referred to

 anywhere in the count, but her claims appear to be again based on her contention the Loan was

 “paid-off”, a contention this Court already determined to be invalid in the 2015 Litigation. She

 has otherwise failed to plead or identify any specific act by CMS that was allegedly a violation of

 the FDCPA.

            Although the factual and pleading deficiencies noted above are themselves significant

 defects, federal courts have recognized “[C]reditors, mortgagors, and mortgage servicing

 companies are not debt collectors and are statutorily exempt from liability under the FDCPA.”

 Mohlman v. Long Beach Mortg., No. 12-10120, 2013 WL 490112 (E.D. Mich. Feb. 8, 2013) (Ex.

 P), citing Scott v. Wells Fargo Home Mortg. Inc., 326 F.Supp.2d 709, 718 (E.D.Va. 2003) and

 Givens v. HSBC Mortg. Services, 08–10985, 2008 WL 4190999 (E.D. Mich. Aug. 26, 2008).




 12
     To the extent Plaintiff’s claim is based upon the already rejected “pay-off” argument, CMS was not a party to those
 events in 2012 and, therefore, cannot be found negligent when it was not a party to that transaction. See Coyer, supra
 at 1108 (Purchaser of a mortgage cannot be found liable for negligence related to the origination of the loan as it was
 not a party to that transaction).

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        Furthermore, any FDCPA claims against CMS are time barred. An action to enforce any

 liability created by a violation of the FDCPA must be brought within one year from the date on

 which the violation occurs. 15 U.S.C. § 1692k(d). CMS’ limited role as a servicer on the Loan

 terminated on April 30, 2017. (Ex. I). This action was filed on May 3, 2018, more than a year after

 CMS’s role and dealings with Plaintiff ended. (Ex. I). For the reasons noted above, this claim

 must be dismissed.

    XII.    PLAINTIFF’S CLAIMS FOR DECLARATORY RELIEF (COUNT XV),
            INJUNCTIVE RELIEF (COUNT XVI), AND UNJUST ENRICHMENT
            (COUNT XIX) FAIL AS A MATTER OF LAW

        In Count XV of her Complaint Plaintiff asserts a “dispute has arisen” between her and the

 Defendants with regard to the “fraudulent loan” and “attempts to foreclose”. (Complaint, ¶ 188).

 In Count XVI she asserts “irreparable harm and injury” has already resulted, that she previously

 sold her home for $1.00, but yet still asks the Court to find her to be the “owner” of the Property.

 (Complaint, ¶¶ 193 - 195). In Count XIX she alleges the Defendants have “violated Plaintiff’s

 rights under the Unjust Enrichment Laws.” (Complaint, ¶ 204).

        Each of the above claims is based in equity. The Michigan Supreme Court has held that

 “[t]he clean hand maxim is a self-imposed ordinance that closes the doors of a court of equity to

 one tainted with inequitableness or bad faith relative to the matter in which he seeks relief, however

 improper may have been the behavior of the defendant.” Mudge v Macomb County, 458 Mich 87,

 109, n 23 (1998). McKay v Palmer, 170 Mich App 288, 293 (1988) (barring plaintiff’s quiet title

 suit on the doctrine of unclean hands). It is undisputed that Plaintiff failed to make the payments

 due under the Loan. In addition, Plaintiff continues to assert claims of “paid-in-full” when that

 position has previously been rejected by this Court. Finally, Plaintiff has admitted she engaged in

 a fraudulent transfer of her home in order to avoid foreclosure. (Complaint, ¶ 87). She has,



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 therefore, come to this Court with unclean hands and cannot invoke the equitable remedies of

 declaratory relief, injunctive relief, and unjust enrichment.

        The pleading for each of the above counts is also defective. A claim for a declaratory

 judgment is not an independent cause of action. Davis v. United States, 499 F.3d 590, 594 (6th

 Cir. 2007). It only provides courts with discretion to fashion a remedy. Heydon v. MediaOne of

 Southeast Mich., Inc., 327 F.3d 466, 470 (6th Cir. 2003). Plaintiff’s “declaratory relief” claim is

 also deficient because she failed to plead an actual and justiciable controversy exists. Plaintiff’s

 claim for injunctive relief is defective because injunctive relief is a remedy and not an independent

 cause of action. Terlecki v. Stewart, 278 Mich App 644, 663 (2008). “It is not the remedy that

 supports the cause of action, but rather the cause of action that supports a remedy.” Henry v. Dow

 Chem. Co., 473 Mich 63, 96–97 (2005). Plaintiff cannot advance a request for an injunction

 without a legally cognizable underlying substantive cause of action. Terlecki, supra. Finally,

 Plaintiff’s unjust enrichment claim must fail because express contracts exist, the Note and

 Mortgage. Courts cannot imply a contract in such instances. Barber v. SMH (US), Inc., 202 Mich

 App 366, 375 (1993).

    XIII. PLAINTIFF’S CLAIMS FOR VIOLATIONS OF THE CONSUMER
          FINANCIAL PROTECTION ACT (COUNTS XVII AND XVIII) FAIL AS A
          MATTER OF LAW

        In Counts XVII and XVIII of her Complaint Plaintiff allege the Defendants have “violated

 Plaintiff’s rights under the Consumer Financial Protection Act”, citing 12 U.S.C. 5481, et seq.

 (Complaint, ¶¶ 197, 200). Plaintiff fails to cite to any specific provision of the Act allegedly

 violated by CMS or any Defendant, nor does she set forth any factual allegations regarding alleged

 violations. In addition to the substantial factual and pleading deficiencies noted above, the rules

 promulgated by the CFPA are only enforceable in an administrative proceeding brought by the



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 CFPB or a state regulator. They do not provide for a private right of action. Schmidt v. PennyMac

 Loan Services, LLC, 106 F. Supp. 3d 859, 869 (ED Mich 2015) (holding that statutes that direct

 federal agencies to issue rules and regulations rarely create private rights of action.); Alexander v.

 Sandoval, 532 U.S. 275, 291 (2001) (no private right of action unless expressly creates one.)

 Therefore, Plaintiff’s claims must be dismissed.

    XIV. PLAINTIFF’S CLAIM FOR TORTIOUS INTERFERENCE WITH BUSINESS
         RELATIONSHIPS (COUNT XXI) FAILS AS A MATTER OF LAW

        In Count XXI of her Complaint Plaintiff alleges the Defendants have “violated Plaintiff’s

 rights through Tortious interference with Plaintiff’s business relationships”. (Complaint, ¶ 217).

 Although not clear, it appears this claims relates to a supposed loss of business in her interior

 design business. (Complaint, ¶ 218). Plaintiff fails to plead any acts by CMS supporting her claim.

 In addition to the significant factual and pleading deficiencies noted above, Plaintiff has failed to

 plead the elements required for her claim.

        To prevail on a claim of tortious interference with a business relationship or economic

 expectancy under Michigan law, Plaintiffs must plead and prove each of the following: (i) the

 existence of a valid business relationship or expectancy; (ii) knowledge of the relationship or

 expectancy on the part of the defendant; (iii) intentional interference causing or inducing a

 termination of the relationship or expectancy; and (iv) resultant actual damage. Saab Auto. AB v.

 Gen. Motors Co., 770 F.3d 436, 440 (6th Cir. 2014), citing Lucas v. Monroe Cnty., 203 F.3d 964,

 979 (6th Cir. 2000). Plaintiff has failed to plead these required elements. She has not alleged any

 valid business relationship or expectancy. She has not pled CMS had knowledge of any valid

 business relationship or expectancy, or that CMS intentionally interfered with any legitimate

 expectancy. Finally, she has not pled any facts showing how she was purportedly damaged.

 Therefore, Plaintiff’s claim must be dismissed.

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    XV.     PLAINTIFF’S CLAIM FOR DEFAMATION OF CHARACTER (LIBEL)
            (COUNT XXIV) FAILS AS A MATTER OF LAW

        In Count XXIV of her Complaint Plaintiff alleges the Defendants have “violated Plaintiff’s

 rights under the Defamation of Character laws.” (Complaint, ¶ 236). Once again, Plaintiff has

 failed to plead any acts, statements, or communications by CMS supporting her claim.

        Under Michigan law, in order to show libel, a plaintiff must show four elements: 1) a false

 and defamatory statement concerning the plaintiff, 2) an unprivileged communication to a third

 party, 3) fault amounting to at least negligence on the part of the publisher, and 4) either

 actionability of the statement irrespective of special harm or the existence of special harm caused

 by publication. Nichols v. Moore, 477 F.3d 396, 399 (6th Cir. 2007) (quoting Rouch v. Enquirer

 & News, 440 Mich 238, 251 (1992). Michigan law imposes liability only for statements that are

 materially false. Rouch, supra. The test for materiality “look[s] to the sting of the [statement] to

 determine its effect on the reader; if the literal truth produced the same effect, minor differences

 [are] deemed immaterial.” Id.

        Plaintiff has failed to plead any of the above requirements, not can she. Furthermore, even

 if all the pleading deficiencies could be remedied the claim would time barred. MCL 600.5805(7)

 provides that the period of limitation is one year for an action charging libel or slander. Such a

 claim accrues at the time the wrong was committed regardless of the time when damage results.

 MCL 600.5827. CMS’s limited role as a servicer on the Loan terminated on April 30, 2017. (Ex.

 I). This action was filed on May 3, 2018, more than a year after CMS ceased communications with

 Plaintiff. For the reasons noted above, this claim must be dismissed.




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    XVI. COUNTS XXII, XXIII, XXV AND XXVI OF THE COMPLAINT DO NOT
         ASSERT CLAIMS AGAINST CMS

        Counts XXII (Violation of TCPA), XXIII (Violation of 18 USC 1038), XXV (Slander of

 Title), and XXVI (Civil Conspiracy) of the Complaint do not assert claims against CMS, only

 referring to Defendants BANA and Trott. Although each of those counts is also meritless and fail

 to state claims upon which relief may be granted, CMS relies upon the arguments set forth in

 Section I of the Argument, above, to support the dismissal of these claims to the extent Plaintiff

 contends they do, in fact, pertain to CMS.

                                              Conclusion

        As more fully detailed above, Plaintiff has failed to state any claims against CMS upon

 which relief can be granted. Accordingly, CMS respectfully requests the entry of an order: (i)

 dismissing all of Plaintiff’s claims with prejudice; (ii) awarding CMS its costs and fees, including

 attorneys’ fees; and (iii) granting CMS any further relief the Court deems just.

                                                      Respectfully submitted,

                                                      Lipson Neilson P.C.

                                                      /s/ Thomas G. Costello
                                                      Thomas G. Costello (P42973)
                                                      David G. Michael (P68508)
                                                      3910 Telegraph Road, Suite 200
                                                      Bloomfield Hills, MI 48302-1461
                                                      (248) 593-5000
                                                      tcostello@lipsonneilson.com
                                                      dmichael@lipsonneilson.com
 Dated: August 6, 2018                                Attorneys for Defendant Carrington
                                                      Mortgage Services, LLC




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                                                                                                                                         Loan Number 1001064014
                                                                                                                                         Case Number 263·4601446-703
                                                                                                                                         MIN 100052210010640142
                                                                                          NOTE
             JANUARY 28, 2010
                   [Dnlc]

             243 DEVON ROAD, BATTLE CREEK, MICIDGAN 49015
                                            [Property Address]


            1. PARTIES
                 "Borrower' means c:.ic!t person signing nt the end of Ibis Note, and the person's successors and assigns.
            'Lender" means '£01' FLITE FINANCIAL INC and its successors .and assigns.
            2. BORROWER'S PR011,IlSE TO PAY; lNTEREST
                 In ref.urn for .a Joan received from Lender, Borrower promises to pay the princip:tl sum of ONE
            IIUNDRED EIGHTEEN THOUSAND EIGIIT HUNDRED EIGilT AND 00/lOOtbs Dollars
            (U.S.$118,808.00), plus interest, to the order of Lender. Interest will be charged on unpaid principal, from
            the dale of disbursement of the loan proceeds by Leader, at the rate of FIVE AND ONE-HALF percent
            (5.500%) per year until the full amount of principal has been paid.
           3. PROMJSE TO PAY SECURED
                Borrower's promise to pay is si:curcd by n Mortgage, Deed of Trust or similar security Instrument that is
           dated the same date as this Note and called the 'Security Instrument.• The Security Instrument protects the
           Lender from losses which might result if Borrower defaults under thls Note.
           4. MANNER OF PAYMENT
                 (A)Time
                Borrower shall mal:c a payment of principal and interest lo Lender on the 1ST day of each month
           beginning on MARCH 1, 2010. Any principal aod interest rcmai.ninll on the 1ST day of FEBRUARY, 2040,
           will be due on that date, which is called the "Maturity Date.•
                (B) Place
                Payment shall be made al 11885 E 12 MILE RD STE 303A, WAJ.lREN, Ml 48093 or nt such place as
           Lender may dcsigm1tc in writing by notice to Borrower.
                (C) Amount
                Each montllly payment of principal aud· interest will be in U1c amount of U.S. $674.58, This amount. will
           be part of n larger monthly payment required by the Security Instrument, that shall be applied to principal,
           interest and 0U1cr items in the order described in the Security Instrument.
                (D) Allonge to this note for payment adjustments
                If an allonge providing for payment adjustments is executed by Borrower togcU1cr with this Note, the
           covenants of the allongc shall be incoi:pornlcd into and shall amend and supplement the covenants of U!is Nole
           ns if the allongc were a part of this Note. [Check applicable box.]

                   D Gradtrated Payment Allooge                                              D Other (Specify]

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            5. DORROWER'S RlGIIT TO PREPAY
                Borrower has the right lo pny lhe debt evidenced by il!is Note, in whole or in part, without charge or
            penally, on the first d~y of lilly month. Lender shill! ncccpt prepayment on other days provided that Borrower
            pays interest on the amount prepaid for the remainder o( the month lo the extent required by Lender and.
            pcnniltcd by regulations of f11e Secretary. If BorroW~T m.~kcs a partial prepaymen{, U1erc will be uo cbanzes in
            the due date or in the amount of the montltly payment unless Lender agrees in writing to those changes.

            6.    DORROWER'S FAILURE TO PAY
                 (A) Late Charge for Overdue Payments
                 If Lender has not received the full monthly payment required by Ute Security Instrument, as described in
            Pnrnzrnph 4(C) of U1is No\e, by f11e end of fifteen calendar days after the paymcot is due, Lender may collect a
            lnle charge in the amount of FOUR percent ( 4.00%) of the overdue amount of each payment.

                (D) Default
                If Borrower defaults by failing to pay iu full any monthly payment, then Lender may, except ns limited by
            regulations of the St-crctary In the case of payment defaults, require immediate payment in full of the principal
            balance remaining due and all accrued interest. Lender m.1y choose not to exercise this option without waMng
            its rights in the event of nny subsequent default. ln mnny circumslnnccs regulations issued by the Secretary will
            limit Lender's rights lo require immediate payment in full in the ci!Se of payment defaults. This Note docs not
            uulhoriZ<: accelcrntion when not pcrrniltcd by HUD regulations. As used in this Note, "Scc'tctary• mcaus !he
            Secretary of Housing and Urban Development or his or her dcsigncc.

                (q l'nymcut of Costs and E>.'Pcuses
                If Lender hns required immediate payment in full, as described .ibovc, Lender .IIJJlY require Borrower to
            pay costs nnd expenses including reasonable and eus!omnry atlornf.'ys' fees for enforcing this Note to lhe ci:tcnt
            not prohibited by applicable Jaw. Such fees and costs shall bear interest from the date of disbursement al the
            same rate as the principnl of lhis Note.

           7. WAIVERS
               Borrower and any other person who hns obligntions under f11is Note waive lhe rights of presentment and
           notice of dishonor. 'Presentment" mCilns the right to require Lender lo demand paymc'tll of amounts due.
           "Notice of dishonor" mcaus the right to require Lender to give notice to other persons !hat amounts due have
           not been paid.

           8. GIVING OF NOTICES
               Unless applicable law requires a differcnl method, any notice Ula! must be given to Borrower under this
           Note will be given by delivering il or by mailing it by fir,;l class mail lo llorrower at the property address
           nbove or at n different address if Borrower has given Lender a notice of Borrower's different address.
               Any notice iliat must be given to Lender under this Note will be given by first class mail to Lender nt lhe
           address staled in ParJgraph 4(13) or al a different address if Borrower is given a notice of that diffcrcnl addcess.




           lilfA MULTISTA1'E !iL'l:IID RATE NOTE                                                                        G/96
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             9. ODLIGATIONS OF PERSONS UNDER THIS NOTE
                  If more !ban one person signs Ibis Nole, each person is fully and pcrson:tlly obligated to keep all of lhe
             promises made in this Note, including tJ1e promise to pay !he full amount owed. Any person who is a
             guarantor, surety or endorser of this Note is rusu obligated to do these lhiogs. Any person who takes over lhcsc
             obllgations, including the obligations ofa guarantor, surely or endorser of this Note, is also obligated to keep
             all of U1c promises made in this Note, Lender may enforce its rights under !his Note against each person
             individually or against all signatories togelher.·Any one person signing lliis Note may be required to pay all of
             the amounts owed under this N9te.


                   BY SIGNING BELOW, Borrower accepts and agrees Co !he terms and covenants con~1i11cd in lhis Note.




            ~h~;t:__J~_l__,_
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            KETURAH MIXON                ~                         ·Dor"'""                                                                   -Douow;r



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                            l. Paymml of Principnl, lnt=t and Lok Cbs.rJ:c. Borrower wll pay wh<o due lhe priocip,I of, :.nd
                          mlcrat on. !be deb( evid<:nccd by lhc Nole zui l.,!c dwgcs due uodcr lhc Not<:.
                            2. Moothl1 l'it)'lllC'lt of Ta=, lns::.ra:u:c, and OU= ewui:co. Bon0111C1' wlJ i.o,:!udc m a<:b =n!hly

                         =     .aod           =
                         poymClll, together with lhc priocip,I acd 11ltcrat ""sot Cotth in the Note and &II}' Ill,, c:lmgc:;, uum ror (•)
                                      specw            l:vl<d or 10 be lcvu:d aglimt the Property, (b) la:>chold p:iyu=t, or g,ow:d rcol<
                         on Uu: Property, acd (e) pmnium, for Imm= ttqUin:,l uod=r Pamgnpb 4, ln&II}'               r= io whl:h the l=dcT
                         must p,y a mor1gagc insuro= premium to lhc Se<:rctuy o{ Hcr.ising and Urb;m ~lop=nt r~·), or
                         lo ooy y= in wlu::h such premium would b>vc been ttqUin:,l if l=&:r <till ~c!d !be Scouiil), lmtrtlmoul. acll
                         monthly payment shall d,u include cilhcr: (i) • sum for !he :uunul JD0""'3C msur.na: premium to be p<ud by
                         I.u,&,r to the Scm,wy, or (ii) a m:,nJhly clwge imtczd of• mong•gc i=iru= prcmr.im if lhb Security
                         Tiulnl=nt i< held by the Scact.ny, in• rc=r::ililc a.mount lo be dctemu=I by tbe Sem:wy. Ei<cq,t forlhe
                         monlhly <huge by lhe Sccrw:ry, th= ilca>S are called "Es:row llems" .and lhc
                         "Eoauw Funds.•
                                                                                                              =  p.,id to Le«!cr arc calkd




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                         lnlilllfu'IIDJ113Ul11mtllll!mllllillffiWlll!Dllllllml!Um
                              J,OOlOb~DJ.~                     GV2D35




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                            Laxb ='/, at any time, coUa:t:uxl l:oJd l1!00UDl.< for Escrow liam ino:, IIUl"SAle""'°""' wt to cu=!
                        lhe =imum :.mount that mlY be n:quim! for Borrowu's =row nccounI w:x!a 1hc Re.ti Es::lc S<ulc=c:
                        Pro=lura Act of 1974, 12 U.S.C. § 2601 EiS• wl impkmatting n:l!ubtlons, 24 Cl-"R P.ut3SOO, u 1hc:)'
                        =Y be r.axockd from tlmc to time (·RE.SPA"), ex:<p( tbol lhc <Whlon o r = • pc:rmiUed by RESPA for
                        =!kip,:«! disbunx:=nts or disbu=m:nt< before 1hc Born:wcr'• p;l)'Ill"nU ore ....U.ble in            II»==         m,y
                        oot bv N.sa:I OD :uJJOWlts doe for rhe mortgiigc ~ pn:mmm.
                            If the :mounts bdd by l.aldcr for Escrow l!ctn.\ exet<d tho IUilOUlllS permitted to be bcld by RESPA, Leeder
                        ,hill i=ounl to Borrower for 1hc e,:.cc;:, fund:, u n:qulml by RESPA. lflhc llrtlunl> of l'undobc:ldby Lcn&:r
                        Al My um:: .,.. oot sufi",::i<:nl lo pay 1hc £=ow Ii= wbco du.e, I.axlcr m,.y cotify 1hc Borrower cod r<qUin:
                        Bomiwcr to nul:e up the ahort>s• u pcrmittcd by RESPA.
                            The E,avw Fund> ore plalgcd u .ddillotml ,o:urity for a l l = ==<I by lhb &xuricy ww=..t. Jr
                        Borrnwcr 1codm lo L=lcr tbc full poym=mnf.U suduuw, Borrowcr·c:.ec:ounli:hill becrcdllcdwici the
                        bol:= m:uiniDS for :II inwllm:ut ilam (a), (1,), ooo (c) =I ""Y mong,gc i=>r..i= pn:mr.un ln,allc=t
                        !hot Lender I= DOI become oblig•t<d IO l"'Y to ll:< Sa:rcwy. -1 Lco:lc:: elu.U promptly taU.Od RO)'
                        fullds to Borrnwcr. l.m:nodi:.u:ly prior to a fon:elo= =le of 1hc Propcny or its ocqu)Jjlloc by l.a:der,
                                                                                                                                      =
                        ll<>rrowcr·, =um ah:ll be cnxliu:d wl!h any ba!,=c "'""'iAho& for all hz:t,!Ja=,., for item:(•). (b). and (c).
                            3. Appiaitloc or J>.,i=t.. AU p,y:DCTJts w:x!a ~ I JW:12 dwJ be :,pp!icd by L=lcr"' follows:
                            Fi!n. to 1hc mor1gaac insur= prcmbun lo bc: poii by L=kr to lhc s«m:,ry oc to 1hc monthly tlwgc by
                        the Scad.11}1 imlad o( the moD!hly morti•se ins:ui= premium;
                            S<co!l4, to :ny  =·       ,pccw  =·
                        bu.Ard ix=uraccc prc:miams. :s.: rcqu~:
                                                                              k:ascliold poymcnl.'l or ground n:nt,. cod f1tC. flood cod O!hcr

                           !!!in!. to lnt.<"'51 due under 1hc Noo:;
                            Fourlh. to 2JDOrtiution of lhc priJ>:ipnl of the Nole; and
                                    ulc
                           .E!!iJ!, lo ch,,rg« dun und<r lhe Note.
                            4. y...., Flood nnd ():her 11:=n! ~ Borrower shall l.a5uro .U lmprovc:m::w on 1hc Propctty,
                       whctbc:i- cow in cxhtencc or s\l~u.cn.tly crttt.cd. :aglimt any b.u::rds. QlSlJ.1)1.k:r. and wn.tinsCDCia. im:ludina
                       fire. for which Lcrda n:qui= insu=. This iasu= ah:ilJ be mili:Wncd in Che ""20Wlls IIJl<I for the periods
                       tbol L=kr requires. Borrow<r sh.ill also i=uc .U improvcm::ul.s on lb: l'lopcrty, whc1bcr r:aw in cxls!= or
                       sub«qucntly erected, ai:alnst loss by floods to lhe e.i"'1L r.:quim! by 1hc So<muy. All             w.sur=     shall bc
                       c.uricd with coa,p;,.nics :ppro\'Cd by L<:n&:r. Th: I = = policies and :my rwcww sb,JJ be bcld by Lemler
                       •nd slull loclude I= Jlll)'U)le chu= in    r.vor   of, and in. form •o:q,uble to, Lculcr.
                            (a ttlC <\'1:otOf foM, Born:wcr slull give LcJXkr Jm:n:dwe notice by m,il, l.=dcr W)' m,.l'..o p:oof o(los, if
                       not mo&: promptly by Borrower. E>ch i=micc c:olllj>2Jly c:oa<:tm<d is hereby Zlllhoriwl mid din:tud to mw:
                       payment for such loss din:ctly to l.=dcr. iu,,ad of to Borrower Olld to L=kr jointly. All or o.nyp:rt of lhe
                       i.osur= proecod, =r bc: appli:d by uod<:r. at ile opuon, cilbc:r(•) lO lbe rcduaion or the ln&bt.alo:;ss under
                       the Nob: aw !his Security hutrumcll. fmt to <DY dclU>J."Cll1 amou.w :,ppliai in th<: order In l'>n&r,pa 3, .Ul<I
                       tbc:n to pn:p.,ym:Ol of prio:jpol. or (b) to the r=nllba or n:poir of tho dam.t&cd l'ropctt)I. A:trf :ppllo:lloa of
                       1hc procccds to lhc prioclp>l slull not cl<L<od or po,ipone lhc dun date of the m,n<b)y p,.ym:w whkb""'
                       referred to in P.u;,groph 2. or ch.uJ,sc lhc amoWII of .ucb poymonts.        Any•= -                  ptO<OCd$ over <D
                       amount nquirtd lO p,y ill out,widlng lnd<btcdn= ucder lhc Nole ond this Security 1""""""'1 lhcll be poid lo
                       ti,: entity lcB:lly entitled 1hcrcto.
                           la lhc event of forccl=n: of !his S<curily lm:nm,::nl or other tr.,nsfcr of title to the Propaty !hat
                       CX1llJ8UW.:S !he indc:btah:r=. ill rigb~ title and   u:t=&      of Bor,owcr in and to iasur= poli:le,; in force slull
                       P""" lo 1he purc!u,zr.




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                          5. O=p:u:t'J', Pr=natio;i, 1'fslfnt=ca: i:nd l'ro(cx:tlon o! I.he l'ropcriy; Bo=""'• Loon
                       Applicatiou; L=::h<,lds. Borrowu wll oc=:upy. <$Ubllsb. wl use Ille l'rop<npsBonowcr'•pri,:x;ipol
                       =ido= ,..ithln sixty <hys ,fu:r Ibo c=tion or this Security lmtrument {or within >lxty d,yi of o ltlcr &:le or
                       tmisfcr or thc Property} ml sbolJ tolllit= to occupy !Ix: Prop<rty '"' Borrower'• prillclpol ~ !or a.t 1-
                       0,i: y=:r tf<a the date of occup,.,,ey. UJ>lc<s Lender dd<rmincs th.: nqulmncm will= UIX!ne bmlalup for


                       oollfy L<:nl<r or "1'/ c ~ cimut:st:u=. Borruwcr sh:ill oot commit                     w=
                       Borrower. or unless cxte::N.tllng c ~ c::tl!:t wbl:th :re bqood Bott0wc::r"acont.rol.Bonowuth:ill
                                                                                                                  ord<woy,do=gcor
                       s:ubst:u,wlly c!=ze the Prop::rty or zllow the Property to dc:!trlonw:, ra,sollllhlc w= wl lc;\f c,...picd.
                       Leooer m:,y inspect 1h: Propaty if th: Property is =nt or ob=!<=<! or thc lo>n is in &fault. Lczxlcr =Y
                       Im =n,l,lc z.ctloo to protect aoo pr=rve PJdJ vaa.ot or al=dor>:d Properly. Borrower sh>ll ,lro be in
                        d=(a.ult if Bonowcr. durin& tb.c: lt>.:UJ :i.ppliculon ~ . g..c.vc mw:ri:illy (Alce or~r:tc infon:n.wu:I or
                       == to !.ender (or             roil::d to provide l.,,ndcr with any m:1teri'1 Woru,;,Uoo) in conn:ctloo with th: loan
                        cvi<k=I by th< Nule, i,,clu<l"'ll, bul ""' limited lo, repr=nl2tiottS COIXCTlllll& llomw,c:r'• oc:aJJ>lill.i' or the
                        Property . . . pm,cip:tl rc,i&::J:«;. I( thii: &<urity lDstnun:cL ls OD. !cuebold, Borrower ,b,ll a:,m;,Jy wilh the
                       provitiom of the !co.«. If Borrower ""IUUCS fee tille to the Propi:rty, !ho J=bold ond fee tiac ih:ilJ DOI be
                        m<Tgcd unl= Lt,,:k,r   •s=     1o tl,e m:rtcr In wriWlt.
                           G. Coaddnn:ltion. Tue pIO<X:C<ls of my a""2nl or claim for dum1cs, direct or am,cquaitbd, iD wan..-aloo
                       with :my coodcmauloo or other lwD8 of :my p.ut of tho Property, or for cooveyur,,:c in pl= of c o ~
                       =     hcrdry :u:slgo«I aDd m>II be p:hl to J.,,odcr to the cxlall. of lbe full =uni of the indebted= !Mt r=ina
                       ul1jl4id l1Ddcr the Nole aru thi, Sc,;urlly lmtnll!>:n!. Lender ,:h,JJ r,pp!y such proceeds to lhc n:du:tion of tb::
                        ind,:blal= under thc Not.: 4l>d this Sccuril)' 1"""1m<nl, fim to :oy dclioqucn1 •l!lOlln!: ,pplw:d !n the onlcr
                       provi&d in P=gr:aph 3, and then to l""l'1Y"""l of pri.ocipol. AfI'/ ,;,pliatioo of th:: ptoccech to the pdocipol
                       5lull oot cxici:d or po.tponc the du.: dole or the Dl0ntbly p:ymcms. wbich arc referred to ID l'arngtlph 2, or
                        cb:ulgc !he .:uwunt or such p,yw:nts. Acy        =          proc«ds ovcnn lUJlOUnl rcqc!Jed lo p:,y all ow:.andfna
                       ind<btcdn= wxlcr thc Note and Ibis Sccurlly lmtrum:ut shzll Ix- p:hl lo the Cll!ity ks.tly colillcd lkmo.
                           7. ~ to llon"<,,n:r end Pr«oction of L<u<X'<', .RJ&hb in the Prnpcrty. Borrower ,b.,JJ p:iy all
                       govcm=nta! or municip,J ci=ge.<, fii:<ll and impo>iliom lll.l1 arc llDl inclcdc:d in P,ngr.apb 2. Bom>wcr shzll
                       pay these oblig,tiow, on ti.= direc~y to lhe cotity which u owed lhc p>y,ncnl. U f,JJun, to pay W<>llld ;:dvascly
                       J.ffcct u:ndcr's int=t ID lhc l'ropaty, upon Lc:ru!cr·• rcqucot Borrower slwl promp!ly furui,a to L=lcr
                       r=ipt:, cvidc~ these l"fl=l1S•
                           If Borrower f.ulo tu imkc th= p>yn=I> or !he p=ymcolS n:quirtd by PffllSr-.pb 2, or wl, to poform:oy
                       other covcmnu and 11!l=Dil cowiocd in thu So:uri1y loslnun:nl. or lhac is• kg,J p,oce:ding lll.11 moy
                       o.ignlf=ntly affcct LcD<kr'• rights in lhe Property (i!UCh u • procccdiog iD bml:ruplcy. for cood=oauon or lo
                       cnforo: i.w, or n:gubtiom), thee lender u,;,.y do >.Ddpoywl:=t.ovcTb=iyloprotc«llx:V2lucofthc
                       Property and L=lcr's right< in the Property. including p:,r=ntofLLUcS, h.o.wd in.runixundotheritcr:cs
                       u,cnl.iorxx! in Puagruph 2.
                           Ally OJOOUDIS di:,wr,c:d by Lcodcr ll!>dcr this l'=sr,>pb dwl bccoox an :oddlliooal dd,t of Borrower ord b<
                       =uml by this Scairily lmtnuocul. Th= ,moum., !lull bear inlcrcsl from lbe dal!: of di.,bun;t:mcnt ;t lb:: Note
                       me. and a.t the option ofLcodcr oh:ill Ix- imrrx:diatily due ;,:d p.,yab!c.
                           Borro"cr .ti.ill promptly dlsch:.rs,: u,y lien whlt:h hu priority uvcr this ScQ!rl<y lnsnumcot unless
                       Bom>,..c:, (•) •s= lo writins to thcpa)'m<nloflhcoblig,uon=d by thclkninu rn:mr::t=J>Uble to

                       whlch in the L=!er's opinion ope,alt to p<cvcot the cnforo;n,::ot or the lien: or {c)    =
                       Lender: (b) coole:>IS in good &.l!h the lico by. or dc&:nds agalmt cnfo=mcnt of lhc Ila, in, kg,! pro<:c<dio&s
                                                                                                                        from the holdct of
                       thc lico u, •s=nt s,tl,,f:><.1ory to t.c,,&cr subordin>tiog !he li<:n to Ibis. Sccurily l.l::ruun=l. lf I.=Ja-
                       dc:termi,,c< 11"'1 any put or the Property is. subj«< lo • lien which mxy .ittio priori!)' o= this Sccurlly
                       lnstrurncnt. I.aider m,y give Dorrowcr • ooticc id:ntlfy"'ll lhc lien. Borrower shall ulisfy the ll:n or bl:e ooc
                       or =re of the acuom act fonlubovc: wilhin 10 &ysof thc giving ofDOli£<:.
                          6. Fee. J.,,odtt may collect Ice, iu::d clwgcs aulba,i=l by the So:retuy.



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                            J.ODJ.Ob4D14                               GV2035




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                            9. Gronnlh £or Accckrntion c£ Dd>t.
                                   (•) Dc!•IIIL Lcu:lcr tl3Y, c:xcq,t .. limited by i,,gu!,.ti,t,, i=i,:d by Lbc Sca,:wy Ul the cu: or
                                   l"'Y=nt defaults. r,;quirc: f,na,cdwc paymcll! m full of .all"""" s=;d by thisS«urity In:tnu=,t if:
                                       (i) Bom,wcr dditult.c by failiog to p,y in fall any JOODlhly p.1y=111 ttqUlrcd by lhi, Security
                                       l.osuumtnt prior to or on the du,; (b1,: of the next moll1hly P,YmtD!, or
                                       (ii) Borrower dcfzuli. by failiog. for • period of thirty cbyi;, lo pctfora11r.ny alba oblieotiom
                                       coni.lncd in this S=uity lmtium::n!.
                                   (h) Sole Wilhout Crr:dit Apprond. Lcod<r <h>.11, It perrnlw:d by 'l'l'Jic,1,1,: law (h:cll.'<liog o:dlon
                                   341(d) of lhc Gam-S, GcnmlD Dcposi1o,y lm!itutioD< Aet of 1982, ll u.s.c. 170Jj-3(d)) nnd wllh
                                   tho prior approv.l of the Secm.ey. miuirt: imm:dhle ="1 ill full of:olhums =<d by this
                                          Imtru""'"'
                                   S<a:utiry               if:
                                       (i) All or pm of the Property, or> b=:t1ci,J iD1=st ina tmst o\l/lllng oil orl""tof the Propa1y.
                                       is ,old or olb:rwis< truufcmd (other 11= by devise or da;ccn!J, ml
                                       (ii) The Property ls cot oca,plcd by lhe pun:h=r or gruita: as bu, or ha principol ~ . or
                                       the p:uth:,= or gm,lt;C docs ,o O<C"P)' ll>c Ptoporty, but his or ber credit bu DOt tx:,;n •pprovcd in
                                       =nla= witl, the TCqllircm::n<> or Lbc Socn:wy.
                                   (c) No Wnivcr. lf c ~ occnr llmt woDld permit Lcooa lo rcqum: imm<dW.C pny=nl in full,
                                   but L<:odcr d= not r<qUin: $UCh p:iy=nt•, Lccdet" d<>cs lX>t wclvc Its rishts with =i= t o ~
                                  cvcr:ss.                              ·
                                   (d) ~tion:s o! llUD Sc,:n,L,,cy. In =ny c ~ regul>tioas is::=! by the Sc:aclA!y will
                                   limit L<:cdcr's ri&hU, ill the  =         of payment d<rzulu, to wr.urc i=x,:!Wc p,ym::x:< in full nnd
                                   fom:lo,oc if oot pa.id, This Sa:urity Insuu=nt «!oco not •uthorizc =ckt:itioo or for,:clo,uze l! oot
                                   permit!,:<! by n:.suJ>.tlon: of thcSemtuy.
                                   (c) Mor-fi:OJ:C Not ln,urcd. &:rower •st= 1.b>t l! lb.is S=uity Jmunmont ,md the Note en: JlOI
                                  d::tmnincd to be eligible for ~ under the N:tioo:d Housing Act within 60 da)"ll froPtthc d>.lc
                                  bcrcof. Lcllrl:r m,y, a.t its optloa, r,;quirc: im=dl:,1,: paya,ct:1 in fall of ;ll sums i=iral by thls
                                  Security lnstnmxnt. A wril1cll sWcmcnt of any authorized agcnl of thc Sc:actmy &Led oubscqu:nl to
                                  60 cbyn from the dtte h=of, declining to h>sun: this Sc=lty [nstrum:Dl and lhe Nole. sholl be
                                  deemed conclusi,;e proof of such fudigibility. Notwilbswxling tlic fon:going. Jlrls optloo may oot be
                                  =ttis<d by l,:nda" wh:n I.be un>v.tllahility or iosunux:e is ookly du,; lo L<::id<r'• wlurc to rcmil.
                                  mortgage in.,urwx: pmnlum to the Sccm.ey.
                           JO. Rciix,tat=L Borrower hos • right to be r,:w,t,.tcd if Lcr,d,r hu rcqum:d lmm:dl,1,: p,y=D1 in full
                       bca= of Borrower's f•il= to pay zn =w:>t due u,,dcr the Note or this Sccurlty lDSllua!a!L Toh right
                       appliu cvco afra forcclosun: pn,cccdlni:s an; il::,titutcd. To rcw= the S.:urlty !mlnm>:ul. Bo1TOwc:r lllwl
                       tender in o lump sum     ;ill==           required to brillg Borrower's z=tlJJl cum:CI i,,:h,di:og, to Ibo cmcl they or,:
                       obligauons of Borrowc, und<r this Sc:attity l.n.<tnuDeDI, forcclosun: =ts an:I .rc=i,,blc imd c:wlonwy
                       :ttornc;-s' fee,; an:! cxpc= Jm>pcrly ossociotcd with the foreclosure proa:a!ing. Upon n:in,tw:= by
                       Borrower. lhi.s Scam!)' Jasuument and the oblig:woos UlZI it c::cun:s lhl.11 rc:m:im in effect u if Lcalcr had not
                       rcquiml immodl,.tc p.,ymc,u in full. However, Lcnda is Ml required to permit reinsutcrDCDl if: {i) Lax!cr bz.s
                       cccq,tcd rtinou.tca=t .r= the co==meot of ran:clnsure p""""'1iDg: wlthin two Y= ~ l y
                       ~ the comm.cr><:<:coci,1 of • cumnt forcclosurc proceeding, (li) rci=tc=u1 will p,cclllde forcc!o,urc
                       on dilf<r<D1 groulld.< in lhc future, or (iii) n:iusll!tcmcnt will .d•mcly affect the priority of the lien =led by
                       this Security ln:,tru=t.
                           11; Bom,,..,.. No! Rdczcd; Forbca= By Lend<,- No! a Waiver. Emosion of the tl:n:: of p,y=t or
                       roodlf,alioD Of >mortiz.alioD or the lll<IIS =rnf by iJili Security Irutnu:ocD1 gr.ullt:d by La,dcr to >lJ)'
                       ==or In inWa.t or Borrower ,lull 001 opc:n,1,: tom= the lbbilily of the origin,! Borrower oc Bom,wcr's
                       s = r in intm»t. L<:r.ckt sh,11 oot be TCqllircd to commence proca:diogs agaln..-t any IIUCC«ISOr in iDl:=t or
                       rcfu..-.c to c,;1er.l llllx: for p,ymcnt or olherwlso modify :uoortlntlon of the "1ms = c l by lhls Security
                       Iasuumcnt by ,=on of any rl<n=d m,d: by I.be origin>I Bom,wcr or Bo1TOWcr's suc=sroro in inlcrat. Any
                       forbc:.ar.ulcc by I...mdi:r in exc:t:Ui.a.g any rig.bl or rer=dy !hall no( be a wzivcr or or preclude lhc ex.ercis¢ of Dil'J
                       right or remedy.

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                                                    LOAN MODIFICATION AGREEMENT

                      This Loan Modification Agreement (the "Agreement"), made on February 8, 2012
                      between KETURAH MIXON (the "Borrower(s)") and Bank of America, NA, Original
                      Lender/Beneficiary Lender or Servicer ('Lender"), amends and supplements that certain
                      (Mortgage/Deed of Trust) (the "Security lns!tumenl'1 dated the 12th day of February,
                      2010 which covers the real and personal property described in the Security Instrument
                      and defined therein as the 'Property' (See Exhibit A for Legal Description if applicable),
                      located at243 DEVON ROAD, BATTLE CREEK, Ml 49015.
                      The real property described being set forth es follcr;YS:

                                                SAME AS IN SAID SECURITY INSTRUMENT

                      In consideration of the mutual promises and agreements exchanged, ths parties hereto
                      agree to modify the Security Instrument as follows:

                      The fifth [end sixth] sentence[s] of the first paragraph of the Security Instrument is[are]
                      hereby amended to read in its[their] entirew. as follows:
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                                                                                         UBER 3710        PAGE   148
                    Borrower owes Lender the principal sum of one hundred thirty eight thousand two
                   hundred thirty one and 31/100, (U.S. Dollars) ($138,231.31). This debt is evidanced by
                   Borrower's note dated the same date as the Security Instrument, as amended and
                   restated as of the date herewith ("Note"). which provides for monthly payments, with the
                   full debt, if not paid earliar, due and payable on March 1, 2042. The Borrowar[s] shall
                   comply with all other covenants, agreements and requirements of the Security
                   Instrument. Nothing in this Agreement shall be understood or construed to be a
                   satisfaction or release in whole or in part of the Security Instrument. Except es otherwise
                   specifically provided in this Agreement, the Security Instrument shall remain unchanged.
                   and the Borrower{s) and Bank of America, N.A. shall be bound by, and comply with all or
                   the terms and provisions thereof, as amended by this Agreement, and the Security
                   Instrument shall remain in full force and effect and shall continua to be a first lien on the
                   above-described property. All capitalized terms not defined herein shall have the same
                   meanings as sat forth in the Security lnstrumenl

                   SIGNED AND ACCEPTED THIS_[J~_DAY OF
                   BY
                                                                           Kb          ;)6 \       A

                   KETURAH~"'-



                   Marital Statys (mark one):                         Marital Status (mark one):
                   _Single ~Married _Divorced                         _Single _Married _Divorced
                     Widowed                                            Widowed
                     Decline to Provide _Other:                       _Decline to Provide _Other:


                   (ALL SIGNATURES MUST BE ACKNOWLEDGED)

                   State o ~ • County of ~ V " ' \ On this ~'} day of                              ~b
                                                                                                 .,;:>D \              d
                   _before me the underaigned, a Notary Public in and for said State. personally
                   appeared KETURAH MIXON known to ma, or proved to me on the basis of satisfactory
                   evidence to be the person(s) whose name(s) is/are subscribed to the foregoing
                   Instrument and acknowledged thatf'{§ D\                 executed the same.

                   WITNESS my hand and official seal.

                 ~ v . \ J ~ r y Signature
                  t<,Y\3\) Y'.)   ~V\.~~ Notary Public Printed Name         Place Soal Here

                                                 Notary Public Commisslon Expiration Date




                   WDGGovlnModAgree                            Page2of4             WOGLJ.'AGM 7382 07f2.fJ/2007




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                                                                                             UBER   3710   PAGE   149
                              THIS SECTION IS FOR INTERNAL Bank of America, N.A. USE ONLY

               SIGNED THIS DATE:                  MAR 1 6 2012
               By:<2::t:J,~                    Q:-:b,H~
               Name:        ~anieCasillas
               Title:        AssiSl.ant Secretar,

               Bank of America, N.A., successor by merger to BAC Home Loans Servicing, LP



               STATEJJt /JIJlb,f!-->t-'/X>                       COUNTYOF~ol?JP?'e'Z-0
               On 'fl:Llfl (/k before me, bor'ISUC-                  x:a,,..-qz Notary Public, personally
               appeared g Tept{ftNIG"'" 4:r;s'.11..t.-ft:S
               personally known to me (or proved to me on the basis of satisfactory evidence) to be the
               person(s) whose name(s) is/are subscribed to the within instrument a.nd acknowledged to me
               that he/she/they executed the same in his/her/their authorized capacity{ies), and that by
               his/her/their signatures {s) on the instrument the p-erson(s), or entity upon behalf of which the
               person(s) acted, executed the Instrument.

                                            official seal.



               -><:;;;.;...:;.:...<.=."-,=='-""'-- Notary   Public Printed Name Place Seal Here

               -~'-z-../=7/7~+-fi~S~
                        .            ___ Notaiy Public Commission Expiration Date
                                                                   GOASUE XIONG
                                                              NOTARY PUBLIC, STATE OF COLORADO

                                                        My Comm. Expires December 27, 2015




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Case 1:18-cv-00499-JTN-ESC ECF No. 57 filed 08/07/18 PageID.1329 Page 54 of 123


Branch :ASA User :AK02
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                                                                          :54"           UBER   3710     PAGE 150

                                                             E)(HlBIT A
                                                       LEGAL DESCRIPTION

                  Toe following described property located in the City of Battle Creek, Celhoun County, Michigan:

                  LOTS 82 AND 83, GAGE-INGRAM SUPERVISORS PLAT, ACCORDING TO THE RECORDED
                  PLAT THEREOF, AS RECORDED IN LIBER 9 OF PLATS, PAGE 49, CALHOUN COUNTY
                  RECORDS.

                  Parcel# 3320-07-079-2




CALHOUN, MI Documcnt:MTG MOD 3710.147                                                                               Page:4 of 4
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Case 1:18-cv-00499-JTN-ESC ECF No. 57 filed 08/07/18 PageID.1330 Page 55 of 123
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                                                                                                                             STATE OF MICHIGAN. CALHOUN COUNTY
                                                                                                                                             RECORDED
                                                                                                                             ANNE B No°l3:iG28J?R 9c:1LE9:31 AM
                                                                                                                                                  •       RKIREGISTER
                                                                                                                                           RECEIPT# 1659229, STATION 5
                                                                                                                          $30.00           MORTGAGE




                                                                                          llll/ll/l/l/llllllllll/llllll/ll/l/llll/1/I/II
                                                                                                        A4152 S85 I                               uem 4152         PAGE   €86

     '
                                       /.}..,CORPORATION ASSIGNMENT OF MORTGAGE
   :/                                lfU!CORD FIRS1i                    Doc. ID# 40021535629120582
                                                                        Commitment# 3308
                 For value received. the undersigned, BANK OF AMERICAA N.A. SUCCESSOR BY MERGER TO
                 BAC HOME LOANS SERVICING LP, FKA COUNTRYWIDE HOME LO NS SERVICING LP .. 4909
                 SAVARESE CIR. TAMPA. FL. 33634A hereby grants, assigns and transfers to:
                   SECRETARY OF HOUSING AND URB N DEVELOPMENT
                    451 SEVENTH STREEI sw. WASHING10N DC 20410
                 A-11 its interest under that' certain Mortgage dated l/28710. executed by: KETURAH
                /MIXON. UNMARRIED. Mori-tlagor a~ per MORTGAGE recorded as Instrument No. N/A on
                 2/12/10 in Book 3522/Page 41/of official records in the County Recorder's Office
                 of CALHOUN County, MICHIGAN.
                    Tax Parcel= 3320-07-079-2
                 Original Mortgage $118,808.00
                 243 DEVON ROAD. BATTLE CREEK. MI 49015
                     (See attached Exhibit for Legal Description)
                 Together with the Note or Notes therein described or referred to. the money due
                 and to become due thereon with interest. and all rights accrued or to accrue under
                 sa1d Mortgage.
                 Dated: 07/19/2016         BANK OF AMERICA, N,A. SUCCESSOR BY MERGER TO BAC HOME
                                           LOANS SERVICING LP, FKA COUNTRYWIDE HOME LOANS SERVICING
                                           LP.



                --state of Florida
                 County of Hillsborough
                                                          BYJAMk~&rANI                                          VICE PRESIDE!I

                 The foregoing instrument was acknowledged before me this 19 day of ili,!.l,_ Q~~~S by
                 JAMES J. QUINLAN as ASSISTANT VICE PRESIDENT for BANK OF AHERICA N.A. S           SOR
                 BY MERGER TO BAC HOME LOANS SERVICING LP, FKA COUNTRYWIDE HOME L6ANS SERVICING LP.



                                    LORI DAVIS-CROSS              v
                                Notary Publlc, State o! Aorldl/
                                  eommlsslont FF 242273
    I                           My <XXTim, e,q,iresJune21, 2019
    I                                                                 (Signature of Notary Public-state of Florida)
                                                                                              Lori Davis-Cross
                                                                      , Notary Public               6/21/2019
                Personally Known ../ or ._\.(b,                                (
                Produced IdentifTcafion ~ Type of Identification Produced ~~~~\I-"(>~-

                                                                                   Orion Financial Group Inc.
           /Prepared by: DAVID MACHOWSKI
             4909 SAVARESE CR.
             TAMPA.FL 33634
                                                                                    IIIIIII IIIII IIIII IIIU 111111111111111
                                                                              MIXON, KETURAH                 *17082405*
                                                                                                                                           Ull 1111 IHI
                                                                                        CMS/OPD/AOM/HUD/2016
             Recording requested by AND                                       SECRETARY OF HOUSING ANO URBAN DEVELOPMENT
             rhen recorded mail to:
     .,t,
    ·v                Orion Financial Group, Inc,
                      2860 Exchange Blvd .. Suite 100
                      Southlake, TX 76092




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                               LEGAL DESCRIPTION

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  ·I        LOTS 82 AND 83, GAGE-JNGRAM SUFERVISORS PLAT, ACCORDING TO THE 'RECORDED
          :PLAT TIIEROF, AS RECORDED lN Lll3ER 9 OF PLATS, PAGE 49, CALIIOUN COTJN'fY
   I      RECORDS.                     •




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Case 1:18-cv-00499-JTN-ESC ECF No. 57 filed 08/07/18 PageID.1333 Page 58 of 123
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                                                                                                                STATE OF MICHIGAN ·CALHOUN COUNTY
                                                                                                                                RECORDED
                                                                                                                          07/07/2017 9·20·1BAM
                                                                                                                ANNE B NORLANDER. CLERK/REGISTER

                                                                                                                               RECEIPT# 1659230, STATION 5
                                                                                                               $30.00          MORTGAGE



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   ''                                                                         IIIIIIIIIIIIIIIIIIIIII/I/I/IIII/II/I/IIIII//I/
                                                                                            "14152   sea   1                         UPER   4152         PAGE   688


                                             1, CORPORATION
                                               ASSIGNMENT OF MORTGAGE
                                       "'"'lf'IRI"-"'"
                           ~~~«::!RlO"",s,"""''"""
                                                              Doc. ID# 02421535629144346
                                                              Commitment// 3308
          For value received. the undersigned. SECRETARY OF HOUSING AND URBAN DEVELOPMENT by
          CARRINGTON MORTGAGE SERVICES, LLC ITS ATTORNEY IN FACT, 451 SEVENTH STREET SW,
          WASHINGTON DC 20410. hereby grants. assigns and transfers to:               ·
            WILMINGTON SAVINGS FUND SOCIETY. FSB AS TRUSTEE FOR STANWICHMORTGAGE
          LOAN must A
            1600 SOUIR DOUGLASS RD. SUiit 200-A ANAHEIM. CA. 9~8Ub
         Jl I its interest under that certain Mort~a~e dated 1728710. executed bf KETURAH
          2Jf~~iOU~~A~§~~D35~~~~~io4~gfP~ff~~~J~ ~ec~~a~r1~dt~~ tg~~t~m~~~o~ger'~Ao~?ice
          of CALHOUN County. MICHIGAN.
            Tax Parcel= 3320-07-079-2                  ·
          Original Mortgage $118,808.00
          243 DEVON ROAD. BATTLE CREEK. MI 49015
              (See attached Exhibit for Legal Description)
          Together with the Note or Notes therein described or referred to, the money due
          and to become due thereon with interest. and all rights accrued or to accrue under
          said Mortgage.
          Dated: jo-?f,-vlb        SECRETARY OF HOUSING AND URBAN DEVELOPMENT by CARRINGTON
                                   MORTGAGE SERV[jICES,
                                                      LLC ITS ATTORNEY IN FACT
                                                                                   Chris l.ecii!anski, AVPof!Jefau/t
                                                    By                             flll~li;j]~~.llC.Al!ooieJinFa:t
         ..,.g-(ate of California                                                      ----------·
            County of - - - - - - - - - - - -
            On                                      before me,_, Notary Public. personally appeared
                                                                                      . who proved to me on the bJ1Sis of satisfactory evidence
           =to~b-=-e~t=h_,e-.,.,-pe""r,....,s-=-o,,..n(,...,s,...,,J-~'""1h"""'o'""s~e name(s) is/are sub c · ia\tll the within instrument and
            acknowledged to me that he/she/theY. exec t                                                             in his/her/their authorized
            capacity(1es), and that by his/her7                                                             ure(s) on the instrument the
            person(s). or the entity upon behalf                                                       ich the person(s) acted. executed the
            instrument.
            I certify under PENALTY OF PERJURY under the laws of the State of California that
            the foregoing paragraph is true and correct.
           WITNESS my hand and official seal.                                                                Orion Financial Group Inc.

          Signature:                                                                            IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IH IHI
                         , Notary Public                                           MIXON, KETURAH                *17082639*
                                                                                             CMS/OPD/AOM/HUD/2016
        ....-Prepared bY.: DAVID MACHOWSKI                                          WILMINGTON SAVINGS FUND SOCIETY. FSB. AS TRUSTEE FOR
           4909 SAVARESE CR.
           TAMPA.FL 33634
           Recording requested by AND
   ,       When recorded mail to:
   I       r
   . 5£:,, •   Orion Financial Group, Inc,
               2860 Exchange Blvd., Suite 100
               Southlake, TX 76092




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                              LEGAL DESCRIPTION


           LOTS 82 AND 83, GAGE-INGRAM SUPERVISORS PLAT, ACCORDING 'fO THE RECORDED
          PLAT THEROF, AS RECORDED lN LlBER 9 OF PLATS, PAGE 49, CALHOUN COUNTY
          RECORDS.                    •
Case 1:18-cv-00499-JTN-ESC
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              A notary public or other officer completing this
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                                                                                                                                                 lreER   4152           PAGE      600
              certificate verifies only the identity of the individual
              who signed the document, to which this certificate is
              attached, and not the truthfulness, accuracy, or
              wiliditv oftlrnt document.                                                         CALIFORNIA ALL - PURPOSE

                                                                                  CERTIFICATE OF ACKNOWLEDGMENT
         ,,,--State of California
            County of Orange
            On October 26, 2016 before me, Wheny Wulandari, Notary Public, personally appeared, Chris
            Lechtanski, who proved to me on the basis of satisfactory evidence to be the personE,B whose name(£)
            is/are subscribed to the within instrument and acknowledged to me that hel'.sllefthey executed the same in
            his,lheFlthetF authorized capacity~, and that by his,lheFltheif                                                   signatureE,B on the instrument the
            personE,B, or the entity upon behalf of which the personfsJ acted, executed the instrument.


            I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
            paragraph is true and correct.




                                                               ADDITIONAL OPTIONAL Il'ff'ORl\'IA.TION
                                                                                                  INSTRUCTIONS FOR COMPLETING THIS FORM
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CARRINGTON                .\IOIIT(;,\(;f·: SEll\'IC:ES
P. 0. Box 3549
Anaheim, CA 92803




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          KETURAH MIXON
          243 Devon Rd
          Battle Creek Ml 49015-4066                                                       Property Address:
                                                                                           243 DEVON ROAD
                                                                                           BATTLE CREEK, Ml 49015


                                                                                           Loan Number: 7000089915



07/25/2016

                                                   Notice of Sale of Ownership of Mortgage Loan

Under federal law, borrowers are required to be notified in writing whenever ownership of a mortgage loan secured by
their principal dwelling is sold, transferred or assigned (collectively, "sold") to a new creditor. This Notice is to inform you
that your prior creditor has sold your mortgage loan (see loan information below) to the new creditor identified below.

**NOTE: The new creditor is not the servicer of your loan. The servicer (identified below) acts on behalf of the
new creditor to handle the ongoing administration of your loan, including the collection of mortgage payments.
Please continue to send your mortgage payments as directed by the servicer, and NOT to the new creditor.
Payments sent to the new creditor instead of the servicer may result in late charges on your loan and your
account becoming past due. Neither the new creditor nor the servicer is responsible for late charges or other
consequences of any misdirected payment.

SHOULD YOU HAVE ANY QUESTIONS REGARDING YOUR LOAN, PLEASE CONTACT THE SERVICER USING
THE CONTACT INFORMATION SET FORTH BELOW. The servicer is authorized to handle routine inquiries and
requests regarding your loan and, if necessary, to inform the new creditor of your request and communicate to
you any decision with respect to such request.

Please note that the sale of your loan to us may also result in a change of servicer. If this occurs, you will receive a
separate notice, required under federal law, providing information regarding the new servicer.

                   LOAN INFORMATION

                   Date of Loan: 01/28/2010
                   Original Amount of Loan: $118,808.00
                   Date Your Loan was Sold to the New Creditor: 06/27/2016
                   Prior Loan Number: 215356291
                   Current Loan Number: 7000089915
                   Address of Mortgaged Property: 243 DEVON ROAD
                                                   BATTLE CREEK, Ml 49015




NOS                                                                         7000089915                               Page 1 of 4
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                       SERVICER INFORMATION

                       Name: Carrington Mortgage Services, LLC
                       Mailing Address: P.O. Box 3489, Anaheim, CA 92803
                       Telephone Number (Toll free): 877-267-1221
                       Website: https://carringtonms.com

                       Scope of responsibilities: The servicer is responsible for all ongoing administration of your
                       loan, including receipt and processing of payments, resolution of payment-related issues,
                       and response to any other inquiries you may have regarding your loan.


                       NEW CREDITOR INFORMATION

                      Please be advised that all questions involving the administration of your loan
                      (including questions related to payments, deferrals, modifications or foreclosures)
                      should be directed to the servicer at the number above and/or the agent (if any) of
                      the new creditor identified below, and not to the new creditor. The new creditor
                      does not have access to information relating to the administration of your loan, and
                      will not be able to answer most loan-related questions.


                      Name: Wilmington Savings Fund Society FSB as trustee for Stanwich Mortgage Loan
                      Trust A
                      Mailing Address (not for payments): 500 Delaware Avenue 11th Floor
                                                          Wilmington, DE 19801
                      Telephone Number: 800-561-4567

                      Scope of responsibilities: As new creditor, the above-named trust holds legal title to your
                      loan. The trustee, on behalf of the new creditor, is authorized to receive legal notices and
                      to exercise (or cause an agent on its behalf to exercise) certain rights of ownership with
                      respect to your loan.



The transfer of the lien associated with your loan is, or in the future may be, recorded in the public records of the local
County Recorder's office for the county or local jurisdiction where your property is located. If checked 181 ownership of
your loan is also recorded on the registry of the Mortgage Electronic Registrations System at 1818 Library Street, Suite
300, Reston, VA 20190.

Our rights and obligations as new creditor, and consequently our authority to respond favorably to your requests or
inquiries may be limited by the terms of one or more contracts related to the securitization of your loan.

Partial Payment:
Your lender:

D   may accept payments that are less than the full amount due ("partial payments") and apply partial payments to your
loan.

[gJ may hold partial payments in a separate account until you pay the remainder of the payment and then apply the full
periodic payment to your loan.

D does not accept partial payments.
If this loan is sold to a new lender, your new lender may have a different payment policy.




NOS                                                            7000089915                                              Page 2 of 4
    9 308-04-00-0000G 37-0001-0012 4 5 3
   Case 1:18-cv-00499-JTN-ESC ECF No. 57 filed 08/07/18 PageID.1340 Page 65 of 123


                                                IMPORTANT DISCLOSURES


-INQUIRIES & COMPLAINTS-
For inquiries and complaints about your mortgage loan, please contact our CUSTOMER SERVICE DEPARTMENT by
writing to Carrington Mortgage SeNices, LLC, Attention: Customer SeNice, P.O Box 3489, Anaheim, CA 92803, or
calling (800) 561-4567. Please include your loan number on all pages of correspondence. The CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage SeNices, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m.,
Eastern Time, Monday through Friday. You may also visit our website at https://carringtonms.com.

-IMPORTANT BANKRUPTCY NOTICE-
If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an attempt to
collect a debt from you but merely provides informational notice regarding the status of the loan. If you are represented
by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING-
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
laws of the United States.

-HUD COUNSELOR INFORMATION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the
CFPB at (855) 411-2372, or by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant's income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers CMS' compliance with this law is the Federal Trade Commission, Equal Credit Opportunity, Washington,
DC 20580.

-SCRA DISCLOSURE-
MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal SeNicemembers Civil Relief Act and comparable state laws afford significant protections and
benefits to eligible military seNice personnel, including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at
(888) 267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS-
You have the right to request documents we relied upon in reaching our determination. You may request such
documents or receive further assistance by contacting the Customer SeNice Department at (800) 561-4567, Monday
through Friday, 8:00 a.m. to 8:00 p.m. Eastern Time or by mail at P.O. Box 3489, Anaheim, CA 92803.




NOS                                                      7000089915                                                Page 3 of 4
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                                                                                                             C3_5038 PSGSRHUD 19468 05/27/2016
                   Bank of America
                                                                                                                 Send Correspondence to:
                          *.                                                                                     P.O. Box 31785
                        Home loans                                                                               TAMPA, FL 33631-3785

                                                                                                                 Business Address:
                   P.O. Box 31785
                                                                                                                 450 American Street
                   TAMPA, FL 33631-3785
                                                                                                                 Simi Valley, CA 93065-6285
                    IMBORy~NTi lNEORMATION ENCLlOSED                                    -
                                                                                                                 Notice Date:       July 27, 2016

                                                                                                                 Loan No.:          215356291

                   KETURAH MIXON                                                                                 Property Address:
                   243DEVON RD                                                                                   243 Devon Road
                   BATTLE CREEK, Ml 49015                                                                        Battle Creek, Ml 49015




      Keturah Mixon :
      The servicing of your home loan will transfer to Carrington Mortgage Services, LLC on August 16, 2016.

      IMPORTANT INFORMATION ABOUT THE SERVICING OF YOUR HOME LOAN

      On August 16, 2016, the servicing of your above-referenced mortgage loan will transfer to Carrington Mortgage Services, LLC. As of that dale, your
      new servicer, Carrington Mortgage Services, LLC, will support all of your loan servicing, including billing, payment processing and customer support.
      You will no longer receive mortgage statements from Bank of America; instead, your statements will be sent by Carrington Mortgage Services, LLC.
      Enclosed is a Notice of Servicing Transfer from Bank of America regarding the above-referenced loan. No action is required on your part in
      response to this notice. In addition to the information provided in this letter, this notice will contain important information about the servicing transfer
      of your loan. Please note this servicing transfer only applies to the loan noted above. Other loans you may have with us will not be affected by this
      change unless you are notified. Please review this notice and retain it for your records.
      In the mortgage lending industry, the transfer or sale of loan servicing to other servicing institutions is a common practice, and we we'll work closely
      with Carrington Mortgage Services, LLC to make the transition as smooth as possible. If you have any questions or concerns regarding this transfer,
      we're available to answer your questions Monday-Friday 7a.m. to 7p.m. Local Time at 800-669-6607.

      ANSWERS TO QUESTIONS YOU MAY HAVE

      Why is my mortgage loan being lransferred?
           As a result of your default on your mortgage loan, we made a claim for payment on the FHA mortgage insurance. In connection with that claim,
           we assigned your mortgage loan to FHA. FHA sold your mortgage loan to Stanwich Mtg Acq Co IV, LLC, which is now the new owner of your
           mortgage loan. In connection with that sale, the servicing to your mortgage loan will be transferred, as set forth herein, to Carrington Mortgage
           Services, LLC. As a result of the assignment of your mortgage loan to HUD, the payment by FHA of the FHA mortgage insurance claim and the
           subsequent sale and assignment of your mortgage loan to Stanwich Mtg Acq Co IV, LLC, the FHA mortgage insurance on your mortgage loan
           was terminated and no further mortgage insurance premiums are due by you.
      •    If you have any questions regarding the sale of your mortgage loan, you may contact HUD by email at Assetsales@hud.gov or by phone at
           202-708-2625.
      Whal will change with my servicing transfer?
      •   Your loan number and payment address information will change once your loan has been transferred. Please look for a letter from Carrington
          Mortgage Services, LLC within the next few weeks which will outline this important information.
      •   The transfer of your loan to Carrington Mortgage Services, LLC does not affect any terms or conditions of your mortgage loan, other than those
          terms directly related to the servicing of the loan.
          FHA mortgage insurance will not be included on your loan with Carrington Mortgage Services, LLC. As a result, your monthly payment amount
          may change. (FHA mortgage insurance and its premium may be reinstated if your loan is re-acquired. If that happens, you will be notified.)
      Will the quality of my loan service change?
          We expect that the quality of your loan service will not change. We are transferring servicing on your loan to Carrington Mortgage Services,
          LLC, an experienced mortgage servicer who will work with you on your mortgage concerns.
      Where should I make my home loan payments?
          You should continue to make your monthly payment to Bank of America through August 15, 2016. You will begin making payments to
          Carrington Mortgage Services, LLC on August 16, 2016.
      •   If you do not receive a billing statement from Carrington Mortgage Services, LLC before the payment is due, write your new loan number on
          your check and mail it to the payment address shown on the enclosed notice. Please note, if you do not have the new loan number, you may
          write your old loan number on the check.
     Whal if I have automatic payments set up with Bank of America?
          Any automatic payments set up with us through the PayPlan programs will be discontinued as of August 15, 2016. Please look for instructions
          from Carrington Mortgage Services, LLC or contact them on or after August 16, 2016 to determine what payment options they may offer.
     Will I still be able lo make my mortgage payment al a Bank of America banking center or through online banking?
          You will no longer be able to make your payment at a Bank of America banking center for the mortgage loan being transferred.
          If you make payments through Bank of America online banking or any other online banking or bill payment service, you will need to update your
          loan number and payee information for Carrington Mortgage Services, LLC on or after August 16, 2016.
     When my loan is transferred, will I still have access to my online loan information lhrough Bank of America?
          After the transfer is complete, your mortgage account will be moved to Carrington Mortgage Services, LLC. As a result, you will no longer
          access your mortgage information through Bank of America. Prior to the transfer, you may choose to download any information currently online
          to keep for your own records, such as tax documents, mortgage statements, payment history, etc. Carrington Mortgage Services, LLC will be
          able to provide you with information about access to your loan account information following the transfer. If you have any other accounts with
          Bank of America, such as checking, savings or credit card, you will still be able to access those accounts through Bank of America's online


                                          SEE REVERSE SIDE FOR IMPORTANT INFORMATION
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              banking.
         How will the service transfer affect my other Bank of America accounts?
              There will be no change to any additional accounts you have with us.
              If you have a Bank of America Advantage, Premium or Preferred checking account, and you're not charged a monthly fee on your account
              because your mortgage is with us, this will not change with the transfer of your mortgage to another servicer. We'll let you know in writing if this
              changes in the future.

         What if I am currently participating in a loan modification or other foreclosure avoidance program (e.g., forbearance, short sale, refinance or deed in lieu
         of foreclosure)?
         •    The loan assistance programs that are offered by Carrington Mortgage Services, LLC are determined by the owner (also known as the investor)
              or insurer of your loan. Where applicable, Carrington Mortgage Services, LLC has agreed to evaluate your loan under the same investor or
              insurer guidelines as Bank of America.
         •    We will transfer any supporting documentation you may have submitted to us to Carrington Mortgage Services, LLC. We encourage you to
              work with Carrington Mortgage Services, LLC to complete the process and determine which programs may best suit your current situation.
         •    You should continue to make your payments to Bank of America, N.A. through August 15, 2016. On or after August 16, 2016, your payments
              should be made to Carrington Mortgage Services, LLC unless you are provided additional direction.
         •    If your loan is pending a decision regarding qualification for these programs, that decision will now be made by Carrington Mortgage Services,
              LLC.
         Will my ability to receive financial counseling be impacted by this servicing transfer?
         •    If you have previously received an offer for financial counseling in association with a HAMP trial or permanent modification, the transfer of your
              loan does not impact that offer.
         •    If you have already set an appointment, please continue to attend your scheduled appointment.
         •    If you have yet to take advantage of this opportunity, please contact us at your earliest convenience by calling the number provided in your offer
              letter or by contacting your current Relationship Manager.
         What if I need loan assistance after the transfer?
         •    If you experience a hardship and struggle with making your home loan payments after the servicing of your loan has been transferred, please
              contact Carrington Morlgage Services, LLC right away to request help. They will determine which program may be right for you based on the
              applicable investor and insurer guidelines.
         What if t am refinancing my mortgage loan that is being transferred?
         •    Your refinance will not be affected by the upcoming loan transfer. If you are working on a refinance through Bank of America Home Loans, your
              application remains active and we will continue to work with you on your refinance. Please contact the Mortgage Loan Officer or loan
              Processor you have been working with if you have any questions
         What about my optional insurance products with or through Bank of America?
         •    If your payments include amounts for any optional insurance products such as credit insurance, accidental death insurance, etc., please read
              the "Information About Optional Insurance Products" section in the enclosed notice carefully.
         What about my other (non-insurance) optional products with or through Bank of America?
         •    If your payments include amounts for any other optional products you have purchased such as home warranty, identity theft protection, etc., we
              will no longer make payments to the optional product provider on your behalf. As a result, your optional product may be cancelled unless you
              are able to make alternative arrangements to pay the amounts due. To see if it is possible to establish another payment method and maintain
              your optional products, you will need to contact your optional product provider.
              Your provider contact information may be found on your monthly morlgage statement. If you have more than two optional products, they may
              not all be listed on your monthly mortgage statement. If you are unsure about how many optional products you have or have questions about
              your products, please contact Bank of America.
     IWE'RE HERE TO HELP

      Thank you for the opportunity to serve your financial needs. If you have any questions or need assistance prior to your loan transfer, please call us
      toll-free at 800-669-6607, Monday-Friday 7a.m. to 7p.m. Local Time.
      Beginning August 16, 2016, Carrington Mortgage Services, LLC can assist you with any questions related to your home loan and the transfer of
      servicing. Carrington Mortgage Services, LLC's customer service number is 877-267-1221, 7:00 AM to 5:00 PM, Pacific Standard Time, Monday
      through Friday.




     MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us immediately.
     The federal Servicemembers Civil Relief Act (SCRA) and similar state laws provide significant protections and benefits to eligible
     military service personnel. However. military service and/or SCRA qualification may not necessarily prevent foreclosure. If your
     loan is in default, a court may authorize foreclosure. If you are having difficulty making your payments, please call us as soon as
     you can so we can discuss various home retention options. You can reach our Enterprise Military Benefits Unit at 877.345.0693.
     From outside the U.S., please call us at 817 .245.4094. Both numbers are available 24/7. Homeowner counseling is also available
     at agencies such as Military OneSource at militaryonesource.mil or 800.342.9647 and Armed Forces Legal Assistance at
     legalassistance.law.af.mil, and through HUD-approved housing counseling agencies, which you can find at
     hud.gov/offices/hsg/sfh/hcc/hcs.cfm.

     Bank of America, N.A. is required by law to inform you that this communication is from a debt collector. If you are currently in a
     bankruptcy proceeding or have previously obtained a discharge of this debt under bankruptcy law. this notice is for informational
     purposes only and is not an attempt to collect a debt. a demand for payment or an attempt to impose personal liability for a
     discharged debt.
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              Loan No.: 215356291                                                          Notice Date: July 27, 2016


              NOTICE OF SERVICING TRANSFER

              You are hereby notified that the servicing of your mortgage loan, that is, the right to collect payments
              from you, will be assigned, sold or transferred from Bank of America, N.A. to Carrington Mortgage
              Services, LLC, effective September 01, 2016.

              The transfer of the servicing of your mortgage loan does not affect any terms or conditions of the
              mortgage instruments, other than those terms directly related to the servicing of your loan. Except in
              limited circumstances, federal law requires that your present servicer send you this notice at least 15
              calendar days before the effective date of transfer, or at closing. Your new servicer must also send you
              this notice no later than 15 calendar days after this effective date or at closing.

          I   YOUR SERVICER PRIOR TO AUGUST 16, 2016:

              Your present servicer is Bank of America, N.A .. If you have any questions relating to the transfer of
              servicing from your present servicer, please call Bank of America, N.A. Customer Service at
              800-669-6607, Monday-Friday 7a.m. to 7p.m. Local Time. This is a toll-free number. The address to
              send written questions to your present servicer relating to the transfer of servicing of your mortgage
              loan (but not your loan payments} is: Customer Service Correspondence, P.O. Box 31785, TAMPA FL
              33631-3785.

          I   YOUR NEW SERVICER ON AND AFTER AUGUST 16, 2016:

              Your new servicer will be Carrington Mortgage Services, LLC.

              Phone Number for Questions Related to Servicing Transfer
              The telephone number of Carrington Mortgage Services, LLC is 877-267-1221. If you have any
              questions relating to the transfer of servicing to your new servicer, please call Carrington Mortgage
              Services, LLC Customer Service toll-free at 877-267-1221, 7:00 AM to 5:00 PM, Pacific Standard
              Time, Monday through Friday.

              Address for Written Questions Related to Servicing Transfer
              The address to send written questions to your new servicer relating to the transfer of servicing of your
              mortgage loan is:
              Carrington Mortgage Services, LLC
              P.O. Box 3489

              Anaheim, CA 92803

           Address for Mailed Payments
           The address to send payments to Carrington Mortgage Services, LLC is:
           Carrington Mortgage Services, LLC
           Attn: Cashiering , P.O. Box 79001
           Phoenix, AZ 85062

           Please include your loan number on all checks, cashier's checks and other payments sent to
           Carrington Mortgage Services, LLC.

          IINFORMATION CONCERNING YOUR LOAN PAYMENTS:

           The date that Bank of America, N.A. will stop accepting payments from you is August 15, 2016.

           The date that your new servicer Carrington Mortgage Services, LLC will start accepting payments
           from you is August 16, 2016. Send all payments due on or after that date to your new servicer.

          IINFORMATION ABOUT OPTIONAL INSURANCE PRODUCTS:

           The transfer of servicing may affect the terms of or the continued availability of credit insurance,
           accidental death insurance or any other type of optional insurance in the following manner: Bank of
           America, N.A. will no longer make payments to the insurance company on your behalf. As a result,
           your coverage may be cancelled.

          To see if it is possible to maintain coverage, you will need to contact your insurance provider to find out
          if you are still eligible to receive the coverage and/or to arrange another payment method.
          I
          TREATMENT OF PAYMENTS FOR THE 60 DAYS AFTER SERVICING TRANSFER:

          Under federal law, during the 60-day period beginning the effective date of the transfer of the servicing
          of your mortgage loan, a loan payment received by current servicer on or before its due date may not
          be treated by the new servicer as late and a late fee may not be imposed on you.




          Bank of America and the Bank of America logo are registered trademarks of Bank of America Corporation.
          Bank of America, N.A. Member FDIC. Equal Housing Lender@.© 2015 Bank of America Corporation
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CARRINGTON               ~ICllt'i'(;,.l(;r,: Sl·:ltl"ICl·:s
P. 0. Box 3549
Anaheim, CA 92803




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        KETURAH MIXON
        243 DEVON ROAD
        BATTLE CREEK Ml 49015-4066




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04/07/2017


                   NOTICE OF ASSIGNMENT, SALE OR TRANSFER OF SERVICING RIGHTS
           PLEASE NOTE THAT THIS TRANSFER NOTICE IS FOR THE BELOW-REFERENCED LOAN ONLY


Re: Carrington Mortgage Services Loan#: 7000089915
    Bank of America N.A. Loan #: 0215356291


Dear Mortgagor(s):

The servicing of your mortgage loan is being assigned, sold or transferred, effective 05/01/2017. This means that after
this date, Bank of America N.A., will be collecting your mortgage loan payments from you. Nothing else about your
mortgage loan will change.

Carrington Mortgage Services, LLC ("CMS") is now collecting your payments. CMS will stop accepting payments
received from you after 04/30/2017.

Bank of America N.A. will collect your payments going forward. Bank of America N.A. will start accepting payments
received from you on 05/01/2017.

Send all payments due on or after 05/01/2017 to Bank of America N.A. at this address: Bank of America N.A.,
Payment Processing, P.O. Box 660402, Dallas, TX 75266-0402

If you have any questions for either your present servicer, CMS or your new servicer Bank of America N.A., about your
mortgage loan or this transfer, please contact them using the information below:

    Current Servicer:                                                                  New Servicer:

   Carrington Mortgage Services, LLC                                                   Bank of America N.A.
   Attention: Customer Research Department                                             Customer Service Department
   800-561-4567                                                                        800-669-6607
   P.O. Box 5001                                                                       8:00am-9:00pm EST Mon-Fri
   Westfield, IN 46074                                                                 P.O. Box 31785
                                                                                       Tampa, FL 33631-3785

The CUSTOMER SERVICE DEPARTMENT for CMS is toll free and you may call from Monday through Friday 8:00
a.m. to 8:00 p.m. Eastern Time. You may also visit our website at https://carringtonms.com.




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Under Federal law, during the 60-day period following the effective date of the transfer of the loan servicing, a loan
payment received by your old servicer on or before its due date may not be treated by the new servicer as late, and a
late fee may not be imposed on you.

Escrow: If you have an escrow/impound account, your new servicer will review it annually. Your payment will then be
adjusted to ensure that there will be sufficient funds to cover your taxes and/or insurance premiums when they are due.
If you have been including premiums for life, disability, accidental death, or any other type of optional insurance, this
coverage will be discontinued. You should contact the provider of the optional insurance or other membership product        ~
directly regarding continued availability or for alternative options.

If your monthly payment is being electronically drawn from your checking or savings account by Carrington this process
will be discontinued as of the Effective Date of Transfer. Please contact your new servicer for available payment
options.

Internal Revenue Reporting: Carrington will send you an interest statement for the period in which Carrington
serviced your loan. Your new servicer will provide you with an interest statement for the payments you made on your
loan on or after the Effective Date of Transfer. The statement will also reflect the amount disbursed from your escrow
account such as property taxes, if you have an escrow/impound account for payment of taxes.

It has been our pleasure servicing your loan. CMS places a high level of importance on quality customer service and
we are confident that we provided you with the world class service to which you are accustomed.


Sincerely,


Carrington Mortgage Services, LLC




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                                                IMPORTANT DISCLOSURES


 -VERBAL INQUIRIES & COMPLAINTS-
 For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE
 DEPARTMENT for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE
 DEPARTMENT for Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern
 Time, Monday through Friday. You may also visit our website at https://carringtonms.com/.

 -IMPORTANT BANKRUPTCY NOTICE-
 If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
 reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an attempt to
 collect a debt from you but merely provides informational notice regarding the status of the loan. If you are represented
 by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING-
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
laws of the United States.

-HUD COUNSELOR INFORMATION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the
CFPB at (855) 411-2372, or by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant's income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers CMS' compliance with this law is the Federal Trade Commission, Equal Credit Opportunity, Washington,
DC 20580.

-SCRA DISCLOSURE-
MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections and
benefits to eligible military service personnel, including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at
(888) 267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC, and
Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages of
the correspondence. You have the right to request documents we relied upon in reaching our determination. You may
request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m. Eastern
Time. You may also visit our website at https://carringtonms.com/.




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                                                                                     12/03/2015

                               Bank of America                                                                                               Send Correspondence to:
                                       *-
                                     Homcloans
                                                                                                                                             P.O. Box 31785
                                                                                                                                             TAMPA, FL 33631-3785

                                                                                                                                             Business Address:
                               P.O. Bax 31785                                                                                                450 American Street
                               TAMPA, FL 33631-3785                                                                                          Simi V;i/Joy. CA 93065-6285
                   l!.f.@
                   ~                                                                                                                         Notice Date:          May 04, 2017
                               1'1lll 11ll111l 1lllhl 11l•l•l'l1'•1'1llpl 1 h1ll1 1 hl'•l'1•l 1111I'                                         Loan No.:             215356291
                               AT2              2•772·46604·0000012·001· 1·000· 111·000-000
                               KETURAH MIXON                                                                                                 Property Address:
                               243 DEVON ROAD                                                                                                243 Devon Road
                               BAITLE CREEK, Ml 49015                                                                                        Batlle Creek, Ml 49015




                   The servicing of your home loan will transfer to.Bank of America, N.A. on May 01, 2017.

                 1 IMPORTANT INFORMATION ABOUT CHANGES TO YOUR HOME LOAN
                   On May 01, 2017, lhe servicing of your above referenced mortgage loan will lransfer from Carrington Mortgage Sel\/ices,- LLC lo Bank of
                   America. As of Iha! dale, we will support all of your loan sel\/icing, including billing, payment processing, and customer support. You wiU no
                   longer receive mortgage slalemenls from Carrington Mortgage Services, LLC; instead, your slalemenls will be sent by Bank of America.

C                  Enclosed is a Notice of Servicing Transfer from Bank of America regarding lhe above referenced loan. We are required lo send !his notice lo
                   you under federal law. In addition lo the information provided in !his leller, !his notice will contain important information about lhe servicing
                   transfer of your loan. Please review this notice and retain it for your records.

                   In the mortgage lending industry, the transfer or sale of loan servicing lo other servicing inslilulions is a common practice and we'll work closely
                   with Carrington Mortgage Services, LLC to make the lransilion as smooth as possible. If you have any questions or concerns regarding !his
                   transfer, we're available to answer your questions Monday-Friday 8a.m. to 9p.m. ET al 1·800-669-6607.

                 ! KEY CHANGES AND ACTIONS YOU MAY NEED TO TAKE
                   New loan number: 215356291
                           As of May 01, 2017, your home loan number will change to !he number listed directly above and it will appear on future
                           communications from us. Please use your new loan number starling on lhe above referenced dale.
                           A new payment coupon Is Included for your convenience.
                           The transfer of your loan lo Bank of America does nol affect any terms or conditions of your mortgage loan, other than those lenns
                           directly related lo lhe servicing of the loan.
                           Your monthly payment will nol be affected by lhis transfer.
                   Automatic payments
                           If the above referenced loan is paid through an automatic payment plan with Carrington Mortgage Services, LLC, this ends as or April
                           30, 2017.
                           To set up an automatic payment plan wllh Bank of America, you must call us at 1-800-669-6607. If you do not, the above
C                          referenced loan will nol be paid aulomalically.
                           Failure to make payments on lime may result in late charges, adverse credit reporting and additional fees (for more information
                           regarding fees that may be charged, please go lo hllp:1/wl'rN.bankofamerica.com/defaullfees or call us al 1·800·669-6607).
                  Online Banking
                          If you pay your home loan using an online system lhrough your bank, you mus! update the inforrnalion lo reflect Bank of America and
                          lhe new loan number listed above before making your next payment.
                          Failure to make payments on lime may result in late charges, adverse credit reporting and additional fees (for more information
                          regarding fees lhal may be charged, please go lo hllp://www.bankofamerica.com/defaullfees or call us al 1·800·669-6607).
                  Insurance
                          Please notify your homeowners Insurance company that the above referenced loan has changed servlcers. You mus! notify
                          your property insurance carrier or agent lo list Bank of America, N.A. as the mortgagee on your properly insurance policy(ies). This
                          incfudes your homeowners insurance policy and any oiher insurance coverages you maintain, or are required lo maintain, on your
                                                                    SEE REVERSE SIDE FOR IMPORTANT INFORMATION
        Loan Number. 215356291 (9)                                   Plt.1se upd:ite ei112tl lnrorm:1Uon on the revers, side o(lhls coupon   Payrnont Due                         S1.101.40
        Kclurah Mixon
       243 Devon Road                                                                                                 'r/QloJr11;700:~~·!>
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                                                                         Bank or America, N.A.
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                                                                                                                                                     PJJdi!onZI
                                                                         PO Box 660402
                                                                         DALLAS TX 75266·0402                                                       IEsetow

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      Case 1:18-cv-00499-JTN-ESC ECF No. 57 filed 08/07/18 PageID.1353 Page 78 of 123
                    Loan No.: 215356291                                                                              Notice Date: May 04, 2017

                    NOTICE OF SERVICING TRANSFER

                    The servicing of your mortgage loan is being transferred, effective May 01, 2017. This means that after this date, a new servicer
                    will be collecting your mortgage loan payments from you. The transfer of lhe servicing of your mortgage loan does not affect any
                    term or condition of the mortgage instruments, other than terms directly related to lhe servicing of your loan. Except in limiled
                    circumstances, federal law requires that your present se,vicer send you this notice at least 15 days before lhe effective dale of
                    transfer, or al closing. Your new se,v/cer must also send you this notice no later than 15 days after this effective dale or at
                    closing.

                 I  YOUR PRESENTSERVICER

                    Your present selVicer is Carrington Mortgage Services, LLC. If you have any questions relating lo the transfer of servicing from
                    your present servicer Carlington Mortgage Services, LLC, call Customer Service, collect, al 1-877-267-1221 between 7:00 AM lo
                    5:00 PM, Pacific Standard Time, Monday through Friday. You can also send 1vrillen questions !o your present servicer relating lo
                    lhe transfer of servicing of your mortgage loan at: Carlington Mortgage Services, llC, 1600 South Douglass Road Anaheim, CA
                    92806.
                I   YOUR NEW SERVICER

                   Your new se,viceris Bank of America, N.A.. The address lo send wliHen questions lo your new servicer rel aling lo !he transfer of
                   servicing of your mortgage.loan (but not your loan payments) is: Customer Service Correspondence, P.O. Box 31785, TM1PA, FL
                   33631-3785. If you have any questions relating !o lhe !ransfer of servicing lo your new servicer, call Bank of America, N.A
                   Customer Service, loll-free al 1-800-669-6607, Monday-Friday 8a.m. lo 9p.m. ET. Your call may be monitored or recorded lo
                   ensure qualify service.
                   Please write the Bank of America, N.A. loan number on all checks and correspondence and have your loan number available
                   when you call. Your complete loan file is being !ransferred to Bank of America, N.A..
                I  INFORMATION CONCERNING YOUR PAYMENTS AND OPTIONAL INSURANCE:

                   The dale Iha! Carrington Mortgage Services, LLC will slop accepting payments from you is Aprll 30, 2017. The date !hat
                   Bank of America, N.A. will sf art accepting payments from you is May Oi, 2017. Send all payments due on or after Iha! dale lo
                   Bank of America, N.A.: P.O. Box 660402, DALLAS, TX 75266-0402. Bank of America, N.A. will send you new billing
                   statements. If you have a payment due before you receive your new billing statement, write your Bank of America, N.A. loan
                   number (215356291) on your check and mail i! lo Bank of America, NA at the payment address shown in the previous sentence.
                   Please no!e Iha! your loan information is subject lo change lo renect disbursemenls that are made by, and payments that are due
                   !o, your present servicer.
                 If you have purchased life, disabilily, accidenlal dealh or any olher type of optional insurance or any other optional producl, such
                 as home warranty (colleclively ·optional product'), !his lransfer may affect your right lo continue receiving such oplional product.
                 After lhe transrer of servicing of your loan, !he charge for any optional product may no longer be collecled and paymenls for any
                 charge due for your optional producl may not be remil!ed. If you want lo mainlain your optional product, you should contact your
                 product provider directly lo de!ermine whether your optional product can be continued and what steps you need lo lake to do so.
                 This transfer does not affect your homeowners insurance coverage.
                 If the terms of your loan provide for an escrow account lo pay taxes and/or insurance, Bank of America, N.A. may elect lo
                 re-analyze lhe escrow payment amount and make any necessaiy adjustments. In compliance wilh lhe Real Estate Selllement
                 Procedures Act (RESPA}, Bank of America, N.A. analyzes escrow accounls utilizing !he aggregate method.
C.·            I TREATMENT OF PAYMENTS FOR THE 60 DAYS AFTER SERVICING TRANSFER

                Under federal law, during the 60-day period following the effective date of !he transfer of !he servicing of your mortgage loan, a
                loan payment received !Jy current servicer on or before ils due dale may not be treated by the new servicer as lale and a late fee
                may not be imposed on you.




                @
               ;;;;;;_ Bank of America, N.A. Mo111ber FDIC. Equal Housing Lender. © 2012 Bank of America Corpor.ition. Tradcmnrks arc the
               ----:•-·   ._.........
               property of Bank of America Corporation. All rights reserved. Some products may not be available in all statos. Thfs is not a
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                                                   MORTGAGE SERVICES


   November 21, 2016



   Keturah Mixon
   243 Devon Rd
   Battle Creek, MI 49015


   RE:    CMS Loan # 7000089915- Validity of Debt Owed
          Property Address: 243 Devon Rd, Battle Creek, MI 49015


   Dear Mortgagor(s):

   This letter is our response to your written correspondence received in our Customer Service
   Research Depaitment on September 13, 2016. The Letter disputes the debt, which we interpret
   as a request for verification of the debt under the Fair Debt Collection Practices Act ("FDCPA").
   Carrington Mortgage Services, LLC ("CMS") is committed to responsible lending and servicing
   and we would like to address any concerns regarding the above-referenced loan.

  Enclosed is a Loan Application and Payment History along with Transaction Codes and
  Definitions. The Payment History lists the transactions relating to the Loan while being serviced
  by CMS. Please note this history provides pertinent infonnation on payments received, tax and
  insurance payments disbursed, funds in the suspense/unapplied funds account, and late charges
  assessed and paid.

  V crification of Debt
  Please be advised the Loan is evidenced by a Note dated January 28, 2010, in the principal sum
  of $118,808.00, executed by Keturah Mixon, in favor of Top Flite Fina11cial Inc., a copy of
  which is enclosed. The Loan is secured by a Mortgage dated the January 28, 2010 a copy of
  which is also enclosed.

  The current owner of the Note pursuant to 15 U.S.C. §1641(£)(2) is Christiana Trust, A division
  of Christiana Trust, A Division of Wilmington Savings Fund Society, FSB, as Trustee for
  Stanwhich Mortgage Loan Trust Series 2016.:6. The o,vner is located at 9062 Old Annapolis
  Road, Columbia, MD 21045 with a phone number of 410-884-2146. CMS is the current servicer
  of the loan with rights to enforce the tem1s of the security instrument and collect on the debt.

  A payoff demand statement will be sent to you under a separate cover from our Payoff
  Department, which shows all amounts necessary to pay off the Loan. The request was submitted
  to our Payoff Department on November 21, 2016. Please allow 72 hours for processing.




                P.O. Box 3489, Anaheim, CA 92803            p 800.561-4567       f 800.486.5134
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                                                   l'dORTGAGE SERVICES


  After an extensive review of your account, our records indicate the lien release provided with
  your correspondence is not valid. Should you have doctunentation supporting your dispute,
  please forward it for our review. You may submit the documentation by fax to (949) 517-5220 or
  mail to the address below:

  Can"ington Mo1igagc Services, LLC
  Customer Service Research Department
  P.O. Box 3489
  Anaheim, CA 92803

  As of the date of this response, your account is in a default status and due for the August 1, 2012
  through November 1, 2016 payments in the amount of$59,040.43.

  We trust we have fully addressed your concerns regarding this matter. However, should you
  have further questions, please contact Carrington Mortgage Services, LLC at (800) 561-4567,
  Monday through Friday, 8:00 AM to 8:00 PM, Eastern Standard Time. You may also contact us
  in writing at P.O. Box 3489, Anaheim, CA 92803.


  Sincerely,

 ;3'~~~
  Brad Horner
  Customer Service Research Department
  Carrington Mortgage Services, LLC
  Enclosures




                 P.O. Box 3489, Anaheim, CA 92803            p 800.561-4567 f 800.486.5134
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                                             IMPORTANT DISCLOSURES


  -INQUIRIES & COMPLAINTS-
  For inquiries and complaints about your mortgage loan, please contact our CUSTOMER SERVICE
  DEPARTMENT by writing to Carrington Mortgage Services, LLC, Attention: Customer Service, P.0 Box 3489,
  Anaheim, CA 92803, or by calling l-800-561-4567. Please include your loan number on all pages of
  correspondence. The CUSTOMER SERVICE DEPARTMENT for Carrington Mortgage Services, LLC is toll free
  and you may call from 8:00 a.m. to 8:00 p.m. Eastern Time, Monday through Friday. You may also visit our website
  at https://carringtonms.com/.

  -IMPORTANT BANKRUPTCY NOTICE-
  If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have
  not reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an
  attempt to collect a debt from you but merely provides informational notice regarding the status of the loan. If you
  are represented by an attorney with respect to your mortgage, please forward this document to your attorney.

  -CREDIT REPORTING-
  We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
  on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
  credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the
  terms of your credit obligations.

  -MINI MIRANDA-
  This communication is from a debt collector and it is for the purpose of collecting a debt and any information
  obtained will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices
  Act and does not imply that we are attempting to collect money from anyone who has discharged the debt under the
  bankruptcy laws of the United States.

  -HUD COUNSELOR INFORMATION-
  If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
  counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287
  or toll-free TDD (800) 877-8339, or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also
  contact the CFPB at (855) 411-2372, or by going to www.consumerfinance.gov/find-a-housing-counselor.

  -EQUAL CREDIT OPPORTUNITY ACT NOTICE-
  The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the
  basis of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to
  enter into a binding contract); because all or part of the applicant's income derives from any public assistance
  program; or because the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act.
  The Federal Agency that administers CMS' compliance with this law is the Federal Trade Commission, Equal
  Credit Opportunity, Washington, DC 20580.

  -SCRA DISCLOSURE-
  MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please
  contact us immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant
  protections and benefits to eligible military service personnel, including protections from foreclosure as well as
  interest rate relief. For additional information and to determine eligibility please contact our Military Assistance
  Team toll free at l-888-267-5474.

  -NOTICES OF ERROR AND INFORMATION REQUESTS-
  You have the right to request documents we relied upon in reaching our determination. You may request such
  documents or receive further assistance by contacting Carrington Mortgage Services, LLC at (800) 561-4567,
  Monday through Friday, 8:00 a.m. to 8:00 p.m. Eastern Time or by mail at P.O. Box 3489, Anaheim, CA 92803.
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    CARRINGTON           :1i,i1rrc:AC;1: ·sERvfr:Es

  ARKANSAS:
  Arkansas Residents Only
  Carrington Mortgage Services, LLC ('CMS') is licensed with the Arkansas Securities Department. You may file complaints about
  CMS with the Arkansas Securities Department (Department) at 201 East Markham, Heritage West Building, Suite 300, Little
  Rock, Arkansas 72201. You may obtain further information by calling the Department's general information number at (501)
  324-9260 or toll-free, (800) 981-4429 or faxing the Department at (501) 324-9268 or visiting the Department's website
  at http://www.securities.arkansas.gov. For a list of standard or common loan servicing fees charged by CMS, please visit the
  CMS website at https://carrinutonms.com/HelpCenter/F AO.

  COLORADO:
  For Colorado Residents:
  13111 E. Briarwood Ave., Suite#340
  Centennial, CO 80112
  (303) 708-8795

  HAWAII:
  For Hawaii Residents:
  Carrington Mortgage Services, LLC ("CMS") is licensed with the State of Hawaii Division of Financial Institutions. You
  may file complaints about CMS with the Commissioner of Financial Institutions by calling (808) 586-2820 or visiting the
  division's website for consumer complaints at http://cca.hawaii.gov/dfi/filc-a-complaint/. Attached is a list of standard or
  common loan servicing fees charged by CMS.
  MASSACHUSETTS:
  NOTICE OF IMPORTANT RIGHTS
  YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING
  YOUR DEBT NOT BE MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST
  WILL BE VALID FOR ONLY TEN DAYS UNLESS YOU PROVIDE WRITTEN CONFIRtvIATION OF THE
  REQUEST POSTMARKED OR DELIVERED WITHIN SEVEN DAYS OF SUCH REQUEST. YOU MAY
  TERMINATE THIS REQUEST BY \VRITING TO TI-IE CREDITOR.

  MINNESOTA:
  Carrington Mortgage Services, LLC is licensed by the Minnesota Department of Commerce.

  NEW YORK:
  New York City Department of Consumer Affairs License Number 1264739
  This Collection agency is licensed by the City of Buffalo license numbers: 555177 & 555176
  City of Yonkers Debt Collection Agency License Number: 9717

  For New York residents: You may file complaints about CMS with the New York State Department of Financial Services.
  You may obtain further information from the New York State Department of Financial Services by calling the
  Department's Consumer Assistance Unit at 1-800-342-3736 or by visiting the Department's website at www.dfs.ny.gov.
  Carrington Mortgage Services, LLC is registered with the Superintendent of the New York State Department of
  Financial Services.

  NORTH CAROLINA:
  Carrington Mortgage Services, LLC is licensed under North Carolina Secure and Fair Enforcement Mortgage Licensing Act and
  holds North Carolina Agency Licenses with Permit Nos. 102107, 103455 and 112956 Main Office: 1600 South Douglass Road,
  Suites 110 & 200-A, Anaheim, CA 92806 / Branch Offices: 2100 E. 196,,Street, Suites I 00 & 200, Westfield, IN 46074 & 6200
  Tennyson Parkway, Suite 210, Plano, TX 75024.

  TENNESSEE:
  This collection agency is licensed by the Collection Service Board of the Department of Commerce and Insurance.


  TEXAS:
  Notice to Texas Residents: COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE
  SENT TO THE TEXAS DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE
  201, AUSTIN,TEXAS 78705. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT 1-877-276-5550.
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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DNISION



   KETURAH MIXON,

                  Plaintiff,                                      Hon. Janet T. Neff

   V.                                                             Case No. 1: l 5-CV-486

   BANK OF AMERICA, et al.,

                  Defendants.
  - - - - - - - - - - - - - - - -I
                                 REPORT AND RECOMMENDATION

                  This matter is before the Court on Defendant Bank of America's Motion to Dismiss, (Dkt.

   #5), Plaintiffs Motion to Dismiss Defendant's Motion, (Dkt. #7), Plaintiff's Motion for Entry of

   Default, (Dkt. #8), and Plaintiff's Application for Entry of Default, (Dkt. #9). In accordance with 28

   U.S.C. § 636(b), authorizing United States Magistrate Judges to submit proposed findings of fact and

  recommendations for resolution of dispositive motions, the undersigned recommends that Plaintiffs

  motion to dismiss be granted in part and denied in part, Plaintiff's motions seeking entry of default

  be denied, and Defendant's motion to dismiss be granted.




                                              BACKGROUND

                  Plaintiff initiated the present action in state court, on or about December 16, 2014,against

  Bank of America and 20 unidentified John Does, none of whom have been identified or served. (Dkt.

  #1 at Page ID#l4-49). This action concerns real property located at 243 Devon Road, Battle Creek,

  Michigan. On or about January 28, 2010, Plaintiff obtained a loan in the amount of one hundred
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   eighteen thousand, eight hundred eight dollars ($118,808.00). (Dkt. #1 at Page ID#40-42). As security

   for this loan, Plaintiff executed a mortgage on the property in question. (Dkt. #1 at Page ID#3 l-38).

   On or about July 21, 2011, Plaintiffs mortgage was reassigned from her original lender to BAC Home

   Loans Servicing. (Dkt. #1 at Page ID#44). BAC Home Loans Servicing later merged into Bank of

   America. (Dkt. #5 at Page ID#358-62).

                   Plaintiff alleges that this mortgage assignment was fraudulent because the underlying debt

   had, by the date of reassignment, already been paid in full. Plaintiff further alleges that the mortgage

   assignment was invalid because: (1) her name was not included on the relevant documents; (2) the

   transaction was accomplished through fraudulent "robo-signatures"; and (3) Bank of America has no

   legitimate interest in the property in question. On May 8, 2015, Defendant Bank of America removed

   the matter to this Court and now moves to dismiss Plaintiffs complaint on the ground that the

   allegations therein fail to state a claim on which relief may be granted. Plaintiff has responded by

   asserting the motions identified above.




   I.             Plaintiff's Motion to Dismiss

                  Plaintiff moves the Court to dismiss Defendant's motion to dismiss on the ground that

   it is without merit. Plaintiff further requests that the Court enter judgment in her favor. Plaintiff has

   failed to demonstrate that she is entitled to judgment or that Defendant's motion is subject to dismissal.

   The Court will, however, consider Plaintiffs motion as a response to Defendant's motion to dismiss.

   Accordingly, the Court recommends that Plaintiffs motion be granted in part and denied in part.




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   II.             Plaintiff's Motions Seeking Entry of Default

                   Plaintiff argues that she is entitled to default on the ground that Defendant Bank of

   America failed to timely answer the complaint. This issue was resolved in state court prior to the

   removal of this action to this Court.        (Dkt. #1 at Page ID#l 1-12; Dkt. #5 at Page ID#326-41).

   Accordingly, the undersigned recommends that Plaintiffs motions be denied.




   III.            Defendant's Motion to Dismiss

                   Bank of America moves to dismiss Plaintiffs complaint on the ground that such fails to

   state a claim on which relief may be granted. A Rule l 2(b )( 6) motion to dismiss for failure to state a

   claim on which relief may be granted tests the legal sufficiency of a complaint by evaluating the

   assertions therein in a light most favorable to Plaintiff to determine whether such states a valid claim for

   relief. See In re NM Holdings Co., LLC, 622 F.3d 613,618 (6th Cir. 2000).

                   Pursuant to Federal Rule of Civil Procedure 12(b)(6), a claim must be dismissed for

   failure to state a claim on which relief may be granted unless the "[f]actual allegations [are] enough to

  raise a right for relief above the speculative level on the assumption that all of the complaint's

   allegations are true." Bell Atlantic C01p. v. Twombly, 550 U.S. 544, 545 (2007). As the Supreme Court

   subsequently held, to survive a motion to dismiss, a complaint must contain "sufficient factual matter,

   accepted as true, to 'state a claim to relief that is plausible on its face."' Ashcroft v. Iqbal, 556 U.S. 662,

  677-78 (2009). This plausibility standard "is not akin to a 'probability requirement,' but it asks for more

  than a sheer possibility that a defendant has acted unlawfully." If the complaint simply pleads facts that

  are "merely consistent with" a defendant's liability, it "stops short of the line between possibility and

  plausibility of 'entitlement to relief.'" Id. As the Court further observed:


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                   Two working principles underlie our decision in Twombly. First, the tenet
                   that a court must accept as true all of the allegations contained in a
                   complaint is inapplicable to legal conclusions. Threadbare recitals of the
                   elements of a cause of action, supported by mere conclusory statements,
                   do not suffice ... Rule 8 marks a notable and generous departure from the
                   hyper-technical, code-pleading regime of a prior era, but it does not
                   unlock the doors of discovery for a plaintiff armed with nothing more
                   than conclusions. Second, only a complaint that states a plausible claim
                   for relief survives a motion to dismiss. . .Determining whether a
                   complaint states a plausible claim for relief will, as the Court of Appeals
                   observed, be a context-specific task that requires the reviewing court to
                   draw on its judicial experience and common sense. But where the
                   wellpleaded facts do not permit the court to infer more than the mere
                   possibility of misconduct, the complaint has alleged - but it has not
                   "show[n]" - "that the pleader is entitled to relief."

   Id. at 678-79 (internal citations omitted).

                   When resolving a motion to dismiss pursuant to Rule 12(b)(6), the Court may consider

   the complaint and any exhibits attached thereto, public records, items appearing in the record of the case,

   and exhibits attached to the defendant's motion to dismiss provided such are referenced in the complaint

   and central to the claims therein. See Bassett v. National Collegiate Athletic Assoc., 528 F.3d 426, 430

   (6th Cir. 2008); see also, Continental Identification Products, Inc. v. EnterMarket, Cmp., 2008 WL

   51610 at* 1, n.1 (W.D. Mich., Jan. 2, 2008) ("an exhibit to a pleading is considered part of the pleading"

   and "the Court may properly consider the exhibits .. .in determining whether the complaint fail[ s] to state

   a claim upon which relief may be granted without converting the motion to a Rule 56 motion");

   Stringfield v. Graham, 212 Fed. Appx. 530,535 (6th Cir. 2007) (documents "attached to and cited by"

   the complaint are "considered parts thereof under Federal Rule of Civil Procedure 10(c )").

                   Plaintiff seeks "to forever quiet title against defendants" concerning the subject property.

  Actions to quiet title under Michigan law are governed by Mich. Comp. Laws § 600.2932 which

  provides, in relevant part, that "[ a ]ny person, whether he is in possession of the land in question or not,


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   who claims any right in, title to, equitable title to, interest in, or right to possession of land, may bring

   an action in the circuit courts against any other person who claims or might claim any interest

   inconsistent with the interest claimed by the plaintiff, whether the defendant is in possession of the land

   or not." Mich. Comp. Laws§ 600.2932(1). A plaintiff in an action to quiet title to land bears the burden

   to make out a prima facie case that he has a superior claim to the land in question. See Stern v. Mmjeh,

  2011 WL 1140129 at *l (Mich. Ct. App., Mar. 29, 2011); Michigan Court Rule 3.41 l(B)(2) (in a

   complaint to quiet title the plaintiff "must allege," in part, "the facts establishing the superiority of [her]

  claim"). Moreover, a plaintiff cam1ot satisfy this requirement "by merely relying on the weakness of a

   defendant's title." Stern, 2011 WL 1140129 at *1.

                   The basis of Plaintiffs claim is her unsubstantiated allegation that she paid in full the

  debt for which the subject mortgage was security. On the other hand, Defendant has submitted

  documentation in the course of this action demonstrating that not only has Plaintiff not paid off the debt

  in question, but instead has failed to regularly make her scheduled mortgage payments. (Dkt. #5 at Page

  ID#365-79). As a result, the balance of the loan in question, as of March 5, 2015, was in excess of one

  hundred thirty-seven thousand dollars ($137,000.00). (Dkt. #5 at Page !0#379). Plaintiffs other

  arguments in support of her quiet title action are frivolous for the reasons articulated in Defendant's

  motion. In sum, Plaintiff's complaint does not articulate a plausible claim for relief. Accordingly, the

  undersigned recommends that Defendant's motion to dismiss be granted.



                                                 CONCLUSION

                   For the reasons articulated herein, the undersigned recommends that Plaintiffs Motion

  to Dismiss Defendant's Motion, (Dkt. #7), be granted in part and denied in part; Plaintiffs Motion


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   for Enny of Default, (Dkt. #8), be denied; Plaintiffs Application for Entry of Default, (Dkt. #9), be

   denied; and Defendant Bank of America's Motion to Dismiss, (Dkt. #5), be granted.

                  OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

   within fourteen (14) days of the date of service of this notice. 28 U.S.C. § 636(b)(l)(C). Failure to file

   objections within the specified time waives the right to appeal the District Court's order. See Thomas

   v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir.1981).

                                                             Respectfully submitted,


  Date: June 26, 2015                                        /s/ Ellen S. Carmody
                                                             ELLENS. CARMODY
                                                             United States Magistrate Judge




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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION



    KETURAH MIXON,

            Plaintiff,                                       Case No. l: 15-cv-486

    V.                                                       HON. JANETT. NEFF

    BANK OF AMERICA, N.A., and all of
    its subsidiaries, successors, and assigns,
    and JOHN DOES 1-20,

            Defendants.
    - - - - - - - - - - - - -I



                                                 JUDGMENT

           In accordance with the Order entered this date:

          IT IS HEREBY ORDERED that this action is DISMISSED pursuant to FED. R. CIV. P.

   I2(b)(6) for failure to state a claim.



  Dated: July 17, 2015                                   Isl Janet T. Neff
                                                        JANETT. NEFF
                                                        United States District Judge
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    Case l:15-cv-00486-JTN-ESC ECF No. 17 filed 07/17/15                  PagelD.517 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION



    KETURAH MIXON,

            Plaintiff,                                        Case No. I: 15-cv-486

    V.                                                        HON. JANETT. NEFF

    BANK OF AMERICA, N.A., and all of
    its subsidiaries, successors, and assigns,
    and JOHN DOES 1-20,

            Defendants.
    - - - - - - - - - - - - -I


                                                 ORDER

          This is a civil action involving a prose litigant. Defendant Bank of America, N.A. filed a

   Motion to Dismiss (Dkt 5). Plaintiff filed a Motion to Dismiss Defendant's Motion (Dkt 7), a

   Motion for Entry of Default (Dkt 8), and an Application for Entry of Default (Dkt 9). These matters

   were referred to the Magistrate Judge, who issued a Report and Recommendation on June 26, 2015,

   recommending that this Court grant in part and deny in part Plaintiffs motion to dismiss, deny

   Plaintiff's motion and application for entry of default, and grant Defendant's motion to dismiss. The

   Report and Recommendation was duly served on the parties. No timely objections have been filed.

  See 28 U .S.C. § 636(b )(1 ). Therefore,

          IT IS HEREBY ORDERED that the Report and Recommendation (Dkt 16) is APPROVED

   and ADOPTED as the Opinion of the Court.

          IT IS FURTHER ORDERED that Plaintiff's Motion to Dismiss Defendant's Motion (Dkt

   7) is GRANTED IN PART AND DENIED IN PART as set forth in the Report and

  Recommendation.
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         IT IS FURTHER ORDERED that Plaintiff's Motion for Entry of Default (Dkt 8) and

  Application for Entry of Default (Dkt 9) are DENIED.

         IT IS FURTHER ORDERED that Defendant Bank of America, N .A.' s Motion to Dismiss

  (Dkt 5) is GRANTED.



         A Judgment will be entered consistent with this Order.



  Dated: July 17, 2015                                Isl Janet T. Neff
                                                     JANETT. NEFF
                                                     United States District Judge
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                                                                part and denied in part.
                 2017 WL 5499400
   Only the Westlaw citation is currently available.
             United States District Court,
          E.D. Michigan, Southern Division.

               Robert GOSS, Jr., Plaintiff,                                         I. BACKGROUND
                             V.
      CITIMORTGAGE, INC., et al., Defendants.                   In 2005, Plaintiff entered into a mmigage agreement with
                                                                ABN AMRO Mortgage Group, Inc. (0kt. #41-2.)1
                     Case No. 16-14391                          Defendant CitiMortgage, as a successor in interest by
                                  I                             merger to ABN AMRO, later became the holder of the
                     Signed 11/16/2017                          mmigage. (Dkt. #35-3 Pg. ID 1069.) In 2011, Defendant
                                                                CitiMortgage foreclosed on the prope1iy and sold it. (Id.)
Attorneys and Law Firms                                         After the redemption period for the sale, Plaintiff filed
                                                                suit against ABN AMRO and Defendant CitiMortgage
Vanessa G. Fluker, Detroit, MI, for Plaintiff.                  challenging the foreclosure and sale. See Goss v. ABN
                                                                Alv!RO 1vlort. Grp., 549 Fed.Appx. 466, 468 (6th Cir.
Kathryn J. Miller, Dickinson Wright, Ann Arbor, MI,             2013). The district comi dismissed Plaintiff's complaint,
SheJTy D. O'Neal, Dickinson Wright, Detroit, MI, David          and the Sixth Circuit affirmed. Id. at 477.
M. Dell, Jong-Ju Chang, Dykema Gossett PLLC,
Bloomfield Hills, MI, Brian A. Nettleingham, Stephanie          Following      litigation, Plaintiff   and   Defendant
C. Mellin, Maddin Hauser Roth & Heller PC, Southfield,          CitiM01igage entered into a modified loan agreement
MI, for Defendants.                                             (Dkt. #35-4) and Defendant CitiMortgage expunged the
                                                                foreclosure in February 2015 (Dkt. #35-3). Plaintiff
                                                                alleges that he has made timely payments as required by
                                                                the modified loan agreement, but that Defendant
                                                                CitiMortgage provided "erroneous information" regarding
                                                                his escrow and a change in his mortgage payment. (Dkt.
                                                                #35 Pg. ID 1039.) According to Plaintiff, Defendant
                                                                Nationstar-who was servicing the loan-also began
                                                                sending Plaintiff incorrect information about the
OPINION AND ORDER GRANTING IN PART AND
                                                                payments he had been making and a balance that
DENYING IN PART DEFENDANTS' MOTIONS TO
                                                                Defendants contended was past due. (Dkt. #35 Pg. ID
                DISMISS
                                                                !041; Dkt. #35-16.) He further alleges that Defendant
                                                                Nationstar, which was assigned the loan in November
ROBERT 1-1. CLELAND, UNITED STA TES DISTRICT                    2016 (Dkt. #41-3), wrongfully refused Plaintiffs
JUDGE                                                           payments. (Dkt. #35 Pg. ID 1039, 1041.)

*I Plaintiff Robert Goss, Jr. brought this action for what      Despite his timely payments, according to Plaintiff, he
he alleges was a wrongful foreclosure on his home. (Dkt.        discovered that his payments were not being reported to
#1.) Plaintiff claims that Defendant CitiMortgage, Inc.         major credit bureaus. (Dkt. #35 Pg. ID 1040.) When
and Defendant Nationstar Mortgage, LLC, the entities            Plaintiff sent letters to Transunion and Experian disputing
responsible for the mortgage on his property, failed to         their repo1is of his payments, he received credit reports
accept his mortgage loan payments and falsely                   "that were contrary to his payment history and the cashed
represented the mortgage as in default. (Id.) Defendant         checks" he had submitted for payment. (Id.)
CitiMortgage and Defendant Nationstar have each filed a
Motion to Dismiss (Dkt. ##3 8, 41 ). Plaintiff filed separate   *2 Plaintiff, in an attempt to c01Tect the "variable payment
responses. (Dkt. ##43, 44.) The court has determined that       amounts from month-to-month in direct contradiction to
a hearing is unnecessary. E.D. Mich. LR 7.1 (f)(2).             the required monthly payments under the modification
Because the legal issues in these motions largely overlap,      agreement,"       attempted      to    contact     Defendant
the court will address both motions in this order. For the      CitiMortgage. (Id.) According to Plaintiff, "Defendant
following reasons, Defendants' motions are granted in           Citi[M]ortgage would send correspondence that did not
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address the issues raised by" Plaintiff. (Id.) Plaintiff        b~sine~s loan and a credit card; he has also had to pay
eve~tually sent CitiMortgage a "RESP A Qualified                higher mterest on the supplies for his small business. (Id.)
Written Request Letter" in June 2016. (Id.; Dkt. #35-13.)
Defendant CitiMortgage's response, however, "did not
address any of the information requested in the Plaintiffs
Qu~Ii~ed W1:itten ~equest." (Dkt. #35 Pg. ID 1040-41.)
Plamt1ff received his last correspondence from Defendant
CitiMortgage-a letter soliciting Plaintiff for Joss
mitigation-in August 2016. (Id. at Pg. ID 1041.)                                      II. STANDARD

                                                                Federal Rule of Civil Procedure 8(a)(2) requires that a
Plaintiff then began receiving letters from Defendant
                                                                complaint contain "a short and plain statement of the
Nationstar, including a letter "indicating [Nationstar] had
                                                                claim showing that the pleader is entitled to relief." "To
no record of any payments since June of 2016, when in
                                                                survive a motion to dismiss, a complaint must contain
fact, the money for the payments had been removed from
                                                                sufficient factual matter, accepted as true, to 'state a claim
Plaintiffs bank account by Defendant Citi[M]ortgage."
                                                                for relief that is plausible on its face.' " Ashcroft v. Iqbal,
(/d. at Pg. ID 1041.) In September 2016 Defendant
                                                                556 U.S. 662, 678 (2009) (quoting Bell At!. Corp. v.
Nationstar advised Plaintiff that he needed a Joan
                                                                Twombly, 550 U.S. 544, 570 (2007)). "[W]here the
specialist. (Id.)
                                                                well-pleaded facts do not permit the court to infer more
                                                                than the mere possibility of misconduct, the complaint has
Plaintiff, however, kept making payments. He submitted
                                                                alleged-but it has not shown-that the pleader is entitled
checks for his monthly mortgage payment in October,
                                                                to relief." Id. at 679. The court views the complaint in the
November, and December 2016, but all were returned
                                                                light most favorable to the plaintiff and accepts all
with some communication from Defendant Nationstar.
                                                                well-pleaded factual allegations as true. Tackett v. M & G
(/d. at Pg. ID 1041-42.) Plaintiff also received a letter and
                                                                Polymers, USA, LLC, 561 F.3d 478, 488 (6th Cir. 2009).
a "refund" check from Defendant Nationstar in December
                                                                The co.urt, however, "need not accept as true legal
2016, but says he has "no idea of what this check
                                                                conclus10ns or unwarranted factual inferences." Directv,
represented and has not cashed the check, but retained the
                                                                Inc. v. Treesh, 487 F.3d 471,476 (6th Cir. 2007).
check." (Id. at Pg. ID 1042; Dkt. #35-21.)
                                                                *3 '.'In determining whether to grant a Rule 12(b)(6)
Plaintiffs home was sold at a sheriffs sale on December
                                                                motion, the court primarily considers the allegations in
20, 2016 "for an alleged default and failure to make
                                                                !he complaint, although matters of public record, orders,
monthly payments." (Dkt. #35 Pg. ID 1042.) One day
                                                                items appearing in the record of the case, and exhibits
before the sale, Plaintiff filed an "Emergency Motion for
                                                                attached to the complaint, also may be taken into
Tempormy Restraining Order" (Dkt. #4) asking the court
                                                                account." Amini v. Oberlin College, 259 F.3d 493, 502
to stay the sale. The court denied the motion in an order
                                                                (6th Cir. 2001) (quoting Nieman v. NLO, Inc., 108 F.3d
entered the next day (Dkt. #5), explaining that the court
                                                                 1546, 1554 (6th Cir. 1997)). Furthermore, "when a
lacked sufficient time to review the motion before the sale
                                                                document is referred to in the pleadings and is integral to
and, in any event, Plaintiff had not shown that irreparable
                                                                the claims, it may be considered without convertino a
harm would result, as Michigan law provided a variety of
                                                                motion to dismiss into one for summary judgme~t."
mechanisms by which the parties could effectively undue
                                                                Commercial 1'v/oney Ctr. v. Ill. Union Ins. Co., 508 F.3d
the foreclosure sale. (Dkt. #5 Pg. ID 201-02.) Plaintiff
                                                                327, 335-36 (6th Cir. 2007).
thereafter moved to amend his complaint to name the
third party purchaser of the prope1ty-Zana Zaitouna-as
a Defendant and to add a claim for a violation of the Real
Estate
  • •
        Settlement Procedures Act aoainst
                                        I:>
                                                Defendant
C1t1Mo1tgage. (Dkt. #32.) The comt granted Plaintiffs
request (Dkt. #34), and Plaintiff filed an amended
complaint (Dkt. #35.)                                                                III. DISCUSSION

Despite the sheriffs sale, Plaintiff avers that Defendant       Plaintiff brings seven claims, each-with the exception of
Nationstar "has accepted Plaintiffs payments for January        Count VII-brought against Defendant CitiM01tgage and
2017, February 2017, March 2017, and April 2017." (Dkt.         Defe~dant Nationstar2 : (I) breach of contract; (2)
#35 Pg. ID 1042.) As a result of the neoative
                                         O      entries on      promissory estoppel; (3) wrongful foreclosure under
Plaintiffs credit repmts, Plaintiff has been denied a           Mich. Comp. Laws § 600.3204; (4) violation of the Fair
                                                                Debt Collection Practices        15 U.S.C. I
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(5) violation of the Fair Credit Reporting Act, 15 U.S.C. §
1681, et seq.; (6) quiet title; and (7) violation of Re;!       *4 Defendant CitiMortgage presents some additional
Estate Settlement Procedures Act, 12 U.S.C. § 2605, as to       arguments for why this claim should be dismissed.
Defendant CitiMortgage. The comt will address each              According to Defendant CitiMortgage, it cannot be held
count in turn.                                                  liable for breach because it was permitted, under the terms
                                                                of the original m01tgage, to "accept insufficient payments
                                                                and ... wait to apply those payments until a sufficient
                                                                payment has accumulated." (Dkt. #38 Pg. ID 1220.)
                                                                Defendant CitiMortgage's acceptance of Plaintiffs partial
                                                                payment, then, was not a breach. Moreover, according to
                                                                Defendant CitiM01tgage, Plaintiff cannot establish that it
                  A. Breach of Contract                         caused Plaintiffs damages because it "did not enoaoe      in
                                                                                                                    b b
                                                                foreclosure proceedings." (Id. at Pg. ID 1220-21.)
Defendants argue that Plaintiff cannot state a valid claim
                                                                Because Plaintiffs only alleged damage, according to the
for breach of contract because he cannot establish all the
                                                                amended complaint, is that Defendants "illegally
required elements under Michigan law. A claim for
                                                                foreclos[ed] on Plaintiffs mortgage" (Dkt. #35 Pg. ID
bre~cl~ of contract under Michigan law requires the
                                                                1044), he cannot establish damages as they relate to
plamt1ff to prove: (I) the existence of a valid contract, (2)
                                                                Defendant CitiMortgage. (Dkt. #38 Pg. ID 1220.)
the terms of the contract, (3) that the other party breached
'.h~ contract, and (4) that the breach caused the plaintiffs
                                                                The court disagrees with Defendants that these arouments
mJury. Webster v. Edward D. Jones & Co., 197 F.3d 815,
                                                                are sufficient on a motion to dismiss. Def:ndants'
816 (6th Cir. 1999). "The rule in Michigan is that one
                                                                argument that Plaintiff was paying a lower-and therefore
who first breaches a contract cannot maintain an action
                                                                inadequate-amount on his m01tgage is the crux of
against the other contracting paity for his subsequent
                                                                Plaintiffs claim that the higher payment sought by
breach or failure to perform." Flamm v. Scherer, 198
N.W.2d 702, 706 (Mich. Ct. App. 1972).                 .        Defendants was improper.

                                                                Defendants would have this court rely on Defendant
Defendants agree that the modified m01tgage agreement
                                                                CitiMortgage's statement, in the letter it sent to
constitutes a valid contract. (Dkt. #3 8 Pg. ID 1218; Dkt.
                                                                Defendant, that Plaintiffs monthly payments were
#41 Pg. ID 1285.) But both Defendants contend that
                                                                increasing pursuant to the "Escrow Analysis Disclosure
Plaintiff cannot recover for breach of contract because he
                                                                Statement." (Dkt. #35-6.) Defendant Nationstar provided
breached the contract first. (Dkt. #38 Pg. ID 1218-20;
                                                                the court with a copy of the disclosure statement in its
Dkt. #41 Pg. ID 1285-86.) Specifically, according to
                                                                reply brief on the motion to dismiss. (Dkt. #47-2.)
Defend~nt~, the modified mortgage agreement provides
                                                                "[D]ocuments that a defendant attaches to a motion to
that Plamt1ff was responsible for paying taxes, insurance
                                                                dismiss are. considered pait of the pleadings if they are
premiums, assessments, and escrow items as required
                                                                refe1Ted to m the plaintiffs complaint and are central to
under the m01tgage, and they point to this provision of the
                                                                [t?e] claim." Weiner v. Klais & Co., 108 F.3d 86, 89 (6th
modified agreement attached to Plaintiffs amended
                                                                Cir. 1997) (quoting Venture Assocs. Corp. v. Zenith Data
compl~int. (Dkt. #35-4 Pg. ID 1072-73.) Moreover,
                                                                SJ1:5. Corp., 987 F.2d 429, 431 (7th Cir. 1993)). Setting
according to the modified agreement, "[t]he escrow
                                                                aside whether documents attached to a reply brief are
payments may be adjusted periodically in accordance
                                                                considered part of the pleadings, the court does not find
with applicable law and therefore borrower's total
                                                                the attached escrow analysis dispositive for the motions to
monthly payment may change accordingly." (Id. at Pg. ID
                                                                dismiss.
1073.)
                                                                Defendants accurately quote the portion of the modified
Defendants aver that Plaintiff was "mailed an escrow
                                                                agreement providing that Plaintiffs "escrow payments
ana_ly~is disclosure statement ... confirm[ing] that
                                                                may be adjusted periodically." They neolect however to
Plamt1ffs monthly payment was increasing." (Dkt. #38                                                    b    '       '
                                                                focus the portion of this provision providing that
Pg. ID 1219.) They point to a letter attached to Plaintiffs
                                                                "payments may be adjusted periodically in accordance
amended complaint from Defendant CitiMortgage that
                                                                with applicable law." The comt will not consider, at this
doc_m1:ents an increased payment amount. (Dkt. #35-6.)
                                                                stage, whether the higher assessment made by
Plamt1ff, however, continued making the lower monthly
                                                                Defendants, as reflected in Defendant CitiMortoaoe's
payment. (Dkt. #38 Pg. ID 1219; Dkt. #41 Pg. ID 1286.)
                                                                letter to Plaintiff and the escrow analysis, was m:d; in
Thus, according to Defendants, Plaintiff breached the
                                                                accordance with applicable law. Whether Defendant
contract first, and Defendants cannot be liable for breach.
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CitiMortgage appropriately posted Plaintiffs "partial"          (emphasis added).) Because Plaintiffs relationship with
payment is similarly inappropriate for consideration at         Defendants was governed by an express written contract,
this point.                                                     his claim for promissory estoppel fails. Count II of
                                                                Plaintiffs amended complaint is therefore dismissed with
Defendant CitiMortgage's argument that Plaintiff has not        prejudice.
sufficiently pied damages against it, however, is
persuasive. Plaintiff describes Defendants' "breach" in its
breach of contract count as their decision to "illegally
foreclos[e] on Plaintiffs m01tgage, which constitutes
performance that does not conform to the agreement's
requirements that Defendants not foreclose so long as
Plaintiff performed under the agreement." (Dkt. #35 Pg.                         C. Wrongful Foreclosure
ID 1044.) While Plaintiff alleged facts earlier in the
                                                                Defendants argue that Plaintiffs home was properly
amended complaint that would support the allegation that
                                                                foreclosed because there was a valid default. Defendant
Defendant Nationstar's decision to foreclose was
                                                                CitiM01tgage also argues that it cannot be liable for a
improper because payments were not correctly accepted,
                                                                wrongful foreclosure because it was not the entity that
there is no dispute that Defendant CitiMortgage was not
                                                                foreclosed on Plaintiffs property.
involved in the foreclosure proceedings at all. While
Plaintiff could have pied that Defendant CitiMortgage's
                                                                Michigan law permits a foreclosure by advertisement in
alleged failure to properly post Plaintiffs payment was a
                                                                certain circumstances. Mich. Comp. Laws § 600.3204. A
breach of their contract that contributed to the foreclosure,
                                                                property     owner     may    challenge    a foreclosure
he did not do so.
                                                                proceeding-rendering the foreclosure voidable-by
                                                                demonstrating defects or iITegularities in the proceeding.
Plaintiffs claim for breach of contract against Defendant
                                                                Kim v. JPMorgan Chase Bank, NA., 825 N.W.2d 329,
CitiMortgage, therefore, is dismissed. Defendant
                                                                337 (Mich. 2012). "[T]o set aside the foreclosure sale,
Nationstar's motion to dismiss as to the breach of contract
                                                                plaintiffs must show that they were prejudiced by
claim is denied.
                                                                defendant's failure to comply with MCL 600.3204. To
                                                                demonstrate such prejudice, they must show that they
                                                                would have been in a better position to preserve their
                                                                interest in the property absent defendant's noncompliance
                                                                with the statute." Id.

                 B. Promissory Estoppel                         The court disagrees that Plaintiff has not stated a claim for
                                                                wrongful foreclosure as to Defendant Nationstar. Plaintiff
*5 Defendants next argue that Plaintiff cannot state a          has alleged facts demonstrating a defect in the foreclosure
claim for promissory estoppel because the parties had           proceeding-namely, that Plaintiff was not in default and
express contractual agreements. (Dkt. #38 Pg. ID 1223;          "had made all the required payments timely, and in
Dkt. #41 Pg. ID 1287.) The doctrine of promissory               accordance with the modification agreement." (Dkt. #35
estoppel permits a court to enforce an implied agreement        Pg. ID 1046.) Because Mich. Comp. Laws §
between parties. APJ Assocs., Inc. v. N. Am. Philips            600.3204( I )(a) pe1mits a foreclosure by advertisement
Corp., 317 F.3d 610, 617 (6th Cir. 2003). Promissory            only where "[a] default in a condition of the mortgage has
estoppel, however, "may not be used to oveITide the             occurred, by which the power to sell became operative," a
express agreement of the parties contained in written           lack of default by Plaintiff would render the foreclosure
agreements." id. Promissory estoppel is therefore               sale improper. See Starr v. Fed. Nat. /vlortg. Ass 'n, No.
inapplicable where the parties are bound by an express          14-14380, 2015 WL I 120129, at *2-3 (E.D. Mich. Mar.
written agreement. Id.                                          11, 2015) (O'Meara, J.); see also JP1v!organ Chase Bank
                                                                v. Zair, No. 329761, 2017 WL 128238, at *4 (Mich. Ct.
Plaintiff does not address this distinction in his responses    App. Jan. 12, 2017). Moreover, according to Plaintiff, had
to the motions to dismiss, instead discussing why               his payments been properly applied, "there would have
promissory estoppel is not subject to the statute of frauds.    been no erroneous default and illegal foreclosure." (Dkt.
(Dkt. #43 Pg. ID 1338; Dkt. #44 Pg. ID 1370.) Plaintiffs        #35 Pg. ID I 046.) Plaintiff has therefore sufficiently
own amended complaint describes the "promise" required          alleged prejudice under Kim, as he would have been in a
for his promissory estoppel claim as the "permanent loan        better position to preserve his property interest absent
modification agreement." (Dkt. #35 Pg. ID 1045                  Defendants' failure to properly apply his payments.
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Defendant Nationstar's claim that Plaintiff did not            collector.' " i\lfontgome1J: v. Huntington Bank, 346 F.3d
properly pay the higher amount required under his              693, 699 (6th Cir. 2003). Plaintiff does not respond to this
mortgage is, as noted above, not appropriate for review at     case law or the argument that Defendant CitiMortgage, as
this stage.                                                    the originator of Plaintiffs loan, is not a debt collector,
                                                               instead asserting in conclusory fashion that "Defendant
*6 Again, however, there appears no dispute that               Citi [M]ortgage is a debt collector under the Act," without
Defendant CitiMortgage, which transferred the mortgage         citation. (Dkt. #43 Pg. ID 1345.) Because Defendant
to Defendant Nationstar prior to foreclosure, was not          CitiMortgage is not a debt collector for the purposes of
involved in the foreclosure proceedings. Defendant             the FDCPA, Plaintiffs claim for FDCPA violations
CitiMortgage, therefore, cannot have violated Mich.            against Defendant CitiMortgage is dismissed with
Comp. Laws 600.3204. See Kemp v. Resurgent Capital             prejudice.
Servs., No. 13-11794, 2013 WL 5707797, at *3 (E.D.
Mich. Oct. 21, 2013) (Cohn, J.) (holding that plaintiff        Defendant Nationstar, as the former servicer of Plaintiffs
could not allege that defendant Quicken Loans, the             mo1tgage, argues that Plaintiffs claim against it for
originator of her mortgages before a subsequent transfer,      FDCPA violations must be dismissed (I) because to
"lacked standing" to initiate foreclosure "for the simple      invoke the protections of the FDCP A for a disputed debt,
reason that Quicken Loans ha[d] no interest [in] either        a consumer must notify the debt collector in writing of the
loan and ha[d] no role in the foreclosure proceedings").       dispute, which Plaintiff did not do (Dkt. #41 Pg. ID
Plaintiffs claim for wrongful foreclosure, therefore, is       1291); (2) because Defendant Nationstar did not have a
dismissed with prejudice as to Defendant CitiMortgage.         duty to verify the validity of the debt Plaintiff owed, and
                                                               therefore Plaintiff cannot set forth a plausible claim that
                                                               Defendant Nationstar "falsely represent [ed] the amount
                                                               of the debt" (/d. at Pg. ID 1292); and (3) because this
                                                               count of Plaintiffs amended complaint "contains
                                                               insufficient facts on which to put Nationstar on notice of
                                                               the allegations raised" (/d.).
 D. Violation of the Fair Debt Collection Practices Act
                                                               Plaintiff specifies for the first time in response to the
Plaintiff alleges that Defendants have violated various
                                                               motion to dismiss that he is claiming violations of 15
provisions of the Fair Debt Collection Practices Act
                                                               U.S.C. § 1692(e)(2), (e)(8), and (e)(JO). (0kt. #44 Pg. ID
("FDCPA"). Specifically, Plaintiff claims that Defendants
                                                               1374.) The court, however, will consider only those
violated the FDCPA by (a) "Failing to properly and
                                                               allegations Plaintiff set forth in the amended complaint, as
completely validate the debt of Counter Plaintiffs [sic]
                                                               outlined above.
despite numerous oral request [sic] and a written request
being made"; (b) "Initiating collection action on an
                                                               *7 Plaintiffs first and second allegations of FDCPA
erroneous debt, before validation, despite numerous
                                                               violations-that Defendants failed "to properly and
requests being made by Plaintiff'; and (c) "Using false
                                                               completely validate the debt of Counter Plaintiffs [sic]
representations as to the amount of the debts as a means
                                                               despite numerous oral request [sic] and a written request
to collect or attempt to collect the debt." (Dkt. #35 Pg. ID
                                                               being made" and that Defendants initiated "collection
1047.) Plaintiff also alleges that "Defendants violated
                                                               action on an erroneous debt, before validation, despite
Section 1692 of the Fair Debt Collection Practices Act by
                                                               numerous requests being made by Plaintiff'-fail as pied.
attempting to collect an amount for the debt which is not
                                                               Though the court is not sure to which FDCPA provisions
expressly authorized by the agreement creating the debt or
                                                               these claims relate, Plaintiffs allegations most clearly
permitted by law." (/d.)
                                                               invoke § 1692g, which concerns the validation of debts. A
                                                               debt collector is required under the act to cease collection
Defendant CitiMortgage contends that it cannot be liable
                                                               on a debt where "the consumer notifies the debt collector
for an FDCP A claim for the simple reason that it is not a
                                                               in writing" within 30 days after the receipt of a notice of
debt collector. (Dkt. #38 Pg. ID 1225.) The FDCPA,
                                                               debt; a debt collector may resume collection only after
which regulates certain conduct by debt collectors,
                                                               validating the debt and sending a verification of the debt
defines "debt collector" as a person who collects debts
                                                               to the consumer. § I 692g(b ). Here, Plaintiff has not
owed or due to another. 15 U.S.C. § 1692a(6). As
                                                               sufficiently alleged that he notified Defendant Nationstar,
Defendant CitiMortgage points out, however, where a
                                                               in writing, that he disputed the debt. Plaintiffs "numerous
party-like a bank-is "an actual, original, consumer
                                                               oral request [sic]," as alleged, would not activate the
creditor" collecting on its own account, that paity is
                                                               requirements of § l 692g(b ). Moreover, though Plaintiff
"exempted from the statutory definition of a 'debt
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references one "written request being made," the amended          complaint, which section of the FDCPA Plaintiff might be
complaint cites "Exhibits [sic] 12," attached to the              referencing. To the extent, then, that Plaintiff means to set
amended complaint, for this proposition; this exhibit (Dkt.       out a separate violation of the FDCP A by this language,
#35-13), is a letter styled as a "Qualified Written Request       the court will dismiss it.
Under RESP A" sent to Defendant CitiMortgage-not
Defendant Nationstar.

It is true that § l 692g(a) requires that debt collectors
provide consumers with certain information concerning
the debt it is trying to collect. But Plaintiff has not alleged
that Defendant Nationstar failed to provide this required              E. Violation of the Fair Credit Reporting Act
information. Rather, Plaintiff's amended complaint limits
                                                                  Defendants argue that Plaintiff's claim for violation of the
itself to the allegation that Defendant Nationstar did not
                                                                  Fair Credit Reporting Act ("FCRA") must be dismissed
validate the debt despite requests to do so. Because this
                                                                  because the provision of the FCRA he cites in the
requirement is triggered only by a written notice of
                                                                  amended complaint-15 U.S.C. § 1681s-2(a)-does not
dispute pursuant to § l 692g(b ), Plaintiff has not
                                                                  provide a private right of action. (Dkt. #38 Pg. ID 1226;
adequately alleged that Defendant Nationstar improperly
                                                                  Dkt. #41 Pg. ID 1293.) The Sixth Circuit has held that the
refused to validate the debt.
                                                                  FCRA provides a private right of action for violations of§
                                                                  168ls-2(b)-not § 1681s-2(a). Boggio v. USAA Fed. Sav.
The court disagrees with Defendant Nationstar, however,
                                                                  Bank, 696 F.3d 611,615 (6th Cir. 2012); see also Farris
that Plaintiff's claim for "[u]sing false representations as
                                                                  v. Morgan Stanley Dean Witter Credit Corp., No.
to the amount of the debts as a means to collect or attempt
                                                                  08-11851, 2010 WL 3023808, at *4 (E.D. Mich. July 29,
to collect the debt" should be dismissed. Though not
                                                                  2010) (Rosen, J.) ("There is no private cause of action for
cited, Plaintiff seems to refer to § l 692e, which prohibits
                                                                  consumers against furnishers of information for failure to
a debt collector from "us [ing] any false, deceptive, or
                                                                  comply with§ 1681 s-2(a).").
misleading representation or means in connection with the
collection of any debt." Plaintiff's amended complaint
                                                                  *8 Plaintiff has not responded to this precedent, and
alleges that "Plaintiff began receiving letters from
                                                                  instead block quotes-for three pages-the statutory
Defendant Nationstar Mortgage indicating they had no
                                                                  language of § 1681 s-2. (Dkt. #43 Pg. ID 1346-48; Dkt.
record of any payments since June of 2016, when in fact,
                                                                  #44 Pg. ID 1377-80). If Plaintiff meant to plead a
the money for the payments had been removed from
                                                                  violation of § 1681 s-2(b ), he has not done so. His
Plaintiff's bank account by Defendant Citimortgage."
                                                                  averment in the amended complaint that "[t]he
(Dkt. #35 Pg. ID 1041.) Plaintiff cites a letter from
                                                                  above-described conduct violated the Fair Credit
Defendant Nationstar, attached as an exhibit to the
                                                                  Reporting Act, including but not limited to, 15 USC §
amended complaint, dated September 2, 2016 (when
                                                                  1681 s-2(a)," (Dkt. #35 Pg. ID 1049), is insufficient to
Defendant Nationstar was still the servicer of Plaintiff's
                                                                  state a violation of § 1681 s-2(b ). Plaintiffs claim for
mortgage). (Dkt. #35-16.) The letter indicates that
                                                                  violation of § 1681 s-2( a) of the FCRA, therefore, is
Plaintiff's loan is "past due in the amount of $5, 199.63."
                                                                  dismissed with prejudice.
(Id) As noted above, the court will not now consider
whether or not this statement was false or misleading, as
to do so would be inappropriate on a motion to dismiss.
Plaintiff's allegation, therefore-that this statement was
false and an attempt to collect a debt-is sufficiently pied.

Plaintiff's remaining FDCPA claim-that Defendants                                        F. Quiet Title
attempted "to collect an amount for the debt which is not
expressly authorized by the agreement creating the debt or        Defendants argue that Plaintiff has not established a prima
permitted by law"-fails as insufficiently pied. The court         facie claim for quiet title because-as he was the one who
agrees with Defendant Nationstar that this claim does not         defaulted on the m01tgage-he has not alleged that he has
"contain sufficient factual matter, accepted as true, to          superior interest in the title to his property. (Dkt. #38 Pg.
'state a claim for relief that is plausible on its face.' "       ID 1227; Dkt. #41 Pg. ID 1294.) Defendant CitiMortgage
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell         fmther contends that Plaintiff's quiet title claim should be
At!. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The             dismissed as it relates to Defendant CitiMortgage because
court cannot tell, from the face of Plaintiff's amended           it "no longer claims an interest in the Prope1ty." (Dkt. #38
                                                                       ID
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                                                                  CitiMortgage's receipt of the request obviates any
Quiet title in Michigan is governed by Mich. Comp. Law            requirement to send it to a pmticular address and that he
§ 600.2932(1 ), which "codified actions to quiet title and        has adequately pied that Defendant CitiMortgage's
authorized suits to determine competing parties'                  RESP A violation caused his damages.
respective interests in land." Republic Bank v. l1tlodular
One, LLC, 591 N.W.2d 335, 337 (Mich. Ct. App. 1998),              *9 There appears no dispute that Defendant CitiMortgage
overruled on other grounds by Stokes v. Millen Roofing            did respond, in some fashion, to Plaintiff's RESPA
Co., 649 N.W.2d 371 (Mich. 2002). "In an action to quiet          request. The court has reviewed the response Defendant
title, the plaintiffs have the burden of proof and must           CitiMortgage claims it sent to Plaintiff, attached to
make out a prima facie case of title." Beulah Hoagland            Defendant CitiMortgage's motion (Dkt. #38-2), which the
Appleton Qual(fied Pers. Residence Tr. v. Emmet Czv               comt may properly consider because it was referred to in
Road Comm 'n, 600 N. W.2d 698, 700 (Mich. Ct. App.                Plaintiff's amended complaint (Dkt. #35 Pg. ID 1040-41 ).
1999). "If the plaintiffs make out a prima facie case, the        See Weiner v. Klais & Co., 108 F.3d 86, 89 (6th Cir.
defendants then have the burden of proving superior right         1997). Though Plaintiff does not specifically respond, in
or title in themselves." Id                                       his briefing, to the argument that Defendant
                                                                  CitiMortgage's letter sufficiently addresses his RESPA
The court agrees that Plaintiff cannot sustain a claim for        request, the comt cannot determine at this stage that the
quiet title against Defendant CitiMortgage, which does            response was adequate. Although the letter purports to
not claim an interest in the property. However, Defendant         include an "Escrow Analysis Disclosure Statement
Nationstar' s argument that Plaintiff cannot sustain a claim      (EADS) from April 19, 2016" (Dkt. #38-2 Pg. ID 1013),
of quiet title because of his default fails for the same          none is included as part of the exhibit. The court will not
reasons as the other default-related claims described             determine at this stage, therefore, that Defendant
above: this stage is inappropriate for a determination of         CitiMortgage is entitled to dismissal of the RESP A claim
whether there was a valid default. Plaintiff claims that his      on the basis that it adequately responded.
property was wrongly foreclosed on because of actions by
Defendants-namely, that they did not properly apply his           The court will similarly not dismiss the RESP A claim on
mortgage payments to his account. Plaintiff, therefore, has       the basis that Plaintiff's qualified written response
alleged that he has a superior claim to the property              amounted to a duplicative notice of error to which
sufficient to survive a motion to dismiss as to Defendant         Defendant CitiMortgage was not required to respond.
Nationstar.                                                       According to Defendant CitiMortgage's brief, "12 U.S.C.
                                                                  § 2605(g)(] )(i) states that a servicer is not required to
                                                                  respond if '[t]he asserted notice of error is substantially
                                                                  the same as an error previously asse1ted by the borrower
                                                                  for which the servicer has previously complied with its
                                                                  obligation to respond .... " (Dkt. #38 Pg. ID 1232.) This
                                                                  prov1s10n     of the        U.S.   Code-12 U.S.C.          §
G. Violation of the Real Estate Settlement Procedures             2605(g)(l )(i)-does not exist. Defendant CitiM01tgage,
          Act as to Defendant CitiMortgage                        apparently, intends to rely on 12 C.F.R. §
                                                                  1024.36(f)(l )(i), which provides that a servicer is not
Finally, Defendant CitiMortgage contends that it cannot
                                                                  required to respond to a qualified written request if "[t]he
be liable for Plaintiff's claim that it violated RESPA by
                                                                  information requested is substantially the same as
"fail[ing] to respond to Plaintiff's inquiry and make the
                                                                  information previously requested by the borrower for
necessary corrections to [his] mortgage, in violation of 12.
                                                                  which the servicer has previously complied with its
U.S.C. [§] 2605(e)." (Dkt. #35 Pg. ID 1052.) Defendant
                                                                  obligation to respond."
CitiMortgage contends that this claim must be dismissed
because (I) it did respond to Plaintiff's request (Dkt. #38
                                                                  Defendant CitiM01tgage cites an April 12, 2016 letter it
Pg. ID 1230); (2) its response was "adequate under the
                                                                  sent to Plaintiff (evidently in response to a letter sent by
statute" (Id. at Pg. ID 1230-31 ); (3) Plaintiff has not
                                                                  Plaintiff in late March 2016) that Plaintiff attached to his
adequately pied that the RESP A violation caused his
                                                                  amended       complaint.     (Dkt.    #35-6.)     Defendant
damages (Id. at Pg. ID 1232); (4) its response was not
                                                                  CitiMortgage contends that this letter adequately
required under RESP A because Plaintiff's letter amounted
                                                                  responded to Plaintiff's March 2016 letter, and that,
to a "duplicative notice of error" (Id. at Pg. ID 1232); and
                                                                  therefore, Plaintiff's June 2016 letter to Defendant
(5) Plaintiff sent his request to the incorrect address (Id. at
                                                                  CitiMortgage was duplicative and did not require a
Pg. ID 1233-35). Plaintiff focuses his response on two of
                                                                  response. Because this letter similarly does not include an
these     arguments,       contending      that    Defendant
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escrow analysis (though it cites the one that Defendant        regulation permitting a servicer to established a
CitiMortgage claims it "mailed to [Plaintiff! on July 20,      designated address-12 C.F.R. § l 024(c)-also requires
2015" (Dkt. #35-6 Pg. ID 1113)), the court cannot              the servicer to "post the designated address on any Web
conclude at this stage that Defendant CitiMortgage was         site maintained by the servicer if the Web site lists any
not required to respond to Plaintiffs June 2016 qualified      contact address for the servicer," an issue Defendant
written request. To do so would require the cou1i to find      CitiMortgage had omitted from its briefing. (0kt. #34 Pg.
that this initial (April 2016) response was adequate or        ID 1034.) The comi noted that it would need "some
provided Plaintiff with "substantially the same"               evidence" that Defendant CitiMmigage's purpmied
information he requested in the June 2016 letter. Based on     designated address in Hagerstown, MD "appeared on the
the information presently before the court, it cannot make     website at the time Plaintiff sent his inquiry." (Id.)
such a finding.
                                                               Defendant CitiMortgage has apparently attempted to
As to Defendant CitiM01igage's argument that Plaintiff         provide this evidence by noting in its motion to dismiss
has not adequately alleged that the RESPA violation            that "[c]urrently, [its] website states, " 'To submit a
caused his damages, Plaintiff responds that a RESP A           written Notice of Error, Request for Information or
violation does not require RESP A damages to be pied           Qualified Written Request, it must be sent to the
artfully. (Dkt. #43 Pg. ID 1353.) Plaintiff cites Marais v.    following designated address: CitiMortgage, Inc. P.O.
Chase Home Fin. LLC, 736 F.3d 711, 720 (6th Cir. 2013).        Box 6728 Sioux Falls, SD 57117-6728.[']" (0kt. #38 Pg.
In Marais, defendant Chase Home Finance, a servicer of         ID 1234.) The problem here, however, is that this does
the plaintiffs loan, argued that the plaintiffs RESPA          not cure the deficiency noted by the court-that it would
violation claim should be dismissed because the plaintiff      need evidence of the designated address on the website
had failed to allege a sufficient causal link between the      "at the time Plaintiff sent his inquily" Defendant
plaintiffs alleged damages and Chase's insufficient            CitiM01igage's averment that its website "currently" lists
response to her qualified written request under RESPA.         an address that Plaintiff did not use is insufficient.
The Sixth Circuit noted that two prior Sixth Circuit cases
"counsel[ ] against dismissal of RESP A claims on the
basis of inartfully-pleaded actual damages." Id. at 722.
The Sixth Circuit determined that the plaintiff had
sufficiently alleged causation by pleading that her higher
interest rates and Chase's provision of incorrect
information to consumer repo1iing agencies were caused                            IV. CONCLUSION
by Chase's insufficient response to her request. Id. at 721.
                                                               Defendant Nationstar has not demonstrated that it is
                                                               entitled to dismissal of ce1iain of Plaintiffs claims based
*10 Here, Plaintiff has alleged that Defendant
                                                               on the argument that he defaulted on his
CitiMortgage's failure to adequately respond to his letter
                                                               mortgage-namely Plaintiffs claims for breach of
caused his foreclosure, caused him to incur a higher
                                                               contract, wrongful foreclosure, and quiet title. Defendant
interest rate on the equipment he purchases for his
                                                               CitiMortgage is, however, entitled to dismissal on those
business, and caused him to be denied a business loan.
                                                               claims that allege wrongful activity in the foreclosure
(Dkt. #35 Pg. ID 1053.) In light of the Sixth Circuit's
                                                               itself, namely Plaintiffs claims for breach of contract,
guidance in Marais, the court finds that these allegations
                                                               wrongful foreclosure, and quiet title. Plaintiffs claims for
of damages are sufficient to withstand a motion to
                                                               promissory estoppel and violation of the FCRA § 1681
dismiss.
                                                               s-2(a) are legally insufficient and are dismissed with
                                                               prejudice. Plaintiffs claim for violations of the FDCPA
Finally, the comi rejects Defendant CitiMortgage's
                                                               are dismissed with prejudice as to Defendant
argument that it cannot be liable under RESPA because
                                                               CitiMortgage and dismissed in paii as to Defendant
Plaintiff did not send his notice of error to the correct
                                                               Nationstar. Plaintiffs claim against CitiM01igage for
address. Defendant CitiMortgage raised this same
                                                               violation of RESPA is sufficiently alleged at this stage.
argument in its opposition to Plaintiffs motion to amend
                                                               Accordingly,
his complaint. (Dkt. #33 Pg. ID 992.) The court "set[ ]
aside" the issue of"whether a failure to use an established
                                                               IT IS ORDERED that Defendants' Motions to Dismiss
address would be fatal to Plaintiffs statutory claim"
                                                               (Dkt. ##38, 41) are GRANTED IN PART and DENIED
because it was not obvious whether Defendant
                                                               IN PART.
CitiMortgage "had established a QWR mailing address."
(Dkt. #34 Pg. ID 1034.) The court noted that the
                                                               Specifically, as to Defendant CitiM01igage,         IT IS
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GRANTED in that Count I (Breach of Contract) is                     s-2(a)). Defendant Nationstar's motion to dismiss Count I
DISMISSED and the following claims are DISMISSED                    (Breach of Contract), Count III (Wrongful Foreclosure),
WITH PREJUDICE: Count II (Promissory Estoppel);                     and Count VI (Quiet Title) is DENIED. Defendant
Count III (Wrongful Foreclosure); Count IV (Violations              Nationstar's motion to dismiss Count IV (Violations of
of the Fair Debt Collection Practices Act); Count V                 the Fair Debt Collection Practices Act) is DENIED with
(violations of the Fair Credit Reporting Act § 1681                 respect to § 1692e; all other claimed violations of the
s-2(a)); and Count VI (Quiet Title). Defendant                      FDCP A are DISMISSED.
CitiMortgage's motion to dismiss Count VII (violation of
the Real Estate Settlement Procedures Act) is DENIED.
                                                                    All Citations
*11 As to Defendant Nationstar, IT IS GRANTED in that
the following claims are DISMISSED WITH                             Slip Copy, 2017 WL 5499400
PREJUDICE: Count II (Promissory Estoppel) and Count
V (Violations of the Fair Credit Repo1iing Act § 1681

Footnotes

        Though the court generally refers only to Plaintiffs Amended Complaint and the documents attached to it on a motion
        to dismiss, the court may also consider documents that are in the public record. Amini v. Oberlin College, 259 F.3d
        493, 502 (6th Cir. 2001). Plaintiffs initial mortgage, which is attached to Defendant CitiMortgage's Motion to Dismiss
        (Dkt. #41), is such a document.

2       Though Plaintiffs Amended Complaint names individual Zana Zaitouna as a Defendant, Defendant Zaitouna was not
        involved in these motions. Therefore, where the court refers to "Defendants" in the remainder of this order, it is
        referring only to Defendants CitiMortgage and Nationstar unless otherwise noted.




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                                                             pursuant to Eastern District of Michigan Local Rule
                 2012 WL 1902916
                                                             7.1 (f)(2), this matter will be decided on the briefs. This
   Only the Westlaw citation is currently available.         Opinion and Order sets forth the Court's ruling.
            United States District Court,
                  E.D. Michigan,
                 Southern Division.

              Darlene ELSON, Plaintiff,
                            V.
                                                                            FACTUAL BACKGROUND
    DEUTSCHE BANK NATIONAL TRUST
    COMPANY, Trustee, Argent Securities Inc.,                On March 9, 2006, Plaintiff Darlene Elson borrowed
  American Home M01tgage Servicing, Inc., Argent             $196,000.00 from Argent Mortgage Company, LLC
   Mortgage Company, LLC, Person who bought                  ("Argent"). To secure her indebtedness, Plaintiff executed
        prope1ty "John Doe," Defendants.                     a mortgage in favor of Argent on real property located at
                                                             23756 Philip Drive in Southfield, Michigan. Effective
                      No.   11-14100.
                                                             February 11, 2009, Argent, through its attorney-in-fact,
                                 I                           Citi Residential Lending, Inc., assigned the mortgage to
                      May 25,        2012.
                                                             Defendant Deutsche Bank National Trust Company, as
                                                             Trustee for Argent Securities, Inc., Asset-Backed
Attorneys and Law Firms                                      Pass-Through Certificates, Series 2006-WS, under the
                                                             Pooling and Servicing Agreement Dated May 1, 2006. On
Darlene Elson, Southfield, MI, pro se.                       October 29, 2010, the mortgage was assigned to Deutsche
                                                             Bank National Trust Company, Trustee for Argent
Dawn T. Yeaton, Martin S. Frenkel, Mark E. Plaza,            Securities, Inc. ("DBNTC").
Maddin, Hauser, Southfield, MI, for Defendants.
                                                             Plaintiff defaulted on the mortgage and, as a consequence,
                                                             DBNTC foreclosed on the property by advertisement,
                                                             pursuant to Michigan law. On March 8, 2011, the
                                                             property was sold at a sheriffs sale to DBNTC for
                                                             $48,750.00. A sheriffs deed was executed and recorded,
                                                             along with the sheriffs affidavit of the sale. The sheriffs
                                                             affidavit noted that the six-month redemption period
                                                             provided under M.C.L. § 600.3240(8) would end on
OPINION AND ORDER GRANTING DEFENDANTS
                                                             September 8, 2011.
   DEUTSCHE BANK AND AMERICAN HOME
MORTGAGE SERVICINGS' MOTION TO DISMISS
                                                             On August 23, 2011, shortly before the redemption period
                                                             expired, Plaintiff instituted this action in Oakland County
GERALD E. ROSEN, Chief Judge.                                Circuit Court. Defendants DBNTC and American Home
                                                             Mortgage Servicing, Inc. ("AHMS") removed the case to
                                                             this Court on September 20, 2011 on both federal
                                                             question and diversity of citizenship grounds.

                                                             In her Complaint, Plaintiff makes various allegations
                                                             regarding the mortgage loan origination and the
                   INTRODUCTION                              procedures involved in the foreclosure process. In Count
                                                             I, which is captioned "Breach of Contract," Plaintiff
*1 This matter is presently before the Court on the Fed. R
                                                             alleges that Defendants DBNTC and Argent Mortgage
Civ. P. 12(b)(6) Motion to Dismiss filed by Defendants
                                                             Company,      LLC     failed   to provide her with
Deutsche Bank National Trust Company and American
                                                             foreclosure-related notices as required by the mortgage
Home Mortgage Company.' Plaintiff Darlene Elson,
                                                             agreement.
proceeding pro se, has responded. Having reviewed the
parties' briefs and supporting evidence, the Court has       Although titled "Gross Negligence," in Count II Plaintiff
determined that oral argument is not necessary. Therefore,
                                                             alleges a claim of breach of duty to act in good faith and
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fair dealing. Count III contains further allegations that        Under Iqbal, this Comt must consider the plausibility of
Defendants breached the implied contractual duty of good         pleaded facts before making a determination as to whether
faith and fair dealing. In Count IV, Plaintiff alleges that      those facts, if true, give rise to a cause of action. Iqbal,
the foreclosure sale was wrongful because she did not             129 S.Ct. at 1949. As such, a complaint must surpass the
receive a notice of the pending foreclosure. There is no         realm of mere possibility and into that of plausibility. Id
Count V in the Complaint.                                        Accordingly, the Comt may consider sun-mmding context
                                                                 to distinguish plausible claims from possible claims. Id
Counts VI and VII are captioned "Abuse of Process and
Malicious Prosecution." However no process nor                   If in a Rule 12(b)(6) motion, matters outside of the
prosecution are pied. Rather, in these Counts, Plaintiff         pleadings are presented to the court, under Rule 12(d), the
alleges that Defendants' conduct during the loan                 motion must be treated as a Rule 56 motion for summa1y
origination violated the Truth-In-Lending-Act ("TILA").          judgment. However, documents attached to a motion to
In Count IX [the Complaint does not have a Count VIII],          dismiss that are refen-ed to in the complaint and central to
Plaintiff alleges violations of the Real Estate Settlement       the claims are deemed to form pait of the pleadings.
Procedures Act ("RESPA").                                        Greenberg v. l{fe Ins. Co. cd' Virginia, 177 F.3d 507, 514
                                                                 (6th Cir.1999); Armengau v. Cline, 7 Fed. Appx. 336, 344
*2    In Counts X-XIII, captioned "Fraudulent                    (6th Cir.200 I). Fmther, "[a] court may consider matters
Concealment, Fraudulent Misrepresentation, Negligent             of public record in deciding a motion to dismiss without
Misrepresentation," Plaintiff asserts that Defendants made       converting the motion to one for summary judgment."
a variety of misrepresentations during the loan closing. In      Commercial Money Ctr., Inc. v. !llinois Union Ins. Co.,
Count XIV Plaintiff claims that Defendants conspired to          508 F.3d 327, 336 (6th Cir.2007).
commit the fraud alleged in Counts X-XIII. Finally, in
Count XV, Plaintiff claims that she is entitled to relief        In the present case, Defendants have attached to their
under the Racketeer Influenced and C01Tupt Organization          motion copies of the mortgage, assignments of the
Act ("RICO") because Defendants used the interstate mail         mortgage, and the sheriffs deed and attachments thereto,
and wire systems to commit the fraud alleged in Counts           all of which have been duly recorded with the Oakland
X-XIII.                                                          County Register of Deeds. All of these documents, and
                                                                 the information within, are referenced in the Plaintiffs
                                                                 Complaint, and are central to Plaintiffs claims. These
                                                                 exhibits, therefore, may be deemed to form part of the
                                                                 original Complaint and, accordingly, may be considered
                                                                 in deciding Defendants' Rule I 2(b )(6) motion without
                                                                 converting it to a Rule 56 motion. See Greenberg v. l{fe
              APPLICABLE STANDARDS                               Ins. Co. of Va., 177 F.3d 507,514 (6th Cir.1999).
Fed.R.Civ.P. 12(b)(6) authorizes the Comt to dismiss a
complaint if it "fail[s] to state a claim upon which relief
can be granted ... " In evaluating a Rule 12(b)(6) motion,
the Court must view the complaint in the light most
favorable to the plaintiff and accept all well-pied factual
allegations as true. league of United Latin American                                    DISCUSSION
Citizens v. Bredesen, 500 F.3d 523, 527 (6th Cir.2007).
However, a plaintiffs factual allegations must rise above
the speculative level and be more than legal conclusions
or formulaic recitations of the elements of a cause of
action. Bell Atlantic Corp. v. Twombly, 550 U.S. 544,            A. PLAINTIFF LACKS STANDING TO CONTEST
555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007); see also            THE FORECLOSURE SALE.
Association of Cleveland Fire Fighters v. City of                *3 The Bank Defendants assert that Plaintiff lacks
Clevelanc/, Ohio, 502 F.3d 545, 548 (6th Cir.2007). This         standing and no longer has an interest in the Property,
standard of pleading does not require "pleading of               which is required to challenge foreclosure proceedings,
specifics, but only enough to state a claim for relief that is   including the sheriffs sale. The Court agrees. Once the
plausible on its face." Twombly at 570; see also Ashcrofi        redemption period following the foreclosure of a prope1ty
v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1950, 173 L.Ed.2d        expired, Plaintiffs rights in, and title to, the prope1ty were
868 (2009).                                                      extinguished, and she lost all standing to bring claims
                                                                 with respect to the property. This principle is well
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established in Michigan law.                                                   proceedings began. Plaintiff made
                                                                               no attempt to stay or otherwise
In Piotrowski v. State land Office Board, 302 Mich. 179,                       challenge the foreclosure and
4 N.W.2d 514 (1942), the Michigan Supreme Court held                           redemption sale. Although he filed
that the m01igagors in that case had "lost all their rights,                   his suit before the redemption
title, and interest in and to the property at the expiration of                period      expired,    that   was
their right of redemption." Id. 302 Mich. at 185, 4 N.W.2d                     insufficient to toll the redemption
at 516. The Piotrowski standard has been consistently                          period. The law in Michigan does
applied by Michigan state and federal courts to bar fonner                     not allow an equitable extension of
owners from making any claims with respect to                                  the period to redeem from a
foreclosed property after the end of the redemption                            statutory foreclosure sale m
period. See e.g., Stein v. U.S. Bancorp. 201 I WL 740537                       connection with a mortgage
(E.D.Mich.Feb.24, 2011 ); Overton v. Mortg. £lee.                              foreclosed by advertisement and
Registration Sys ., 2009 WL 1507342 (Mich.App. May                             posting of notice in the absence of
28, 2009) (dismissing former owner's claim of fraud                            a clear showing of fraud or
where redemption period had expired); Kama v. Wells                            irregularity.
Fargo Bank, 2010 WL 4386974, *2 (E.D.Mich., Oct.29,
20 I 0) (dismissing plaintiff's claims for violation of the       *4 Id. (citations omitted). See also lvloriarity v. BNC
foreclosure statute, to quiet title and for promissory            Mortgage, Inc., 2010 WL 5173830 at * 2 (E.D.Mich.,
estoppel because redemption period had expired);                  Dec. I 5, 20 I 0) (suit filed one month before the expiration
Moriarty v. BNC Mortg., Inc., 2010 WL 5173830                     of the redemption period expired, same); Napso v. Wells
(E.D.Mich.Dec.15, 20 I 0) (dismissing action seeking a            Fargo Bank, N.A., 2011 WL 1575372 (E.D.Mich.,
declaratory judgment voiding foreclosure proceedings).            Apr.26, 2011) (suit filed one day before the redemption
                                                                  period expired, same); Milan v. Federal Home loan lvftg.
Here, the redemption period expired on September 8,               Corp., 2011 WL 4837502 at * 2(E.D.Mich., Sept.22,
2011. Plaintiff has not alleged or pied any facts that            2011) (suit filed two weeks prior to expiration of the
indicate that she timely attempted to redeem the property.        redemption period, same); Galati v. Wells Fargo Bank,
Because Plaintiff failed to redeem the property before the        2011 WL 5178276 a t - - 3-4 (E.D.Mich., Nov.I, 2011)
redemption period expired, DBNTC became vested with               (suit filed three weeks before the expiration of the
"all right, title and interest" in the property by operation      redemption period, same); Gendiar v. BAC Home loans
of law. At that point, Plaintiff, the former owner, lost          Servicing, l.P .. 2012 WL 130139 (E.D.Mich., Jan.17,
standing to assert claims with respect to the property.           2012) (suit filed on day that redemption period expired,
Overton v. Mortgage Electronic Registration Sys., Inc.,           same); Dingeman v. One West Bank FSB, 2012 WL
supra; Kama v. Wells Fargo Bank, supra.                           884357 at - - 3-4 (E.D.Mich., Mar.14, 2012)
                                                                  (plaintiffs' suit filed four days before the expiration of the
This outcome is not altered by Plaintiff's filing of this         redemption period did not toll the redemption period and
lawsuit on August 23, 2011, two weeks before the                  plaintiffs' failure to redeem prior to the expiration of the
expiration of the redemption period. Overton, supra, 2009         period tenninated their standing to assert defects in the
WL 1507342 at * I (holding that the plaintiffs filing of          foreclosure proceedings and/or the sheriff's sale).
his lawsuit one month before the expiration of the
redemption period did not toll the redemption period and          In short, once the redemption period expired on August
once that period expired, the plaintiff lacked standing to        23, 2011, Plaintiff lost standing to maintain any action to
challenge the foreclosure proceedings). As the Michigan           quiet title or to assert any defect in the foreclosure
Court of Appeals explained in Overton:                            proceedings.

             Plaintiffs suit did not toll the                     While the redemption period can be tolled, "[t]he law in
             redemption period. Plaintiff is                      Michigan does not allow an equitable extension of the
             simply trying to wage a collateral                   period to redeem from a statutory foreclosure sale in
             attack on the foreclosure of the                     connection with a mortgage foreclosed by advertisement
             property. Even if his asse1iions                     in the absence of a clear showing of fraud or irregularity."
             were true and the cases he cites                     Schulthies v. Barron, 16 Mich.App. 246, 247-48, 167
             indeed supported his arguments,                      N.W.2d 656 (2007); see also Sweet Air Investment, Inc.,
             plaintiff was required to raise the                  v. Kenney, 275 Mich.App. 492, 497, 729 N. W.2d 656
             arguments      when     foreclosure                  (2007) ( "The Michigan Supreme Court has held that it
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would require a strong case of fraud or irregularity, or         Hi-Way Motor Co, supra. Plaintiff's bare allegations that
some peculiar exigency, to wmnnt setting a foreclosure           Defendants failed to send her the notices referenced in the
sale aside." Id., quoting United States v. Garno, 974            mortgage contract and failed to comply with the
F.Supp. 628, 633 (E.D.Mich., 1997), ( citing Detroit Trust       requirements of M.C.L. § 600.3204, et seq., do not come
Co. v. Agozzinio, 280 Mich. 402, 405-406, 273 N.W. 747           close to making the required strong showing of fraud.
( I 937), and Calaveras Timber Co. v. Michigan Trust Co.,
278 Mich. 445,450,270 N.W. 743 (I 936)).)                        Fmther, even if Plaintiff could make a showing that the
                                                                 foreclosure sale was somehow defective, she would not
Furthennore, filing an action challenging the validity of        be able to set aside the sheriff's deed. In Michigan "a
the foreclosure sale is insufficient to toll the redemption      defect in notice renders a foreclosure sale voidable and
period. Overton v. Mortg. Elec. Registration Sys., 2009          not void." Jackson Investment Corp. v. Pittsfield Prods.
WL 1507342, *I; see also Dingman v. One West Bank,               Inc., 162 Mich.App. 750, 756, 413 N.W.2d 99 (1987).
2012 WL 884357, *4 (E.D.Mich., March 14, 2012);                  The intent of the comt's ruling in Jackson Investment was
Galati v. Wells Fargo Bank, 2011 WL 5178276, *3-4                to give security to the title for real prope1ty and allow for
(E.D.Mich., Nov.I, 201 I); Nqfso v. Wells Fargo Bank,            an examination of whether any harm was caused by the
2011 WL 155372 (E.D.Mich., April 26, 201 I). Plaintiff           defect. Id. Thus, a sheriff's sale should not automatically
filed this action on August 23, 2011, however, the               be nullified without first examining the harm suffered by
redemption period expired on September 8, 2011.                  the mortgagor or the interests of intervening third parties.
Plaintiff has not alleged or pied any facts that indicate that   Id. In a case where "the mortgagor would have been in no
she timely attempted to redeem the property. Thus, unless        better position had notice been fully proper and the
Plaintiff can make a "clear showing" of fraud or                 mortgagor lost no potential oppmtunity to preserve some
irregularity, no equitable extension of the redemption           or any portion of his interest in the property," this is
period is pennitted and Plaintiff will lack the necessary        especially true. Id. See also Sweet Air Investment, Inc. v.
standing to challenge the validity of the foreclosure.           Kenney, supra, 275 Mich.App. at 503, 739 N. W.2d 656
                                                                 (holding that a defect in the foreclosure notice was
*5 In order to establish a claim for fraud or                    insufficient grounds to invalidate the foreclosure sale,
misrepresentation under Michigan law, a plaintiff must           because of a lack of prejudice). In Sweet Air, the
demonstrate that:                                                defendant property-owners waited until the plaintiff
                                                                 instituted eviction proceedings against them to challenge
  (I) the defendant made a material misrepresentation;           the foreclosure sale. Sweet Air. 275 Mich.App. at 503,
                                                                 739 N. W.2d 656. The defendants made no effort to timely
  (2) it was false;                                              challenge the validity of the foreclosure sale or to redeem
                                                                 the property within the redemption period. Id. Based on
  (3) when the defendant made it, he knew that it was            those facts, the court concluded that no prejudice had
  false, or made it recklessly, without any knowledge of         been shown. Id.
  its truth, and as a positive assertion;
                                                                 *6 In the case at bar, Plaintiff cannot show that she was
  (4) he made it with the intention that it should be acted
                                                                 prejudiced from any alleged defect in the notice. Plaintiff
  upon by the plaintiff;
                                                                 admits that she received a notice of default and that she
  (5) the plaintiff acted m reliance upon the false              was aware that she had fallen behind on her mortgage
  misrepresentation; and                                         payments. Comp!. ,r 29. Plaintiff has not pied facts nor
                                                                 has she presented any evidence that the alleged defect in
  (6) the plaintiff thereby suffered injury.                     notice (I) prevented her from making a bid at the sale; (2)
                                                                 that she had the funds to outbid the highest bidder at the
Aerospace America, Inc. v. Abatement Technologies, Inc.,         sale, let alone pay the entire unpaid balance owing on the
738 F.Supp. 1061, 1068 (E.D.Mich.1990) (citing Hi-Way            loan; or (3) that she attempted to redeem the prope1ty
Motor Co. v. International Harvester Co., 398 Mich. 330,         during the redemption period. Indeed, Plaintiff does not
247 N.W.2d 813, 816 (1976)). Each of the above                   indicate how the alleged defects in the m01tgage process
elements must be established by the plaintiff by clear,          prejudiced her. Instead, she simply alleges that the
satisfactory and convincing evidence. Id.; Youngs v.             foreclosure occmTed as a proximate result of the failure to
Tuttle Hill Corp.. 373 Mich. 145, 147, 128 N.W.2d 472            provide the required documents. Because Plaintiff has
(1964); Hi-Way 1'v!otor Co. supra, 398 Mich. at 336, 247         failed to show that there existed a strong case of fraud or
N.W.2d 813. Fmther, all of the elements must be found to         irregularity, Plaintiff lacks standing to challenge any
exist; the absence of any one of them is fatal to recovery.      alleged defects in the foreclosure.
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                                                                *7 In Count II and III of her Complaint, Plaintiff alleges
                                                                that Defendants were obligated to act with good faith and
                                                                to deal fairly with Plaintiff.2 Assuming that Plaintiff has
                                                                pied facts sufficient to give rise to a claim for breach of an
                                                                implied duty of good faith and fair dealing, no such cause
B. PLAINTIFF HAS FAILED TO STATE A CLAIM                        of action is cognizable under Michigan law. See Fadale v.
FOR BREACH OF CONTRACT OR WRONGFUL                              Waste lv!anagement of Michigan, Inc., 271 Mich.App. 11,
FORECLOSURE                                                     718 N.W.2d 827 (2006) (citing Belle Isle Grill Corp. v.
In Count I, Plaintiff alleges a claim of breach of contract     Detroit, 256 Mich.App. 463, 476, 666 N.W.2d 271
predicated upon Defendants alleged failure to provide her       (2003)) (holding that Michigan law "does not recognize a
with certain notices. Similarly, in Count IV, Plaintiff         cause of action for breach of the implied covenant of good
complains that she did not receive the notice of the            faith and fair dealing.")'
invocation of the power of foreclosure as required under
MCL § 600.3208.

Pursuant to her mortgage agreement, Plaintiff was entitled
to receive a notice of the default that specifies the action
required to cure, a date by which the default must be           D. PLAINTIFF'S TILA AND RESPA CLAIMS ARE
cured, and that failure to cure the default may result in       TIME BARRED
acceleration. See Comp!. ,r,r 33, 42; Mo1tgage Agreement,       While Counts VI and VII are titled "Abuse of Process and
Defendants' Ex. A, ,r 22. The mortgage agreement also           Malicious Prosecution," Plaintiff alleges in these counts
requires the Lender give notice to the mmtgagor in the          only that Defendant Argent Mortgage Company violated
event that it decides to invoke the power of sale.              the Truth-in-Lending Act ("TILA") in making certain
Defendants' Ex. A, ,r 22.                                       representations to her at the mortgage loan closing, and
                                                                Defendant DBNTC acted in conceit with Argent. In
Although within Count I in ,r,r 42-43, Plaintiff claims that    Count IX, Plaintiff claims that Defendants violated the
she never received any notices from the Defendants, in an       Real Estate Settlement Procedures Act ("RESP A").
earlier section of the Complaint, Plaintiff admits that she     Claims for damages under TILA and RESPA are subject
received a notice of default at some point in 20 I 0. Comp!.    to the statutes of limitations set forth in 15 U.S.C. § 1640
,r 29. Plaintiffs allegations are not only contradicted by      and 12 U.S.C. § 2614.
her own statements, they are further undermined by the
documentation attached to, and recorded with, the
sheriffs deed. This documentation includes an affidavit
of an employee of Potestivo & Associates P.C. (counsel
for DBNTC's mortgage servicer) stating that she sent the
notice of default to the Plaintiff on October 8, 20 I 0. Def.     I. Plaintiffs TILA Claim is Time Barred by a I-year
Ex. D p. 3. The documentation also includes an affidavit          Statute of Limitations and a 3-year Statute of Repose.
of posting, which evidences that the foreclosure sale           15 U.S.C. § 1640(e) provides, "any action under this
notice was affixed in a conspicuous place upon Plaintiffs       section may be brought ... within one year from the date
premises. Def. Ex. D p. 3 p. 5. In light of this                of the occurrence of the violation." In the present case,
documentary evidence, the Court finds that Plaintiffs           Plaintiffs claims for damages are based on alleged wrong
Complaint fails to state a plausible claim of breach of         doings that occmTed before or at the closing of the
contract or wrongful disclosure based on the alleged            mmtgage on March 9, 2006. In order to bring claims
failure of Defendants to provide her with notices of            under TILA, Plaintiff would have had to have initiated
default or of the foreclosure sale. Therefore, Counts I and     this action by March 9, 2007. However, Plaintiff did not
IV must be dismissed under the standard outlined in             file her Complaint until August 26, 2011-more than five
Igbal.                                                          years after the closing of the loan. As such, Plaintiffs
                                                                TILA claims are time-barred.

                                                                When fraudulent concealment is established the TILA
                                                                statute of limitations is subject to equitable tolling. Mills
                                                                v. Equicredit Corp., 294 F.Supp.2d 903, 908
C. PLAINTIFF CANNOT RECOVER FOR A                               (E.D.Mich.2003), affd, 172 Fed. Appx 652 (6th
BREACH OF THE IMPLIED DUTY OF GOOD                              Cir.2006); Jones v. TransOhio Savs. Ass 'n., 747 F.2d
FAITH AND FAIR DEALING                                          1037, 1041 (6th Cir.1984). To establish fraudulent
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concealment a plaintiff must show that "(1) the defendant      Plaintiff appears to be relying on Section 2604 of RESP A
took affirmative steps to conceal the plaintiffs cause of      which requires lenders to provide borrowers with a
action; and (2) the plaintiff could not have discovered the    special information booklet that includes "a good faith
cause of action despite exercising due diligence." Mills,      estimate of the amount or range of charges for specific
294 F.Supp.2d at 908; see also Jarrett v. Kassel, 972 F.2d     settlement services the b01Tower is likely to incur in
1415, 1423 (6th Cir.1992), cert. denied, 507 U.S. 916,         connection with the settlement...." Even assuming
113 S.Ct. 1272, 122 L.Ed.2d 667 (1993).                        arguendo that Defendants failed to provide such an
                                                               estimate, Plaintiff is not entitled to recovery because there
Plaintiff accuses Defendants of concealing facts that          is no private right of action under Section 2604. See, e.g.
would have led her to discover this cause of action.           Marshall-Ford v. Wells Fargo Mortgage, 2009 WL
However, Plaintiffs allegation is conclusory as she pleads     2849524 (E.D.Mich. Aug.31, 2009); Koc:::ara v. lnc~vMac
no facts support her claim. Such conclusory allegations        Bank, 2011 WL 379422 (E.D.Mich. Feb.3, 2011); Carr v.
cannot provide a basis for equitable tolling. See e.g. In re   Home Tech Co., Inc., 476 F.Supp.2d 859, 869
Community Bank of Northern Virginia, 467 F.Supp.2d             (W.D.Tenn.2007); see also Collins v. F!v!HA-USDA, 105
466, 479 (W.D.Pa.2006) (holding that a plaintiff must          F.3d 1366, 1367-68 (I Ith Cir.1997).
plead facts showing that a defendant actively sought to
mislead the borrowers in order to lull them into failing to    Plaintiff also complains that Defendant Argent Mo1tgage
make a claim under TILA). Moreover, Plaintiff has not          Company held a pre-sold loan for Defendant DBNTC.
demonstrated that, despite exercising due diligence, the       Plaintiff has not provided any factual basis for her
cause of action could not have been discovered.                accusation that the loan was pre-sold. As such, the alleged
Therefore, Plaintiffs TILA claims are time ban-ed by the       pre-sold loan lies in the realm of what is possible, not
statute of limitations.                                        what is probable as required by Federal Rule of Civil
                                                               Procedure 8(a)(2). See Iqbal, 129 S.Ct. at 1949.
*8 TILA claims are also subject to a three-year statute of     Moreover, Plaintiff has not established how such a
repose. Statutes of repose limit the time in which an          pre-sold loan would violate RESP A. Thus, with respect to
action can be brought, regardless of whether the injury        the pre-sold loan, Plaintiff has not stated a claim upon
has occurred or has been discovered. Pursuant to 15            which relief can be granted.
U.S.C. § I 635(f), "An obligor's right of rescission shall
expire three years after the date of consummation of the       RESP A further requires that "[a]ny action pursuant to the
transaction[.]" Thus, any action under TILA that seeks a       provisions of section 2605, 2607, or 2608 of this title may
rescission of the loan agreement must be brought within        be brought ... within 3 years in the case of a violation of
three years of the loan closing. In the present case,          section 2605 of this title and I year in the case of a
Plaintiff did not file her complaint until August 26, 2011,    violation of section 2607 or 2608 of this title from the
but the closing occurred on March 9, 2006. More than           date of the occurrence of the violation .... " 12 U.S.C. §
five years passed between the closing of the loan and the      2614. Section 2605 addresses the requirements of
filing of the instant action. Unlike the statute of            disclosures, while section 2607 covers fee splitting
limitations, tolling principles do not apply to statutes of    arrangements. Courts have held that the one-and
repose because they are meant to serve as a cut-off. See       three-year limitation periods begin to run on the date of
lamp{v. Gilbertson, 501 U.S. 550, 363, 111 S.Ct. 2773,         the closing of the mo1tgage loan. See e.g., Snow v. First
115 L.Ed.2d 321 (1991). Thus, even if Plaintiff had            American Title Ins. Co., 332 F.3d 356, 359-60 (5th
established concealment sufficient to toll the statute of      Cir.2003); Vatomanyuk v. Quality loan Service COip. of
limitations, TILA's statute of repose bars Plaintiff from      Wash., 699 F.Supp.2d 1242. 1244 (W.D.Wash.2010);
rescinding the loan transaction.                               Palmer v. Homecomings Financial llC, 677 F.Supp.2d
                                                               233, 237 (D.D.C.20 IO); Kamara v. Columbia Home
                                                               loans, LLC, 654 F.Supp.2d 259, 265 (E.D.Pa.2009);
                                                               Paskin v. TD Banknorth, 687 F.Supp.2d 530, 550-53
                                                               (W.D.Pa.2009).

   2. Plaintiff's RESPA Claims are not Actionable and are      *9 Both of the allegations that give rise to Plaintiffs
   Barred by !-and 3-year Statutes of limitations              RESP A claims would have occurred at the time of the
In her Complaint, Plaintiff does not specify which             closing of the mortgage on March 9, 2006. As this action
provisions of RESPA Defendants allegedly violated.             was filed on August 23, 2011, more than five years after
Instead she cites two instances of alleged wrongdoing. In      the closing, even if Plaintiff had a right of action under
the first instance she accuses the Defendants of failing to    RESPA for the violations alleged in her Complaint, any
provide her with a "good faith estimate." In this regard,
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such claim would be bmTed by RESP A's threeyear statute         E. PLAINTIFF'S FRAUD-BASED CLAIMS MUST
of limitations.' Marshall-Ford v. Wells Fargo 1vfortgage,       BE DISMISSED FOR FAILURE TO PLEAD WITH
2009 WL 2849524 at *3.                                          PARTICULARITY
                                                                *10 Michigan law comports with the requisites of
As such, the claims Plaintiff brings under RESP A are           Fed.R.Civ.P. 9 with regard to pleading special matters.
time-barred, unless equitable tolling applies. The Sixth        See MCR 2.112. Rule 9(b) requires that "[i]n alleging
Circuit has not officially addressed whether equitable          fraud or mistake, a party must state with particularity the
tolling applies to RESP A. However, it has recognized that      circumstances constituting fraud or mistake." 5 Though
many district courts have found tolling applicable. See         Fed.R.Civ.P. 8 requires only "a short, plain statement of
Egerer v. Woodland Realty, Inc., 556 F.3d 415,421 n. 10         the claim," the Sixth Circuit has instructed that when
(6th Cir.2009) (collecting cases). A majority of the district   fraud is alleged, Rule 8 is to be read in conjunction with
comis have held that equitable tolling applies to RESPA         Rule 9. U.S. ex rel. Bledsoe v. C,nty. Health Sys., Inc...
claims for the I-and 3-year statutes of limitations. See,       50 I F.3d 493 (6th Cir.2007). The Sixth Circuit has further
e.g., Minier v. Wells Fargo Bank, N.A., 675 F.Supp.2d           interpreted Rule 9(b) to require that a plaintiff allege (I)
591, 594-95 (D.Md.2009); Blaylock v. First American             "the time, place, and content of the alleged
Title    Ins.    Co.,   504    F.Supp.2d     I 091,    1107     misrepresentation," (2) "the fraudulent scheme," (3) the
(W.D.Wash.2007); Mullinax v. Radian Guaranty Inc.,              defendant's fraudulent intent, and (4) the resulting injury.
 199 F.Supp.2d 311, 328 (M.D.N.C.2002); Pedraza v.              Id.
United Guaranty Corp., 114 F.Supp.2d 1347, 1353
(N.D.Ga.2000); Kerby v. Mortgage Funding Corp., 992             As detailed by Defendants in their brief, Plaintiff's
F.Supp. 787, 793-96 (D.Md.1998); Moll v. U.S. l[fe Title        Complaint contains insufficient factual allegations to
Ins. Co. of N. Y., 700 F.Supp. 1284, 1286-89                    satisfy these particularity standards and demonstrates that
(S.D.N.Y.1988). Additionally, as noted above, the Sixth         Plaintiff has failed to state a claim of fraud. Specifically,
Circuit has applied equitable tolling to the TILA. See          all of Plaintiff's claims of fraud and misrepresentation are
Jones v. TransOhio Sav. Ass'n, 747 F.2d 1037, 1041 (6th         alleged "upon information and belief." Complaint ,i,i
Cir.1984). Therefore, for purposes of Defendant's motion,       20-23.'· While a plaintiff may allege fraud upon
the Court will assume that equitable tolling applies to         information and belief when the evidentiary support for
RESP A, as well.                                                such allegations is solely within the other party's control,
                                                                such allegations "must be accompanied by a statement of
The Sixth Circuit has outlined five factors that are            facts upon which the belief is founded." Picard Chem.
relevant when determining whether to toll a statute of          Inc. Profit Sharing Plan v. Perrigo Co., 940 F.Supp.
limitations. These are: (I) lack of notice of the filing         110 I, 1127 (W.D.Mich.1996), see also City of Pontiac
requirement; (2) lack of constructive knowledge of the          Gen. Employees' Rel. Sys. v. ShJ·ker Corp., 2011 WL
filing requirement; (3) diligence in pursuing one's rights;     2650717 (W.D.Mich. July 6, 2011 ). Here, Plaintiff has
(4) absence of prejudice to the defendants; and (5)             included no facts upon which her allegations of fraud are
plaintiff's reasonableness in remaining ignorant of the         founded. Bare allegations do not meet the heightened
particular legal requirement. Truitt v. Cnty. of Wayne, 148     requirements of Rule 9. In fact, they do not even meet the
F.3d 644, 648 (6th Cir.1998). Additionally, as the Sixth        more relaxed requirements of Rule 8. See Ashcroft v.
Circuit noted in Egerer v. Woodland Realty, supra, in           Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d
order to establish equitable tolling by the doctrine of         868, (2009) ("The plausibility standard is not akin to a
fraudulent concealment, the plaintiff must allege and           "probability requirement," but it asks for more than a
establish that: (1) defendants concealed the conduct that       sheer possibility that a defendant has acted unlawfully").
constitutes the cause of action; (2) defendants'                Because part of purpose of the heightened pleading
concealment prevented plaintiffs from discovering the           standard of Rule 9 is to prevent the "fishing expedition"
cause of action within the limitations period; and (3) until    that Plaintiff appears to be seeking, her claim of fraud
discovery, plaintiffs exercised due diligence in trying to      must be dismissed for failure to state a claim. United
find out about the cause of action. Egerer, 556 F.3d at         States ex rel. Bledsoe v. C,nty Health Sys., Inc., 50 I F.3d
422. Plaintiff has failed to allege any facts that would        493, 503 n. 11 (6th Cir.2007).
establish entitlement to equitable tolling under either
framework.                                                      In the alternative, Plaintiff also alleges that Defendants
                                                                negligently misrepresented her eligibility for the loan.
                                                                Notwithstanding that the present Defendants were not
                                                                involved in the loan origination process, in order to state a
                                                                claim for negligent misrepresentation under Michigan
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law, Plaintiff must prove that "[s]he justifiably relied to      claim for conspiracy. Plaintiff has not provided any facts
h[er] detriment on information prepared without                  tending to show that Argent Mortgage Company
reasonable care by one who owed the relying party [i.e.,         conspired with Deutsche Bank National Trust Company
the Plaintiff] a duty of care." Fejede/em v. Kasco, 269          to commit fraud beyond bare asse1tions of liability. As
Mich.App. 499, 502, 711 N.W.2d 436, 437 (2006)                   such, Plaintiff has failed to meet the pleading
(internal quotations omitted). The elements of negligent         requirements of Rule 8. Id.
misrepresentation are: "(I) a material misrepresentation
by the defendant; (2) the representation was                     Further, in order to state a claim for civil conspiracy, a
unintentionally false; (3) the representation is made in         plaintiff must allege facts showing that two or more
connection with the contracts formation; (4) the defendant       Defendants by some concerted action engaged in a plan
and plaintiff were in privity of contract; (5) the plaintiff     "to accomplish a criminal or unlawful purpose, or to
acted in reliance on the defendants misrepresentation; (6)       accomplish a lawful purpose by criminal or unlawful
resulting damages to the plaintiff; and (7) the plaintiffs       means." Temborius v. Slatkin, 157 Mich.App. 587, 599,
damages inured to the defendant's benefit." Sipes v.             403 N.W.2d 821,827 (1986). Plaintiff has failed to allege
Kinetra, LLC, 137 F.Supp.2d 90 I, 910 (E.D.Mich.200 I).          that Defendants had a criminal or unlawful purpose or
                                                                 that they used criminal or unlawful means to accomplish a
*11 Plaintiff has failed to state a claim for negligent          lawful purpose. As such, Plaintiff has failed to state a
misrepresentation because, according to Michigan law, a          claim of conspiracy.
lender does not owe a duty of care to a loan applicant to
ensure his or her eligibility for the loan. See Ulrich v. Fed.
land Bank of St. Paul, 192 Mich.App. 194, 198-99, 480
N.W.2d 910, 912-13 (1991) (holding that a lender did not
have a legal duty to exercise reasonable care in
detennining the plaintiffs eligibility for a loan); see also     G. PLAINTIFF HAS FAILED TO STATE A CLAIM
Ya/du v. Bank of America Corp., 700 F.Supp.2d 832                FOR RELIEF UNDER THE RACKETEER
(E.D.Mich.2010) (holding that Michigan would not                 INFLUENCED AND CORRUPT ORGANIZATION
impose a duty of care on lenders with respect to loan            ACT
applicants).                                                     In Counts XV, XVI, and XVII, Plaintiff claims Defendant
                                                                 is liable under the Racketeer Influenced and Co1rnpt
Further, even if the lender owed a duty of care, Plaintiff       Organization Act, 18 U.S.C. § 1962(c) ( "RICO"). A
has failed to allege the elements of negligent                   Plaintiff may seek civil damages for violations of RICO
misrepresentation. Specifically, Plaintiff has not alleged       when the complaint alleges: "(I) conduct, (2) of an
any facts tending to show that Defendants DBNTC and              enterprise (3) through a pattern (4) of racketeering
AHMS made any material misrepresentations during the             activity. The plaintiff must, of course, allege each of these
closing. Instead she relies on the same allegations made         elements to state a claim." Sedima, S.P.R.l. v. lmrex Co.,
upon information and belief that she relies on for her           Inc., 473 U.S. 479, 496 (1985). In the present case,
fraud claim. As noted above, such bare allegations are           Plaintiff has not alleged a pattern of acts, or even specific
insufficient to state a claim under Rule 8. See Iqbal, 556       acts, that satisfy the definition of "racketeering activity"
U.S. at 678 ("To survive a motion to dismiss, a complaint        under § 1961 (1 ). See Brown v. Cassens Tramport Co.,
must contain sufficient factual matter, accepted as true, to     546 F.3cl 347, 352-56 (6th Cir.2008). Plaintiff simply
"state a claim to relief that is plausible on its face").        asserts that the Defendants committed the fraud alleged in
                                                                 Counts X-XIV and that they used the mail system to
                                                                 communicate with her and each other. Without any
                                                                 factual basis, these statements are at best conclusory, and
                                                                 wholly insufficient to withstand a motion to dismiss.
                                                                 Twombly, 550 U.S. at 555.
F. PLAINTIFF HAS FAILED TO STATE A
CONSPIRACY CLAIM
In Count XIV Plaintiff asserts that the Defendants
conspired with one another to commit the fraud alleged in
Counts X-XIII. Because the fraud claims will be
dismissed due to Plaintiffs failure to plead fraud with the
requisite particularity required by Rule 9, her claims of                              CONCLUSION
civil conspiracy must also be dismissed. Moreover, even
                                                                 *12 For the foregoing reasons, the Cou1t concludes that
if Plaintiff had stated a claim of fraud, she has not stated a
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Plaintiff has failed to state any claim upon which relief                M01igage Servicing, Inc. 's Motion to Dismiss (Dl<t. # 7)
may be granted. Although it is the practice of this Court to             be, and hereby, is GRANTED. Accordingly,
provide an opportunity to amend when a plaintiff is faced
with a dismissal that is readily curable, here, amendment                IT IS FURTHER ORDERED that Plaintiffs Complaint
of Plaintiff's complaint would be futile. As discussed                   against Deutsche Bank National Trust Company,
above, Plaintiff lacks standing to contest the foreclosure               Trustee for Argent Securities, Inc., and American Home
due to the expiration of the period of redemption and her                Mortgage Servicing, Inc. be, and hereby is, DISMISSED,
remaining claims are either barred by the statute of                     in its entirety, WITH PREJUDICE.
limitations and/or are not cognizable under applicable
law. Subsequent amendment would not cure these defects.
Therefore, for the reasons stated in this opinion, dismissal             All Citations
of Plaintiff's complaint is warranted. Accordingly,
                                                                         Not Reported in F.Supp.2d, 2012 WL 1902916
IT IS HEREBY ORDERED that Defendants Deutsche
Bank National Trust Company and American Home

Footnotes

       The only other named Defendant, Argent Mortgage Company, LLC, was never served and the summons expired on
       November 22, 2011. Accordingly, an Order has been issued directing Plaintiff to show cause why Argent should not be
       dismissed pursuant to Fed.R.Civ.P. 4(m).

2      Although Count II is captioned "Gross Negligence," the only "negligence" alleged is that Defendants "intentionally failed
       to perform their duties to act in good faith and fair dealing." Campi. 1f 53.

3      Even if Michigan did recognize an implied duty of good faith and fair dealing, Plaintiff has not pied sufficient facts to
       warrant relief under that doctrine. Plaintiff simply states that Defendant Deutsche Bank acted in bad faith when it
       foreclosed on her property, but provides no factual basis for that assertion. Plaintiff also alleges that the assignment of
       the mortgage to Defendant Deutsche Bank was improper. While the standard outlined in Twombly does not require
       Plaintiff to outline specific facts, Plaintiff must include facts that are "enough to state a claim for relief that is plausible
       on its face." Twombly at 570. Here, Plaintiff has failed to meet the minimum requirement.

4      Only Sections 2605(f), 2607(d)(2), 2607(d)(5), and 2608(b) provide private civil remedies for violations of certain
       provisions. As such, only those sections are referenced in RESPA's statute of limitations. See 12 U.S.C. 2614. If the
       Court were to imply a private right of action for Section 2604 or for the pre-sold loan, the Court would also have to
       imply a statute of limitations for those actions.

5      MGR 2.112(B)(1) similarly requires that "[i]n allegations of fraud or mistake, the circumstances constituting fraud or
       mistake must be stated with particularity."

6      These allegations include that Plaintiff's income did not qualify her for a loan, that she would be unable to afford the
       loan when the interest rate was adjusted, that the Defendants knew she would not be able to afford it, and that the loan
       was "pre-sold" to Deutsche Bank National Trust Company. No facts are alleged to show why the present
       Defendants-who were not involved in the loan origination-should suspects these allegations to be true.




                                                           - - - - - - -------·--------------------
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                                                              legal arguments are sufficiently addressed in these
                                                              materials and that oral argument would not assist in the
                  2013 WL 490112
   Only the Westlaw citation is currently available.          resolution of this motion. Accordingly, pursuant to
            United States District Court,                     Eastern District of Michigan Local Rule 7.l(f)(2), the
                   E.D. Michigan,                             Court will decide Defendants' motion based on the record
                Southern Division.                            as it presently exists, including the brief Defendants filed
                                                              in support of their dispositive motion.
              Brent MOHLMAN, Plaintiff,
                             V.
    LONG BEACH MORTGAGE Extinct Lender
   Washington Mutual Bank Extinct Lender Chase
    Home Loan and Craig J. Keaney, Senior Vice
              President, Defendants.
                                                                II. FACTUAL AND PROCEDURAL BACKGROUND
                       No.   12-10120.
                                                              On December 19, 2005, Plaintiff borrowed $119,200.00
                                  I                           from Long Beach Mortgage Company ("Long Beach")
                        Feb. 8, 2013.
                                                              and executed a promissory note ("Note") in which he
                                                              contracted to repay the loan over 30 years at an interest
Attorneys and Law Firms                                       rate between 8.950% and 14.950%. [See Defendants'
                                                              Exhibit 1]. 1 As security for the Note, Plaintiff granted a
Brent Mohlman, Livonia, MI, pro se.                           mortgage ("Mortgage") on property located at 19042
                                                              Irving, Livonia, Michigan 48152 in favor of Long Beach.
T. L. Summerville, Dykema Gossett, Detroit, MI,               [See Defendants' Exhibit 2]. Following the execution of
Samantha L. Walls, Dykema Gossett PLLC, Bloomfield            the Mo1tgage, Washington Mutual Bank ("WaMu")
Hills, MI, for Defendants.                                    acquired Long Beach along with its assets, including
                                                              Plaintiffs Note and the Mortgage. On September 25,
                                                              2008, the Office of Thrift Supervision closed WaMu and
                                                              appointed the Federal Deposit Insurance Corporation
                                                              ("FDIC") as receiver pursuant to its authority under the
                                                              Federal Deposit Insurance Act, 12 U.S.C. § 182I(d). [See
                                                              Defendants' Exhibit 3]. On the same day, Chase
                                                              purchased some of WaMu's assets from the FDIC
                                                              pursuant to a Purchase and Assumption Agreement, thus
  OPINION AND ORDER GRANTING DEFENDANTS'
                                                              acquiring WaMu's interest in the Note and Mortgage
             MOTION TO DISMISS
                                                              relevant to this case. 2

GERALD E. ROSEN, Chief Judge.                                 Plaintiff subsequently defaulted on his Mortgage account
                                                              on September 1, 2010. [See Defendant's Exhibit 6]. No
                                                              sheriffs sale has been held on the property.

                                                              Plaintiff filed his initial pro se complaint on December
                                                              21, 2011 in Wayne County Circuit Court, naming Long
                                                              Beach, WaMu, Chase Home Loan, and Keaney as
                   I. INTRODUCTION                            Defendants. Chase and Keaney-the proper Defendants
                                                              in interest-timely removed the matter to this Court on
*I This matter involving a mortgage of real property is
                                                              diversity grounds on January 11, 2012, and subsequently
presently before the Court on Defendants JPMorgan
                                                              filed a Motion for a More Definite Statement February 27,
Chase Bank, N.A. ("Chase") and Craig J. Keaney's
                                                              2012. On March 27, 2012, Plaintiff filed a six-count
Motion to Dismiss this action pursuant to Fed.R.Civ.P.
                                                              Amended Complaint in which he seeks to quiet title and
 12(b)(6). Plaintiff Brent Mohlman has responded and the
                                                              purpmts to raise claims for breach of contract, fraud, and
Defendants have replied. Having reviewed and considered
                                                              unjust enrichment, as well as violations of the Fair Debt
the parties' motions, responses, and supporting exhibits,
                                                              Collection Practices Act ("FDCPA"), the Real Estate
the Court has determined that the pertinent allegations and
                                                              Settlement Procedures Act ("RESPA"), the Real Estate
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Mortgage Investment Conduit ("REMIC") laws, the                facial plausibility when the pleaded factual content allows
Uniform     Commercial   Code    ("UCC"),   the                the court to draw the reasonable inference that the
Truth-InLending Act ("TILA"), and the Servicer                 defendant is liable for the misconduct alleged." Iqbal, 556
Perfmmance Agreement.                                          U.S. at 663.

*2 Plaintiffs various counts revolve around assertions         Fmiher, a pro se complaint is to be "liberally construed"
that the Mo1igage was incorrectly placed in default and        and "must be held to less stringent standards than formal
that Defendants' actions regarding the Mo1igage were           pleadings drafted by lawyers." Estelle v. Gamble, 429
otherwise fraudulent. As relief, Plaintiff asks the Comi to    U.S. 97, 106, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976)
extinguish any interests Defendants may hold in the            (internal citations omitted). But "[t]he leniency granted to
subject property, return the property to the Plaintiff, and    pro se petitioners ... is not boundless" and courts still
award him $149,000.00 for "defending the fraudulent            demand basic pleading standards. Martin v. Overton, 391
action." Defendants subsequently filed the instant Motion      F.3d 710, 714 (6th Cir.2004). In other words, "[l]iberal
to Dismiss pursuant to Fed.R.Civ.P. 12(b)(6). Plaintiff        construction does not require a comi to conjure
filed a response and Defendants replied.                       allegations on a litigant's behalf." Id. (internal citations
                                                               omitted).

                                                               Applying the foregoing standards, the Court concludes
                                                               that Defendants' Motion to Dismiss should be granted.


                     III. DISCUSSION


                                                               B. PLAINTIFF FAILS TO STATE VALID CLAIMS AS A
                                                               MATTER OF LAW
 A. APPLICABLE STANDARDS
 Fed.R.Civ.P. 12(b)(6) authorizes the Comi to dismiss a
complaint if it "fail[s] to state a claim upon which relief
can be granted .... " In deciding a motion brought under        1. Plaintiff Fails to State Valid Claims Under the UCC,
 Rule 12(b)(6), the Court must construe the complaint in        T!LA, RESPA, and Common-Law Unjust Enrichment.
the light most favorable to the plaintiff and accept all       *3 The Court begins with those allegations that, "because
well-pied factual allegations as true. League of United        they are no more than conclusions, are not entitled to the
Latin Am. Citizens v. Bredesen, 500 F.3d 523, 527 (6th         assumption of truth." Iqbal, 556 U.S. at 679. Plaintiffs
Cir.2007). Yet "the tenet that a court must accept as true     Counts 4, 6, and portions of Count 3 fall into this
all of the allegations contained in a complaint is             category. Count 4 of Plaintiffs Amended Complaint
inapplicable to legal conclusions." Ashcroft v. Iqbal, 556     alleges that "[t]he Principal is in violation of UCC &
 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).        20 I (39)." Count 6 alleges that "all Defendants have
"In keeping with these principles a court considering a        violated TILA" and "all Defendants received an[ ] unjust
motion to dismiss can choose to begin by identifying           enrichment and made Plaintiff the injured party." Lastly,
pleadings that, because they are no more than                  Count 3 alleges that "all Defendants violated [RESPA],
conclusions, are not entitled to the assumption of truth."     12 USC Sec 2601 et seq. and Regulation X, promulgated
Id. at 679; see also Bell Atl. Corp. v. Twombly, 550 U.S.      pursuant thereto, 24 C.F.R. Part 3500, including
544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)               subsequent amendments." Given the absence of
("While a complaint attacked by a Rule 12(b)(6) motion         accompanying factual allegations, these four conclusory
to dismiss does not need detailed factual allegations, a       statements do not state a claim upon which relief may be
plaintiffs obligation to provide the grounds of his            granted. See Iqbal, 556 U.S. at 679 ("While legal
entitlement to relief requires more than labels and            conclusions can provide the framework of a complaint,
conclusions, and a formulaic recitation of the elements of     they must be supported by factual allegations.").
a cause of action will not do.") (internal quotation marks,    Accordingly, Plaintiffs' claims of violations of the UCC,
alterations, and citations omitted). Thus, to withstand a      TILA, RESP A/ and unjust enrichment• will be dismissed.
motion to dismiss, the complaint's factual allegations,
accepted as true, "must be enough to raise a right to relief
above the speculative level" and to "state a claim to relief
that is plausible on its face." Id. at 570. "A claim has
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2. Plaintiff Has Failed to State a Claim for Breach of                     any person who uses any
Contract.                                                                  instrumentality      of    interstate
In Count 1 of Plaintiffs Amended Complaint, captioned                      commerce or the mails in any
"Breach of Contract," Plaintiff alleges that Defendants                    business the principal purpose of
breached the Mortgage agreement by not accepting the                       which is the collection of any
payment he made in the amount of$573.79 on December                        debts, or who regularly collects or
8, 2011. [Plaintiff's Exhibit BJ. To recover for breach of                 attempts to collect, directly or
contract under Michigan law, a plaintiff must prove (1)                    indirectly, debts owed or due or
the existence of a valid contract, (2) the terms of the                    asserted to be owed or due another.
contract, (3) the conduct constituting breach by the                       Notwithstanding the exclusion
defendant, and (4) damages. Webster v. Edward D. Jones                     provided by clause (F) of the last
& Co., L.P., 197 F.3d 815,819 (6th Cir.1999); see also                     sentence of this paragraph, the term
J.B. 1vli11i1v!art II, Inc. v. JSC Corp., 296982, 2011 WL                  includes any creditor who, in the
 1435978 at *2 (Mich.Ct.App. Apr. I4, 2011) ("The                          process of collecting his own debts,
elements of a breach of contract action are: (1) the                       uses any name other than his own
existence of a contract between the parties, (2) the terms                 which would indicate that a third
of the contract require performance of a certain action by                 person is collecting or attempting
the defendant, (3) the defendant breached its obligation to                to collect such debts.
perform, and (4) the plaintiff incurred damages as a result
of the breach.").                                              15 U.S.C. § 1692a(6) (emphasis added). Notably, "[a]
                                                              bank that is a creditor is not a debt collector for the
Plaintiff's breach of contract claim is undennined by the     purposes of the FDCP A and creditors are not subject to
fact that at the time he allegedly made the payment of        the FDCPA when collecting their accounts." Montgome1J1
$573.79, his account had been in default for more than 16     v. Huntington Bank, 346 F.3d 693, 699 (6th Cir.2003)
months. [Defendant's Exhibit 6). According to an              (emphasis added) (internal quotation marks and citations
Acceleration Notice dated October 20, 2011, total             omitted); see also Scally v. Hi/co Receivables, LLC, 392
monthly payments due on the Mmtgage exceeded                  F.Supp.2d 1036, 1037 (N.D.111.2005) ("Only debt
$14,000.00 at the time. Id. Under the terms of the            collectors-not creditors-are subject to the provisions of
Mortgage contract, the lender was permitted to "return        the FDCPA .").
any payment or pmtial payment if the payment or partial
payment is insufficient to bring the Loan current."           The pleadings show that, at all times relevant to Plaintiff's
[Defendants' Exhibit 2, § I]. Consequently, Defendants'       allegations, Chase was the mortgagee and had the right to
refusal of Plaintiff's partial payment in the amount of       receive mortgage payments-that is, Chase was
$573.79 could not, without more, constitute a breach of       Plaintiff's creditor. Although Chase later assigned the
contract. Because Plaintiff's allegations fail to meet the    mortgage to Deutsche Bank National Trust Company,
threshold necessary to state a breach of contract claim,      Chase remained the servicer of the mortgage. Indeed,
Count 1 will be dismissed in its entirety.                    whether Chase was the m01tgagee or the servicer is
                                                              inapposite to Plaintiff's ability to recover under the
                                                              FDCPA. "[C)reditors, mortgagors, and mortgage
                                                              servicing companies are not debt collectors and are
                                                              statutorily exempt from liability under the FDCP A." Scott
                                                              v. Wells Fargo Home Mortg. Inc., 326 F.Supp.2d 709,
3. Plaintiff Has Failed to State a Claim Under the            718 (E.D.Va.2003); see also Givens v. HSBC Mortg.
FDCPA.                                                        Services. 08-10985, 2008 WL 4190999 at *I (E.D.Mich.
*4 Count 2 of Plaintiff's Amended Complaint is titled         Aug.26, 2008) ("[I]t is well settled that the provisions of
"Violation of Contract Also Validation" and alleges that      the FDCP A apply only to professional debt collectors, not
"Defendants failed to validate the debt upon request of the   creditors or mo1tgagors."). A liberal review of Plaintiff's
return of funds." While the exact nature of this claim is     pleadings does not yield any factual allegations or legal
unclear, Plaintiff appears to accuse Defendants of            arguments to the contrary. Accordingly, Plaintiff has
violating the FDCPA, 15 U.S.C. § 1692 et seq.. by failing     failed to state claim against Chase under the provisions of
to "validate [his] debt."                                     FDCP A because Chase does not qualify as a debt
                                                              collector.
The FDCP A applies only to "debt collectors," which are
defined as:                                                   Moreover, Plaintiff cannot recover against Defendant
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Craig Keaney because the FDCPA's exclusion from                 there is no private right of action available to challenge
liability extends to a creditor's employees acting on the       any perceived violation of26 U.S.C. §§ 860A-G. Thus, to
creditor's behalf. 15 U .S.C. § 1692a(6)(A). Here,              the extent Plaintiff challenges any alleged pooling and
Plaintiffs claim against Keaney was purportedly based on        servicing agreement or assignment to a trust, he lacks
a letter-on Chase letterhead and signed by Keaney in his        standing to challenge the validity or any perceived
capacity as Senior Vice President-advising Plaintiff of a       violations of such transactions. Livonia I, 717 F.Supp.2d
change in the account number for the Mortgage loan. [See        at 748-749; see also Luster v. Mortgage E!ec.
Plaintiff's Exhibit A]. Even if that letter could be            Registration Sys., I I-CV-14166, 2012 WL 124967 at *3
considered an attempt to collect a debt, Keaney would not       (E.D.Mich. Jan.17, 2012) ("Because there is no right to
be liable to Plaintiff under the FDCP A because he was          sue under [the Home Affordable Modification Program],
acting as an officer or employee of Chase at the time. For      to the extent Plaintiffs allege a violation of [the Home
that reason, Plaintiff has failed to state a FDCP A claim       Affordable Modification Program] or the 'Servicer
against Keaney, as well. The Comt will therefore dismiss        Perfonnance Agreement,' the claim fails as a matter of
Count II of the Plaintiff's Amended Complaint.                  law."). Finally, even if Plaintiff had standing, his
                                                                reference to "poor bookkeeping" is too vague and the
                                                                Amended Complaint does not state which provisions of
                                                                the servicing agreement Defendants allegedly breached.
                                                                See Hudson v. Mortgage Elec. Registration Sys., Inc.,
                                                                11-13077, 2011 WL 5553814 at *3 (E.D.Mich. Nov.IS,
4. Plaintiff's Claims of Violations of the "Servicer            20 I I) ("Plaintiff has not explained how Defendants'
Pe,formance Agreement" and "REMIC" Tax Provisions               allegedly "poor bookkeeping" constituted a breach of the
Fail as a Matter ofLaw.                                         alleged contract, leaving this matter to speculation. The
*5 In addition to an unsuppo1ted RESP A claim, Count 3          Court concludes that Plaintiffs claim for breach of
of Plaintiff's Amended Complaint also alleges violations        contract is so lacking in facts that it must be dismissed.").
of the "Servicer Performance Agreement" and "the
REMIC LAW." In particular, Plaintiff alleges that               For these reasons, the Court will dismiss Plaintiff's counts
Defendants'      poor bookkeeping practices caused              regarding violations of the "Servicer Performance
Defendants to wrongfully return Plaintiff's partial             Agreement" and REMIC tax-code provisions because
payment, but otherwise fails to provide further factual         Plaintiff either lacks standing to plead, or has not pied,
support for this asse1tion. Count 5, captioned "Failure of      viable claims.
Validation is a REMIC Violation," asserts that "[t]ax
rules prohibit a REMIC from ... buying and trading
mortgages."

The Internal Revenue Service ("IRS") created REMICs to
enable the bundling of residential m01tgages into               5. Plaintiff's Amended Complaint Fails to Plead Fraud
segregated asset pools, so individuals could invest in the      with Specificity.
asset-backed securities. See Internal Revenue Code              *6 Plaintiff also makes multiple attempts to raise fraud or
("IRC"), 26 U.S.C. §§ 860A-G. REMICs are                        silent fraud claims. [Amended Complaint~ 8, ~ 12, ~ 19].
"passthrough" entities, meaning that the investors are          For example, Plaintiff refers to "false and erroneous"
taxed on income received while the REMICS themselves            documents, "certain bogus instruments which purported
are not taxed. Id. Notably, if a mortgage is transferred to a   to divest plaintiff of all interest in the subject prope1ty,"
REMIC as part of a prohibited transaction, a private right      and Defendants' general "failure to disclose." [Amended
of action does not arise automatically under the REMIC          Complaint~ 8].
rules. Id. Additionally, violating the REMIC rules does
not establish a defect in ownership of the mortgage. See        Fed. R. Civ. Pro. 9(b), which governs pleading standards
Livonia Prop. Holdings, l.l. C. v. /2840-12976                  for fraud claims, requires that "the circumstances
Farmington Rd. Holdings, l.l. C., 717 F.Supp.2d 724,            constituting fraud or mistake shall be stated with
748 (E.D.Mich.20 I 0) ( "Livonia I" ) (ruling that an           paiticularity." The Sixth Circuit has "further interpreted
unfavorable tax consequence has no effect on the validity       Rule 9(b) to require that a plaintiff allege the time, place,
of an assignment).                                              and content of the alleged misrepresentations on which he
                                                                or she relied; the fraudulent scheme; the fraudulent intent
As a threshold matter, Plaintiff fails to allege that his       of the defendants; and the injury resulting from the
Mortgage was transferred into a REMIC. Even if Plaintiff        fraud." Sanderson v. HCAThe Healthcare Co., 447 F.3d
had made such an allegation, his claim would fail because       873, 877 (6th Cir.2006) (internal quotation marks
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omitted); see also Frank v. Dana Corp., 547 F.3d 564,            6. Plaintiff Fails to Allege the Necessary Elements to
569-70 (6th Cir.2008) (explaining that a fraud complaint         Maintain a Quiet Title Action
must "( 1) specify the statements that the plaintiff contends    *7 Lastly, Plaintiff fails to allege a valid quiet title claim.
were fraudulent, (2) identify the speaker, (3) state where       The relevant Michigan statute provides that:
and when the statements were made, and (4) explain why
the statements were fraudulent"). Plaintiffs Amended                          Any person, whether he is in
Complaint allegations fail to meet these standards.                           possession of the land in question
                                                                              or not, who claims any right in, title
Plaintiffs complaint is also deficient under the Michigan                     to, equitable title to, interest in, or
standard for pleading fraud. To state a claim for fraud                       right to possession of land, may
under Michigan law, Plaintiff must establish:                                 bring an action in the circuit courts
                                                                              against any other person who
             (I) That defendant made a material                               claims or might claim any interest
             representation; (2) that it was false;                           inconsistent with the interest
             (3) that when he made it he knew                                 claimed by the plaintiff, whether
             that it was false, or made it                                    the defendant is in possession of
             recklessly, without any knowledge                                the land or not.
             of its truth, and as a positive
             assertion; (4) that he made it with                 Mich. Comp. Laws § 600.2932(1). To state a claim for
             the intention that it should be acted               quiet title, a plaintiff must allege: (a) the interest the
             upon by plaintiff; (5) that plaintiff               plaintiff claims in the premises; (b) the interest the
             acted in reliance upon it; and (6)                  defendant claims in the premises; and (c) the facts
             that he thereby suffered injury.                    establishing the superiority of the plaintiffs claim. MCR
                                                                 3.411(8)(2). Further, "[t]he plaintiff must attach to the
Hi-Way Motor Co. v. int'! Harvester Co., 398 Mich. 330,          complaint ... a statement of the title on which the pleader
336, 247 N. W.2d 813 (1976). The absence of any one of           relies, showing from whom the title was obtained and the
these elements is fatal to recovery. id Silent fraud             page and book where it appears of record." MCR
contains the same elements as a general fraud claim, but         3.41 l(C)(2).
requires "circumstances that establish a legal duty to
make a disclosure." Hord v. Envtl. Research Inst. of             Here, Plaintiff failed to attach a copy of the record
1\!lichigan, 463 Mich. 399, 412, 617 N. W.2d 543 (2000).         mortgage that is the basis of the quiet title claim, as
                                                                 required by MCR 3.41 l(C)(2). More importantly,
Many of Plaintiffs allegations relate to one type of fraud       Plaintiff does not allege any facts establishing the
or another, but Plaintiff fails to plead any facts to support    superiority of his claim. The Court will accordingly
his contention. See Easton v. Fannie lvlae, 12-CV-10663,         dismiss Plaintiffs demand to quiet title because Plaintiff
2012 WL 1931536 (E.D.Mich. May 29, 2012)                         has failed to state a valid claim.
("Plaintiffs conclusory assertion that certain documents
are bogus and that there was misrepresentation, silent
fraud, and fraud is insufficient to state a claim for fraud").
For example, Plaintiff has failed to articulate how either
Defendant knowingly made a material representation of
the terms of the Mortgage agreement or assignment.
Likewise, Plaintiff has not shown how he was injured by                                CONCLUSION
any assignment of the Mortgage, or that an assignment of
                                                                 For all of the foregoing reasons, the Court concludes that
the Mortgage in any way affected his rights under the
                                                                 Plaintiff has failed to state any plausible claim upon
Mortgage agreement. Because Plaintiff has failed to
                                                                 which relief can be granted. Therefore,
allege the elements of a claim for fraud or silent fraud
with sufficient specificity, the Amended Complaint does
                                                                 IT IS HEREBY ORDERED that Defendants' Motion to
not satisfy Fed.R.Civ.P. 9(b) or the requirements of
                                                                 Dismiss [Dkt. # 16] is GRANTED.
Michigan common law. As a result, the Court will dismiss
Plaintiffs fraud claims.
                                                                 IT IS FURTHER ORDERED that Plaintiffs Amended
                                                                 Complaint is DISMISSED, in its entirety, with prejudice.

                                                                 Let judgment be entered accordingly.
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All Citations

Footnotes

       A document not formally incorporated by reference or attached to a complaint may be considered part of the pleadings
       when the document is referred to in the complaint and is central to the plaintiffs claim. Weiner v. Klais & Co., Inc., 108
       F.3d 86, 89 (6th Cir.1997). Thus, "a defendant may introduce certain pertinent documents if the plaintiff fails to do so."
       Id.; see also QQC, Inc. v. Hewlett-Packard Co., 258 F.Supp.2d 718, 721 (E.D.Mich.2003) ("[l]if the plaintiff fails to
       attach the written instrument upon which he relies, the defendant may introduce the pertinent exhibit.").

2      On February 3, 2012, Chase assigned the Mortgage to Deutsche Bank National Trust Company but remained servicer
       of the Mortgage. [See Defendants' Exhibit 4].

3      Even if Plaintiff had pied a viable RESPA claim, the applicable statute of limitations would bar recovery. See 12 U.S.C.
       § 2614 ("Any action pursuant to the provisions of section 2605, 2607, or 2608 of this title may be brought ... within 3
       years in the case of a violation of section 2605 ... and 1 year in the case of a violation of section 2607 or 2608 ... from
       the date of the occurrence of the violation"). Regardless of the RESPA subsection Plaintiff relies on, his action would
       be time-barred because Plaintiffs claims are focused on events that occurred at the closing in November 2005-more
       than six years ago.

4      Plaintiffs unjust enrichment claim also fails because an express contract relating to the disputed subject matter exists
       between the parties. To recover for unjust enrichment under Michigan law, a plaintiff must establish that (1) the
       defendant received a benefit from the plaintiff and (2) an inequity would result if the defendant were permitted to retain
       the benefit without compensating the plaintiff. Belle Isle Grill Corp. v. City of Detroit, 256 Mich.App. 463, 478, 666
       N.W.2d 271 (2003). If both elements are established, "the law will imply a contract in order to prevent unjust
       enrichment." Id. But "a contract will be implied only if there is no express contract covering the same subject matter."
       Id. Here, Plaintiff executed two contracts that relate to the subject matter of this claim: the Note and the Mortgage.
       Because these documents govern the parties' rights and responsibilities respecting the loan-including the obligation
       to make monthly payments and the right to receive those payments-Plaintiffs unjust enrichment claim necessarily
       fails as a matter of law.




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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
 KETURAH MIXON,

          Plaintiff,                                         Case No. 1:18-cv-499
                                                             Honorable Paul L. Maloney
 v.

 DAVID TROTT, TROTT LAW P.C.
 (f/k/a Trott and Trott P.C.), CARRINGTON
 MORTGAGE SERVICES, LLC, (a/k/a
 Carrington Mortgage Holdings LLC), and
 BANK OF AMERICA, (a/k/a Bank of
 America N.A.),

         Defendants.
 ______________________________________________________________________________
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                                      PROOF OF SERVICE

        The undersigned certifies that on August 7, 2018 she electronically filed DEFENDANT
 CARRINGTON MORTGAGE SERVICES, LLC’S MOTION TO DISMISS, BRIEF IN
 SUPPORT OF DEFENDANT CARRINGTON MORTGAGE SERVICES, LLC’S MOTION TO
 DISMISS and this PROOF OF SERVICE by using the Court’s electronic filing system which will
 send notification of such filing to all attorneys of record and I hereby certify that I have mailed
 same to the non-electronic filing participant:

 Keturah Mixon
 243 Devon Rd.
 Battle Creek, MI 49015

 via United States Mail.

                                                      /s/ Stephanie Danko
                                                      Stephanie Danko
